                             U.S. DEPARTMENT OF JUSTICE


                               U.S. ATTORNEY'S OFFICE
                           WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


                                    GRAND JURY
                  UNITED STATES COURTHOUSE AND FEDERAL BUILDING
                              255 WEST MAIN STREET
                         CHARLOTTESVILLE, VIRGINIA 22902



                                    TESTIMONY OF
                                     ASHLEY ROSS

                                 MONDAY, MAY 7, 2018
                                      1:41 P.M.




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     1                              GRAND JURY

     2                         MONDAY, MAY 7, 2018

     3                              1:41 P.M.

     4              FOREPERSON:       Do you solemnly swear that the

     5 evidence which you may give in this matter is the

     6 truth, the whole truth, and nothing but the truth, so

     7 help you God?

     8              WITNESS:     Yes.

     9 ASHLEY ROSS, having been duly sworn by the Grand Jury

    10 Foreperson, was examined, and testified as follows:

    11 DIRECT EXAMINATION

    12 BY MS. CARLTON:

    13       Q.     All right, Ms. Ross, if you can sit over

    14 here in this seat and make yourself comfortable.                            Good

    15 afternoon.

    16       A.     Good afternoon.

    17       Q.     Ms. Ross, we're recording your testimony in

    18 here today so we need you to speak up, okay?

    19       A.     Okay.

    20       Q.     Good afternoon.

    21       A.     Good afternoon.

    22       Q.     Can you all hear her in the back?                     Okay,

    23 you're going to have to speak up a little bit more.

    24 You can get close to the microphone.                      Scoot yourself

    25 closer.    That's it, that's it.              Keep scooting, keep




                                                                USAO-010340
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  1 scooting.     Thank you, Ms. Ross.

  2        A.   You're welcome.

  3        Q.   Good afternoon.

  4        A.   Good afternoon.

  5        Q.   What is your name?

  6        A.   Ashley Ross.

  7        Q.   How do you spell Ashley for the Court

  8 Reporter?

  9        A.   A-S-H-L-E-Y.

 10        Q.   And Ross?

 11        A.   R-O-S-S.

 12        Q.   What is your date of birth?

 13        A.                                .

 14        Q.   And do you recall talking with me very

 15 briefly about an hour ago?

 16        A.   Yes.

 17        Q.   When we were in a conference room right

 18 outside this Grand Jury room?

 19        A.   Yes.

 20        Q.   And was an agent present with us?

 21        A.   Yes.

 22        Q.   In fact, two agents were with us at one

 23 point; is that correct?

 24        A.   Yes.

 25        Q.   And we spoke for about five minutes?




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     1        A.   Yes.

     2        Q.   And you recall during that conversation I

     3 told you that I was going to read to you certain

     4 rights in the Grand Jury?

     5        A.   Yes.

     6        Q.   And did I explain to you some of those

     7 rights?

     8        A.   Yes.

     9        Q.   The Grand Jury is conducting an

    10 investigation of possible violations of Federal

    11 criminal laws.       Do you understand that?

    12        A.   Yes.

    13        Q.   Do you have any questions about that?

    14        A.   No.

    15        Q.   You may refuse to answer any question if a

    16 truthful answer to the question would tend incriminate

    17 you or you believe would get you into trouble.

    18        A.   Okay.

    19        Q.   Do you understand that?

    20        A.   Yes.

    21        Q.   Any questions about that?

    22        A.   No.

    23        Q.   And we talked about that in that conference

    24 room; is that right?

    25        A.   Yes.




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     1        Q.    Anything you say may be used against you by

     2 the Grand Jury or a subsequent legal proceeding.

     3        A.    Okay.

     4        Q.    Do you understand that?

     5        A.    Yes.

     6        Q.    Any questions about that?

     7        A.    No.

     8        Q.    Have you retained Counsel?                     Do you have a

     9 lawyer?

    10        A.    No.

    11        Q.    If you had a lawyer, the Grand Jury would

    12 permit you to step outside and to consult with that

    13 lawyer if you wanted to during the course of your

    14 testimony.     Okay?

    15        A.    Okay.

    16        Q.    Since you didn't come with a lawyer, if we

    17 get to a point where you believe you need a lawyer,

    18 will you tell us?

    19        A.    Yes.

    20        Q.    Will you speak up?

    21        A.    Yes.

    22        Q.    If you tell a willful falsehood in the Grand

    23 Jury, you could be charged with obstruction of justice

    24 and perjury, both of which are Federal crimes.                               Do you

    25 understand that?




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     1        A.   Yes.

     2        Q.   Do you have any questions about that?

     3        A.   No.

     4        Q.   And when we were in that conference room

     5 about an hour ago, what did I tell you to say to the

     6 Grand Jury?

     7        A.   I forgot.

     8        Q.   The truth?

     9        A.   Oh, yeah, the truth.

    10        Q.   Did I tell you to say anything but the

    11 truth?

    12        A.   No.

    13        Q.   Now, Ms. Ross, do you want to be here today?

    14        A.   Not really.

    15        Q.   Are you subpoenaed to be here?

    16        A.   Yes.

    17        Q.   Did you come voluntarily?

    18        A.   No, yeah.

    19        Q.   Did you call us up and volunteer to come and

    20 testify today?

    21        A.   Oh, no, no, no.

    22        Q.   Did you call the FBI up and say I'd like to

    23 come and talk to the Grand Jury?

    24        A.   No, no.

    25        Q.   Were you served with a Grand Jury subpoena




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     1 by Danville Police Department officers?

     2        A.   Yes.

     3        Q.   And after you received that subpoena, who

     4 did you tell about it?

     5        A.   Shanicqua Coleman and my mother, well, both

     6 of my mothers.

     7        Q.   Why did you tell Shanicqua Coleman about it?

     8        A.   Because, well, she had already texted me and

     9 was like she got to go to court.                 And I was like, I

    10 do, too.    And then it just went from there.

    11        Q.   Ms. Ross, you're fading as you talk.                          You've

    12 got to keep remembering to speak up, okay?

    13        A.   Okay.

    14        Q.   And why did Shanicqua Coleman contact you

    15 about her having to go to court?

    16        A.   She just texted me and said I got to go, she

    17 got subpoenaed.       That's all she said.               Or I got to go

    18 to court.

    19        Q.   But why did she reach out to you of all

    20 people on the planet?          Why Ashley Ross?

    21        A.   We just real close.             We close.

    22        Q.   Who else did she reach out to?

    23        A.   She told Tenikqua.             That's all I know.

    24        Q.   Tenikqua who?

    25        A.   Fuller.




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     1        Q.   Who else did Shanicqua Coleman tell that she

     2 was subpoenaed to come here today?

     3        A.   Other than me and her, I don't know.

     4        Q.   Other than you and Ms. Fuller?

     5        A.   Me, yes.

     6        Q.   You said you told, who did you tell?

     7 Shanicqua Coleman?

     8        A.   Yeah, Shanicqua Coleman, Fuller of course

     9 because she was in the group, and mom, my mother and

    10 my stepmother.

    11        Q.   And who is your stepmother?

    12        A.   Danielle.

    13        Q.   I'm sorry?

    14        A.   Danielle Dorsey [phonetic].

    15        Q.   And who is your mother?

    16        A.   Giovanna Ross.

    17        Q.   And you said you also told Tenikqua Fuller

    18 because she was in the text group; is that right?

    19        A.   Mm-hmm (Indicating affirmatively).

    20        Q.   Is that a yes?

    21        A.   Yes.

    22        Q.   Do you understand that you're under oath?

    23        A.   Hm?

    24        Q.   Do you understand that you're under oath?

    25        A.   Yeah.      Yes.




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     1         Q.     And do you see the person seated over to

     2 your right?

     3        A.      Yes.

     4         Q.     The Court Reporter.

     5        A.      Mm-hmm (Indicating affirmatively).

     6         Q.     And you, is that a yes?

     7        A.      Yes.

     8         Q.     Do you understand that he is recording your

     9 testimony here today?

    10        A.      Yes.

    11         Q.     And he's recording what I'm saying as well,

    12 right?       Do you see him typing away?

    13        A.      Yes.

    14         Q.     And so he only records what is said aloud,

    15 okay?

    16        A.      Okay.

    17         Q.     So if you nod or just make a sound with your

    18 mouth, he can't record that accurately.

    19        A.      Okay.

    20         Q.     So if I ask you is that a yes or is that a

    21 no or can you say that aloud, I'm asking you to answer

    22 in a way so that the Court Reporter can record your

    23 testimony accurately.

    24        A.      Okay.

    25         Q.     Do you understand?




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     1        A.    Yeah.

     2        Q.     So I'm not trying to harass you or be

     3 disrespectful, I'm trying to make sure your testimony

     4 is recorded accurately, okay?

     5        A.    Okay.

     6        Q.     Any questions about that?

     7        A.    No.

     8        Q.     So in this text conversation, was it by cell

     9 phone?      Was it like a text on a cell phone or was it

    10 through Facebook Messenger?

    11        A.    On a cell phone.

    12        Q.     And who else was in this text group?

    13        A.    Just us three.

    14        Q.     And who's the three again?

    15        A.    Me, Shanicqua, and Tenikqua.

    16        Q.     And why did you tell Tenikqua Fuller that

    17 you had a subpoena for the Grand Jury?

    18        A.    It was just when Shanicqua texted me we was

    19 already in group and, well, she didn't know it was a

    20 Grand Jury.        She just know I got to go to court.                       That

    21 was all it said.          We had got subpoenaed to go to

    22 court.

    23        Q.     And you answered honestly?

    24        A.    Yes.

    25        Q.     All right.        What's your current address?




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     1        A.   191 Chatelaine Avenue, Apartment 1B.

     2        Q.   And can you spell that street name for the

     3 Court Reporter?

     4        A.   C-H-A-T-E-L-A-I-N-E.

     5        Q.   And how long have you lived at that address?

     6        A.   It's been almost about seven months.                           About

     7 seven months.

     8        Q.   Where did you live before that?

     9        A.   1231 Myrtle Avenue.

    10        Q.   Myrtle Avenue?

    11        A.   Yes.

    12        Q.   And when did you live at Myrtle Avenue?

    13        A.   After I moved from North Hills.

    14        Q.   And when was that?

    15        A.   Like August, August, probably, no, probably

    16 like the beginning of September 2017.                     No, 2016,

    17 sorry, 2016.

    18        Q.   So when did you move away from North Hills

    19 Court?

    20        A.   September 2016.

    21        Q.   And when you were living at North Hills

    22 Court, what address were you living at?

    23        A.   111 North Hills Court, Apartment L.

    24        Q.   L?

    25        A.   L, yeah.




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     1        Q.    As in lady?

     2        A.   Yeah.

     3        Q.    Is that a yes?

     4        A.   Yes.

     5        Q.    Did anyone live there with you?

     6        A.   At first it was me and my best friend,

     7 Shanida Lee.       But we had a falling out and Tanasia

     8 Coleman began to live with me like June she started

     9 living with me.

    10        Q.    June of what year, Ms. Ross?

    11        A.   Twenty sixteen.

    12        Q.    Anyone else?

    13        A.   Hm-mmm (Indicating negatively).                    Well, my

    14 brother ...

    15        Q.    Is that a no?

    16        A.   My brother had started staying with me, but

    17 he wasn't actually living there.

    18        Q.    And who is your brother that was staying?

    19        A.   He not my real brother, but Tredarius Keene.

    20        Q.    And when did, does he have a nickname?

    21        A.   People call him Bub, but I call him

    22 Tredarius.

    23        Q.    And when did Tredarius start staying with

    24 you at North Hills Court?

    25        A.   It was maybe like the end of June 2016.




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     1        Q.   And when he would stay with you, would it be

     2 every night?

     3        A.   It, no, not at first, but then it started

     4 being every night.        Not at first, though.

     5        Q.   When did it start being every night?                          How

     6 long was he there before it started being every night?

     7        A.   He was there a couple of weeks before it

     8 started being every night.

     9        Q.   Now we got off track a little bit.                      I was

    10 asking you where you lived.                Now let's shift to were

    11 you raised in Danville?

    12        A.   Yes.

    13        Q.   And how far did you go in school?

    14        A.   I finished high school and after high school

    15 I joined a nursing program.

    16        Q.   Which nursing program?

    17        A.   Right now I just have my PCA.                   I started

    18 going to school for LPN, but I started having issues

    19 with babysitters and transportation.

    20        Q.   What high school in Danville did you go to?

    21        A.   George Washington High School.

    22        Q.   And when did you graduate?

    23        A.   Twenty fourteen, in May.

    24        Q.   Now do you work?

    25        A.   Yes.




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     1        Q.   Where do you work?

     2        A.   Commonwealth Senior Living.                  It used to be

     3 the Stratford House.

     4        Q.   And how long have you worked there?

     5        A.   I had been there for it'll be going on three

     6 months the 14th of this month.

     7        Q.   And where did you work before that?

     8        A.   Before that I worked at the Results Company

     9 in Martinsville.

    10        Q.   What's the Results Company?

    11        A.   It's a call center for Xfinity.

    12        Q.   And how long did you work there?

    13        A.   I worked there like a month.

    14        Q.   Did you work there with any friends?

    15        A.   Yeah.

    16        Q.   Who?

    17        A.   It was me, Shanicqua, Tenikqua, and Taniqua.

    18 Two Taniquas.

    19        Q.   Which Taniquas?

    20        A.   Taniqua, hold on, Tenikqua Fuller and

    21 Taniqua Guy and then Shanicqua Coleman.

    22        Q.   The same Shanicqua Coleman we were talking

    23 about earlier?

    24        A.   Yes.

    25        Q.   The same Tenikqua Fuller we were talking




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     1 about earlier?

     2        A.    Yes.

     3        Q.    And when did the four of you work at the

     4 Results in Martinsville?

     5        A.    We had started in, we had started like the

     6 beginning of December 2017, 2017.

     7        Q.    And before that where did you work?

     8        A.    Ross.   I was at Ross.

     9        Q.    The clothing store?

    10        A.    Yes.

    11        Q.    How long were you at Ross?

    12        A.    I was at Ross for like, it was about four

    13 months, about four months.

    14        Q.    Where before that?

    15        A.    Before that I was at Brookdale Senior

    16 Living.

    17        Q.    How long were you at Brookdale?

    18        A.    I was at Brookdale maybe five months.                        Yeah,

    19 I had a lot of jobs.

    20        Q.    That's all right.             And where before

    21 Brookdale?

    22        A.    Before Brookdale I was at Faneuil ...

    23        Q.    What's that?

    24        A.    ... in Morrisville.

    25        Q.    Why don't you spell that for the Court




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     1 Reporter.     He's going to ask me later.

     2        A.    F-A-N, I think it's F-A-N-E-U-I-L, Faneuil.

     3         Q.   And how long were you at Faneuil?

     4        A.    I was at Faneuil for like three weeks.

     5         Q.   Okay, before that?

     6        A.    I was at Dan River Home Care.

     7         Q.   Where are we now?             What period of time are

     8 we talking about?       When were you at Dan River Home

     9 Care?

    10        A.    Right before I went to Faneuil.

    11         Q.   And so what dates were you there?

    12        A.    It was maybe April, maybe.

    13         Q.   Of what year?

    14        A.    Twenty seventeen, because I was there and, I

    15 was there and Peace Haven, I was there and Peace Haven

    16 at the same time, but, yeah.

    17         Q.   And before Dan River Home Care where did you

    18 work?

    19        A.    I think Peace Haven, but I was working them

    20 two at the same time.          But I was at Peace Haven first,

    21 I believe.

    22         Q.   In June, July, and August of 2016, were you

    23 working?

    24        A.    June I was.

    25         Q.   In 2016, where were you working?




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     1        A.   I was working at Nestle.                  Yeah, I was

     2 working at Nestle.

     3        Q.    At Nestle?

     4        A.   Yes.

     5        Q.    Where are they located?

     6        A.   Down 58 behind Tevis [phonetic], yeah.                            I

     7 just know it's there on 58.

     8        Q.    And when did you quit at Nestle?

     9        A.   I quit at Nestle, it was like the middle of

    10 June, I believe.

    11        Q.    Did you have a job after that?

    12        A.   Uh-uh (Indicating negatively).

    13        Q.    So did you go for some time unemployed?

    14        A.   I never filed for unemployment, but, yeah, I

    15 was unemployed.

    16        Q.    You didn't have a job?

    17        A.   Hm-mmm (Indicating negatively).

    18        Q.    Is that a no?

    19        A.   No.

    20        Q.    So you quit Nestle in mid-June 2016.                           When

    21 did you start working a job again?

    22        A.   It was probably September, probably

    23 September.     Probably later than that.

    24        Q.    So what did you do then between the Nestle

    25 job and your next job in September of 2016?                         Did you




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     1 work?

     2        A.    No, I didn't work at that time.                      No, I

     3 wasn't working at that time, I don't think, no.

     4         Q.   Do you have any children?

     5        A.    Yes.

     6         Q.   How many?

     7        A.    Two.

     8         Q.   What's the name and age of your oldest?

     9        A.    Four, her name is Harmony Harriston.

    10         Q.   I'm sorry, I didn't get Harmony's last name.

    11        A.    Harriston.

    12         Q.   And who is her father?

    13        A.    Cameron Harriston.

    14         Q.   Does Cameron have a nickname?

    15        A.    No.

    16         Q.   And then you said you had a second child?

    17        A.    Yes, KeAsia.           She's one.

    18         Q.   And how do you spell KeAsia?

    19        A.    Capital K-E, capital A-S-I-A.                     Her last name

    20 is Ross.

    21         Q.   And who's KeAsia's father?

    22        A.    Phillip Miles.

    23         Q.   Does Phillip have a nickname?

    24        A.    I would just call him Phillip.

    25         Q.   What do you hear other people calling him?




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     1        A.   All [phonetic].

     2        Q.    Any other children?

     3        A.   No.

     4        Q.    So TeAsia is about one you said?

     5        A.   Yes.

     6        Q.    Are you still seeing Phillip Miles?

     7        A.   No.

     8        Q.    Do you have a Facebook account?

     9        A.   Yes.

    10        Q.    What's it called?

    11        A.   Ashley Ross.

    12        Q.    How long have you had that Facebook account?

    13        A.   For years.         I don't know how many years, but

    14 for years.

    15        Q.    For years?

    16        A.   Mm-hmm (Indicating affirmatively).

    17        Q.    Is that a yes?

    18        A.   Yes.

    19        Q.    Do you let other people use your Facebook

    20 account?

    21        A.   Hm-mmm (Indicating negatively).

    22        Q.    Is that a no?

    23        A.   No, sorry.

    24        Q.    Sorry to keep making you do that.

    25        A.   Sorry.




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     1        Q.    That's okay.        All right, Ms. Ross, I'm going

     2 to show you something that's been marked as AR1, okay?

     3        A.    Okay.

     4        Q.    Do you see this?

     5 (WHEREUPON, the Witness examined the document

     6 previously marked Grand Jury Exhibit-AR1 for

     7 Identification.)

     8        A.    Mm-hmm (Indicating affirmatively).

     9        Q.    Is that a yes?

    10        A.    Yes, yes, yes.

    11        Q.    Do you see where it says Facebook business

    12 record at the top?

    13        A.    Yes.

    14        Q.    And do you see where it says name?

    15        A.    Yes.

    16        Q.    And it says Ashley Ross.               Is that you?

    17        A.    Yes.

    18        Q.    And do you see here where it has two email

    19 addresses?

    20        A.    Yes.

    21        Q.    Unnaturallybeauty95@gmail.com.

    22        A.    Yes.

    23        Q.    And an ashley.l.harriston@facebook.com.                      Do

    24 you see that?

    25        A.    Yes.




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     1        Q.   Are those your email addresses?

     2        A.   Well, the first one is.               I don't really know

     3 about this second one, the

     4 ashley.l.harriston@facebook.com.

     5        Q.   But the gmail account is yours?

     6        A.   Yes.

     7        Q.   And do you see right here, it says vanity

     8 name, and it says Ross T. Ashley?

     9        A.   Yes.

    10        Q.   Is that you?

    11        A.   Yes.

    12        Q.   Does this appear to represent your Facebook

    13 account?

    14        A.   Do it appear as my name on Facebook?

    15        Q.   That's right.

    16        A.   It's not like that, not written like that.

    17        Q.   But it says Ashley Ross, your Facebook ...

    18        A.   Yes.

    19        Q.   ... account is Ashley Ross; correct?

    20        A.   Yes.

    21        Q.   And you see down here where it says phone

    22 numbers?

    23        A.   Yes.

    24        Q.   And you see where it lists two cell phone

    25 numbers?




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     1        A.   Yes.

     2        Q.   And this one right here that ends in 8511,

     3 do you see that?

     4        A.   Yes.

     5        Q.   And is that one of your cell phone numbers?

     6        A.   Yes.

     7        Q.   So who is, other than the father of one of

     8 your children, who is Phillip Miles?

     9        A.   Who other than, who is he to me?

    10        Q.   Yes, ma'am.

    11        A.   Just my child's father.

    12        Q.   Well, let me ask you, when did you first

    13 meet Phillip Miles?

    14        A.   April 2014.

    15        Q.   Where did you meet him?

    16        A.   A party.

    17        Q.   Did you guys start dating after that?

    18        A.   A couple of months after that, yes.

    19        Q.   And for lack of a better word, at that point

    20 did you form a romantic relationship with Mr. Miles?

    21        A.   Yeah, you could say that, yeah.

    22        Q.   Right, you started dating?

    23        A.   Yes.

    24        Q.   Did you start sleeping together?

    25        A.   Yes.




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     1        Q.   And how often would you see Mr. Miles while

     2 you guys were dating?

     3        A.   Almost every day.

     4        Q.   And other than his nickname, R, have you

     5 ever heard him called anything else?

     6        A.   R, just R.

     7        Q.   When you hear other people talking about

     8 him, what do they call him?

     9        A.   R.

    10        Q.   Mr. Miles part of a gang?

    11        A.   I don't know who he, honestly.

    12        Q.   Why did you pause?

    13        A.   Because, I mean, so much, I don't know.                        I

    14 don't know.

    15        Q.   When did you, you said you started a

    16 romantic relationship with Mr. Miles the summer of

    17 2014, right?     A couple of months after April of 2014?

    18 Is that right?

    19        A.   Yeah.

    20        Q.   And when did you stop having a romantic

    21 relationship with Mr. Miles?

    22        A.   It stopped like the end of last, the end of

    23 2017, before 2017 end.

    24        Q.   And during the time from mid-2014 to the end

    25 of 2017, have you ever Mr. Miles, heard people talking




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     1 about Mr. Miles being part of the Rolling Sixties

     2 Cripps?

     3         A.   I heard, yes.

     4         Q.   Did Mr. Miles ever tell you he was part of

     5 that gang?

     6         A.   He always say he don't gang bang.

     7         Q.   He always said he does not gang bang?

     8         A.   Yes.

     9         Q.   In what context would he say he doesn't gang

    10 bang?

    11         A.   What you mean?

    12         Q.   When would he say I'm not in a gang?

    13         A.   Like people be, I don't know, like he'd be

    14 arguing with them on Facebook because then it was, I

    15 don't know.        He would say he don't gang bang or he had

    16 got into some trouble one time on there and I guess

    17 they had asked him stuff like that.                         And he was just

    18 like telling him, involved, you know, he don't gang

    19 bang.

    20         Q.   And you're friends with Mr. Miles on

    21 Facebook?

    22         A.   No.

    23         Q.   No.     At one point did Phillip Miles have a

    24 Facebook account?

    25         A.   Yes.




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     1         Q.      And what was it called?

     2         A.     His name, I believe.

     3         Q.      Did he have another account in a different

     4 name?

     5         A.     We don't follow each other on social media.

     6 He blocks me.

     7         Q.      So if we went through all of your Facebook

     8 account, we wouldn't find any communications with

     9 Phillip Miles?

    10         A.     You will probably after I had my child last

    11 year.        Maybe so, yes.

    12         Q.      And which account was he communicating with

    13 you on Facebook?

    14         A.     It was Wyshawn Brandon, I believe.

    15         Q.      Wyshawn Brandon?

    16         A.     Yeah.

    17         Q.      That's an account that Mr. Miles would use?

    18         A.     Yes.

    19         Q.      On Facebook?

    20         A.     Yes.

    21         Q.      And was it called, the Facebook account

    22 called Wyshawn Brandon?

    23         A.     Yes.

    24         Q.      And how long had Phillip Miles been using an

    25 account called Wyshawn Brandon?




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     1        A.   He was only using it for like a couple of

     2 months, I, yeah, just like a couple of months.

     3        Q.   And when were those months?

     4        A.   Like February 2017 and I don't know when he

     5 stopped using it, but eventually he did get off of

     6 Facebook.

     7        Q.   And how did you know he got off Facebook?

     8        A.   Because he would stop posting on his page,

     9 the boy's page.

    10        Q.   And what other accounts would Miles use?

    11        A.   After that, I don't know.

    12        Q.   Did you ever communicate with a Facebook

    13 account called Sammy Banks?

    14        A.   Have I?

    15        Q.   Yes, ma'am.

    16        A.   No, I don't think so.

    17        Q.   Now on Facebook, would you see pictures of R

    18 on, pictures of Phillip Miles on Facebook?

    19        A.   Now?

    20        Q.   Ever.     Have you ever seen pictures of

    21 Phillip Miles on Facebook?

    22        A.   Yes.

    23        Q.   In any of these pictures, would he be

    24 hanging out with other people?

    25        A.   Yes.




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     1         Q.   Did you see him in groups with other males?

     2        A.    Yes, I saw a couple.

     3         Q.   Any of these pictures he'd be throwing gang

     4 signs?

     5        A.    It was just him and a bunch of boys with

     6 some flags.

     7         Q.   And what are flags?

     8        A.    Like bandanas.

     9         Q.   What color were those bandanas?

    10        A.    Blue.

    11         Q.   Did you ever see them holding up signs with

    12 their hands, like three hundred or six or seven

    13 hundred?

    14        A.    No.     Hardly.

    15         Q.   Did you ever see Phillip Miles in Facebook

    16 pictures throwing up gang signs with his hands?

    17        A.    Mm-mmm (Indicating negatively), I mean, as

    18 far as I know everybody after the boy died, everybody

    19 was throwing up fours, but that's.

    20         Q.   And when people throw up numbers with their

    21 hands, what are they doing?

    22        A.    Well, I know when Tion died, they was

    23 throwing up out of respect for him.

    24         Q.   And what number were they throwing up for

    25 Tion?




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     1        A.   It was like eight, it was eight.

     2        Q.   And why were they throwing up an eight for

     3 Tion Burton?

     4        A.   That's where he was born and raised.

     5        Q.   The eight hundred neighborhood?

     6        A.   Yes.

     7        Q.   And is the eight a reference to a

     8 neighborhood in Danville?

     9        A.   Yes.

    10        Q.   And have you ever seen Phillip Miles throw

    11 up a number to reference a neighborhood in Danville?

    12        A.   Yes.

    13        Q.   And what number would he throw up?

    14        A.   The fours.

    15        Q.   The fours?

    16        A.   Yeah.

    17        Q.   Two fours?       Is that a yes?

    18        A.   Yes.

    19        Q.   And is that to represent the eight hundred

    20 neighborhood?

    21        A.   Yes.

    22        Q.   And when I asked you that question, I threw

    23 up both my hands with the fours, right?

    24        A.   Yes.

    25        Q.   Do I have that correctly?




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     1        A.     Yes.

     2        Q.     Can you show the Grand Jury what Phillip

     3 Miles used to do on his Facebook account?

     4 (WHEREUPON, the Witness complied with the request.)

     5        Q.     And for the record, she's holding up her

     6 hands with the thumbs down and all fingers up on both

     7 hands.      Is that correct, Ms. Ross?

     8        A.     Yes.

     9        Q.     And what's the eight hundred neighborhood?

    10        A.     It's over there, I don't, it's Green Street.

    11 It's Green Street, I guess.

    12        Q.     Is it the Green Street area of Danville?

    13        A.     Yes.

    14        Q.     And a couple of the streets around it?

    15        A.     Yeah, yes.

    16        Q.     And is that on the south side of the Dan

    17 River?

    18        A.     Yes.

    19        Q.     Is that considered south side?

    20        A.     Yes.

    21        Q.     And were other people other than Phillip

    22 Miles, did they associate with this eight hundred

    23 neighborhood?

    24        A.     Yes, a whole lot of people.

    25        Q.     Oh, yeah?




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     1        A.    Yeah.

     2         Q.   Who do you know that associates with that

     3 eight hundred?

     4        A.    I mean, what you mean by like associate?

     5         Q.   When I asked you if there are other people

     6 who identify with that eight hundred neighborhood, you

     7 said a lot of people.             Is that right?

     8        A.    Yeah, a lot, you mean like, because a lot of

     9 people, like I say, after the boy died, they just,

    10 people who were not even from there just started

    11 throwing it up out of respect for him.                       So it was just

    12 a lot of people.

    13         Q.   Did you ever see people throwing up, did you

    14 ever see Phillip Miles on Facebook throwing up numbers

    15 in photos before Tion Burton died last year?

    16        A.    No.

    17         Q.   Never?

    18        A.    No.

    19         Q.   Do you know how Phillip Miles joined that

    20 gang?

    21        A.    No.

    22         Q.   Did you guys ever talk about how he joined,

    23 whether he was beaten in or blessed in or did a crime

    24 to join that gang?

    25        A.    No, no.




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     1        Q.   In addition to wearing a blue bandana, what

     2 else would Phillip Miles do to indicate he was part of

     3 that group?

     4        A.   Nothing that I know of.

     5        Q.   Did he ever say things like what's cracking?

     6        A.   Yeah.

     7        Q.   Did he ever spell words with two C's instead

     8 of a CK?

     9        A.   Yeah.

    10        Q.   I mean, you've done that on your Facebook

    11 account, right?

    12        A.   Mm-hmm (Indicating affirmatively).

    13        Q.   On your Facebook account in your messages

    14 ...

    15        A.   Yeah.

    16        Q.   ... you spell things with two C's instead of

    17 a CK, right?

    18        A.   Yeah.

    19        Q.   And why do you do that?               Explain to the

    20 Grand Jury why you do a CK, two C's instead of a CK?

    21        A.   I don't, it just picked up, it just picked

    22 up.

    23        Q.   CK means Cripp Killer, right?

    24        A.   Oh, no, ain't know it mean that.                    But it

    25 just, I don't know.         It just picked up.




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     1        Q.   I'm sorry to interrupt you.

     2        A.   It just picked up like I see people and I

     3 just eventually started typing like that.

     4        Q.   And what people, who would you see doing the

     5 CC on their Facebook so that you picked it up?

     6        A.   People like just people in my Facebook.

     7        Q.   Like who?         Tenikqua Fuller?

     8        A.   Yeah.

     9        Q.   Shanicqua Coleman?

    10        A.   Yeah.

    11        Q.   Phillip Miles?

    12        A.   Yeah, I guess, yeah.

    13        Q.   Who else would you see with the CC instead

    14 of a CK?

    15        A.   A lot of people, like a lot of people.

    16        Q.   Are you a gang member?

    17        A.   No.

    18        Q.   Pretty adamant about that.

    19        A.   I'm sure.

    20        Q.   Let me ask you, I'm not here to embarrass

    21 you, but you've obviously seen Phillip Miles naked, is

    22 that right?

    23        A.   Yes.

    24        Q.   What tattoo has that guy got?

    25        A.   He got one about Bally.




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     1        Q.   Who?

     2        A.   Bally.

     3        Q.   What's Bally?

     4        A.   Natalya.

     5        Q.   Natalya Adams?

     6        A.   Yes.

     7        Q.   And she was a Cripp as well, right?

     8        A.   No, she wasn't a Cripp, but, no, she wasn't

     9 no Cripp.

    10        Q.   She was murdered in Danville, is that right?

    11        A.   Yes.

    12        Q.   So he has a tattoo of Natalya Adams?

    13        A.   Well, not of her, but it says long live her,

    14 long live Bally.

    15        Q.   Long live Bally, and that's Natalya Adams'

    16 nickname is Bally?

    17        A.   Yes.

    18        Q.   B-A-L-L-Y?

    19        A.   Yes.

    20        Q.   And sometimes she's referred to on Facebook

    21 as Bally World?

    22        A.   Yes.

    23        Q.   And I interrupted you.               What other tattoos

    24 does Phillip Miles have?

    25        A.   I know he got his kid's name.                   His mom's




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     1 name.        His baby mom's name, not me.                      And that's all I

     2 can remember as of right now.                     That's all I can

     3 remember.

     4         Q.      Any other symbols?

     5         A.      That's all, no.

     6         Q.      Now this group that Phillip belongs to, this

     7 eight hundred, let me ask you this specifically.                                 Have

     8 you ever heard them called the Rolling Sixties?

     9         A.      Have I ever?

    10         Q.      Heard this group called the Rolling Sixties?

    11         A.      Yes, I have.

    12         Q.      And does this group, the Rolling Sixties, do

    13 they have any groups that they're deep in with?                                  That

    14 they're rivals with?               Do you understand the question

    15 I'm asking?

    16         A.      No.

    17         Q.      Is there any groups that the Cripps, the

    18 Rolling Sixties, don't like?

    19         A.      I guess, I don't know.                 I don't know if

    20 they're a group or, I don't know.                       I just know they, I

    21 guess they the Bloods, so, I don't know.

    22         Q.      Well, let me ask you a more direct question.

    23 Who are the Billys?

    24         A.      I guess they Bloods.                I have heard of them.

    25         Q.      You have heard of the Billys?




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     1        A.   Yes.

     2        Q.   Are they a Blood set in Danville?

     3        A.   Yeah.      As ...

     4        Q.   What ...

     5        A.   ... far as I know.

     6        Q.   I'm sorry to keep interrupting.

     7        A.   As far as I know, yes.

     8        Q.   And how have you heard about the Billys?

     9        A.   Honestly, Facebook, just Facebook.

    10        Q.   And who is head of the Billys in Danville?

    11        A.   Oh, I don't know.

    12        Q.   Have you ever heard of Peter Roll?

    13        A.   Yes, I heard of him.

    14        Q.   How have you heard of Peter Roll?

    15        A.   He was my friend on Facebook once upon a

    16 time, but I don't know him.

    17        Q.   Do you know Peter Roll's real name, his

    18 Christian name?

    19        A.   No.

    20        Q.   The name his mom gave him?

    21        A.   No.

    22        Q.   And you guys were friends on Facebook at one

    23 point?

    24        A.   Yes.

    25        Q.   Do you know if he has any connection to the




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     1 Billys?

     2        A.   Yeah, I, yeah, yeah.

     3        Q.   Have you ever heard of anyone named Smooth?

     4        A.   Yeah, I heard of him, yes.

     5        Q.   Who is that?

     6        A.   Smooth.

     7        Q.   Do you know the name his mama gave him?

     8        A.   No.

     9        Q.   Does Smooth to your knowledge, does Smooth

    10 have a connection to the Billys?

    11        A.   Yeah, yeah, because, I mean, I guess when I

    12 see him on Facebook they talk to each other, so.

    13        Q.   What do you mean they talk to each other?

    14 Who's talking to who?

    15        A.   Peter Roll and Smooth.

    16        Q.   And they're both Billys to your

    17 understanding?

    18        A.   Yeah, based on.

    19        Q.   Do the Rolling Sixties and the Billys get

    20 along?

    21        A.   They, I don't know what they do honestly.

    22 One minute no, the other minute, I don't know.                              I just

    23 used to see people on Facebook just.

    24        Q.   To your understanding, do they get along?

    25        A.   It's a no and yes.               Some of them might, some




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     1 of them don't.        I don't know, yeah, no, no, no.

     2         Q.   Have you ever heard of the Millas?

     3         A.   Yeah.

     4         Q.   Who are the Millas?

     5         A.   I think they a Blood set.                      I don't know.

     6 Yeah, I think they are a Blood set.

     7         Q.   And how do you know that?

     8         A.   Facebook.

     9         Q.   Who, did the Millas and the Rolling Sixties

    10 get along?

    11         A.   I don't know, yeah, yeah, somebody and them

    12 do, yeah.

    13         Q.   And when did the Millas, a Blood set, and

    14 the Rolling Sixties, a Cripp set, when did they start

    15 getting along, do you know?

    16         A.   No.

    17         Q.   When did they start getting along?

    18         A.   I don't know.           When they started, I don't

    19 know.

    20         Q.   As long as you've known, have they gotten

    21 along?

    22         A.   Yeah, I guess, yeah.

    23         Q.   Are the Millas from the north side?

    24         A.   I don't know.

    25         Q.   Do you know anyone who associates with the




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     1 Millas?

     2        A.   No.

     3        Q.   Have you ever heard of the Millas and the

     4 rolling Sixties tying the flag?

     5        A.   I saw it on Facebook.

     6        Q.   Yeah?      You heard the blue and the red makes

     7 purple?

     8        A.   Yeah, I guess, yeah.

     9        Q.   Where did you hear that?

    10        A.   I saw it on Facebook.

    11        Q.   And whose accounts did you see it, I mean,

    12 how did, where on Facebook did you see it?

    13        A.   I, nn-nn-nnn (Indicating I don't know).

    14        Q.   Who does Phillip Miles hang out with?                           I

    15 mean, during the time that you guys were dating from

    16 mid-2014 to the end of 2017, who would Phillip Miles

    17 hang out with?

    18        A.   Kevin.

    19        Q.   Kevin who?

    20        A.   Trent.

    21        Q.   What's Kevin's nickname?

    22        A.   Cave.      I call him Cave.

    23        Q.   Does he have any other nicknames?

    24        A.   Uh-uh (Indicating negatively).

    25        Q.   Have you ever heard anyone else call him a




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     1 different name?

     2        A.   No.

     3        Q.   You've never heard him called Gates?

     4        A.   I don't call him that.

     5        Q.   I'm not asking what you call him, I'm asking

     6 you did you hear what other people have called him?

     7 Have you ever heard of anyone else calling him Gates?

     8        A.   Not like that.

     9        Q.   What do you mean, not like that?

    10        A.   Like, I don't know.               It's not some out here

    11 people call him on the normal.                  If that makes sense.

    12        Q.   When did you hear people call him that?

    13        A.   I don't know.           I don't know.           Some people, I

    14 don't know, I guess it depends on who around, people

    15 that call him that.

    16        Q.   Who calls him that?

    17        A.   Phillip did, I guess, yeah, Phillip did.

    18        Q.   Phillip calls him Gates?

    19        A.   Mm-hmm (Indicating affirmatively).

    20        Q.   Is that a yes?

    21        A.   Yes.

    22        Q.   Who else calls him Gates?

    23        A.   I mostly heard Phillip call him Gates.

    24        Q.   Does he go by Benji Gates on Facebook?

    25        A.   We're not friends on Facebook I don't think.




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     1 I don't think.

     2         Q.   I'm not asking if you're friends on

     3 Facebook, I'm asking have you seen him called Benji

     4 Gates on Facebook?

     5        A.    Yeah.     Yeah.

     6         Q.   And is Kevin Trent part of this group that

     7 Phillip associates with?            That wears the blue

     8 bandanas?

     9        A.    I mean, they be together, but.                  You said

    10 does he what?

    11         Q.   Is he part of this gang group?                  Is he part

    12 of this group that wears the blue bandanas?

    13        A.    They be together, but, I mean, if they part,

    14 I don't know.        But they be together.

    15         Q.   And who's the "they be together"?                    Who's the

    16 they?

    17        A.    Phillip and Kevin.

    18         Q.   So who else does Phillip Miles hang out with

    19 while you guys were dating?

    20        A.    DeShawn Trent.

    21         Q.   DeShawn Trent?         What's DeShawn's nickname?

    22        A.    Six.

    23         Q.   And would he hang out, is he part of this

    24 group we've been talking about?

    25        A.    They be together.




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     1         Q.   What do you mean they be together?                     Who's

     2 they?

     3        A.    Kevin, DeShawn, and Phillip.

     4         Q.   Who else did Phillip hang out with while you

     5 guys were dating?

     6        A.    Kanash.

     7         Q.   Okay, Kanash Trent?

     8        A.    Trent, yes.

     9         Q.   And what's Kanash's nickname?

    10        A.    Not Kanas, Kanas.

    11         Q.   Does he have a nickname?

    12        A.    L.A.

    13         Q.   Is Kanash, is L.A. part of this group?

    14        A.    They be together.

    15         Q.   What about Jaquan Trent?

    16        A.    Who?

    17         Q.   Jaquan Trent.        Do you know anyone named

    18 Jaquan Trent?

    19        A.    Okay, yes, yes, yes.

    20         Q.   Who is Jaquan Trent?

    21        A.    DeShawn's brother.

    22         Q.   Does he have a nickname?

    23        A.    Quan.

    24         Q.   So Jaquan Trent is called Quan?

    25        A.    Yes.




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     1        Q.   Have you ever heard him with another

     2 nickname?

     3        A.   No.

     4        Q.   Have you ever heard him called Hatch?

     5        A.   Uh-uh (Indicating negatively).

     6        Q.   Have you ever seen him on Facebook with the

     7 account Hatch Trent?

     8        A.   Yes.

     9        Q.   And that's Jaquan?

    10        A.   Yes.

    11        Q.   And DeShawn Trent, have you seen him on

    12 Facebook?

    13        A.   No.

    14        Q.   You haven't seen him on Facebook?

    15        A.   No.     What you mean by have I seen him on

    16 Facebook?

    17        Q.   Does he have a Facebook account?

    18        A.   Oh, yeah.

    19        Q.   You've communicated with it, right?

    20        A.   Yeah, yeah.

    21        Q.   What's his account on Facebook?

    22        A.   See, I don't know, because it's not up, so.

    23        Q.   When it was up, what was it?

    24        A.   DeShawn Trent.

    25        Q.   Who's the account, do you remember ever




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     1 communicating with an account called Dae Dae Trent?

     2        A.   Yes.

     3        Q.   And who's that?

     4        A.   That's the same.

     5        Q.   Same guy?

     6        A.   Yeah, that's the same guy.                     Yes.

     7        Q.   And who's the same guy we're talking about?

     8        A.   DeShawn.

     9        Q.   And Kanash Trent, does he have a Facebook

    10 account?

    11        A.   Yes.

    12        Q.   What's it called?

    13        A.   L.A. Johnson.

    14        Q.   Who else did Phillip hang out with?                        We've

    15 talked about four Trents.               Anyone else that he would

    16 hang out with during the time that you guys were

    17 dating?

    18        A.   Well, him and Jaquan, they don't hang.

    19        Q.   They don't hang?

    20        A.   Hm-mmm (Indicating negatively).

    21        Q.   Okay.

    22        A.   No.

    23        Q.   Who else did Phillip Miles hang out with in

    24 the time you guys dated?

    25        A.   Tredarius Keene.




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     1        Q.     The same Tredarius Keene we were talking

     2 about earlier?

     3        A.    Yes.

     4        Q.     Is Tredarius part of this same group?

     5        A.    He be with them, yes.

     6        Q.     Did he wear a blue bandana, though, or a red

     7 bandana?

     8        A.    A red.

     9        Q.     And why would he wear a different color

    10 bandana?

    11        A.    I guess, um.

    12        Q.     Why did you understand he wore a red flag?

    13        A.    He was with some, I just don't remember what

    14 it was.     But he was with some.

    15        Q.     With something what?

    16        A.    I don't know.         One of them.           Whatever they

    17 was.     I don't know what they was.

    18        Q.     Why would he wear a red flag?

    19        A.    I guess to gang bang.

    20        Q.     And what does the red symbolize?                   What gang?

    21        A.    Blood.

    22        Q.     And which Blood set was he in?                  Was he a

    23 Billy?      Was he a Milla?

    24        A.    I don't know, between ...

    25        Q.     Was he a North Side?




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     1         A.      ... them two.           No, he not from the north

     2 side.        But between them two, I don't, the first two, I

     3 don't know.

     4         Q.      So you don't know whether he's a Billy or a

     5 Milla?

     6         A.      Yeah.

     7         Q.      And who else, during the time that you were

     8 dating Phillip Miles, who else would Phillip hang out

     9 with?

    10         A.      I don't know.           He hanged with different

    11 people.        Little what's his name, Tyson.

    12         Q.      Tyson?

    13         A.      Yeah.

    14         Q.      Do you know Tyson's last name?

    15         A.      Hm-mmm (Indicating negatively).

    16         Q.      Bowens?

    17         A.      I don't know his last name.

    18         Q.      What's Tyson's nickname?

    19         A.      Tyson.

    20         Q.      You've never heard him called a different

    21 name?

    22         A.      No.

    23         Q.      And what's his Facebook account?

    24         A.      I don't know.           I don't know.

    25         Q.      Who else would Phillip hang out with?




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     1         A.   He used to hang with Wyshawn.

     2         Q.   Wyshawn Brandon?

     3         A.   Brandon, yes.

     4         Q.   And what's Wyshawn's nickname?

     5         A.   Mister.

     6         Q.   Mister?

     7         A.   Mm-hmm (Indicating affirmatively).

     8         Q.   Is that a yes?

     9         A.   Yes.

    10         Q.   Mister as in M-I-S-T-E-R?

    11         A.   Yes.

    12         Q.   Any other nicknames for Wyshawn Brandon

    13 other than Mister?

    14         A.   No.

    15         Q.   Is there a Facebook account for Wyshawn

    16 Brandon?     What's the name of that?

    17         A.   I don't know his Facebook account.

    18         Q.   You don't know Wyshawn Brandon's Facebook

    19 account?

    20         A.   Hm-mmm (Indicating negatively).                      Besides his

    21 name.

    22         Q.   Phillip was using Wyshawn Brandon's Facebook

    23 account for a period of time, is that right?

    24         A.   Yeah, Wyshawn Brandon.

    25         Q.   And it's called Wyshawn Brandon?




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     1        A.    Yes.

     2        Q.    Who else was Phillip hanging out with during

     3 the time you guys dated?

     4        A.    I don't, those are the main ones.

     5        Q.    Those are the main ones?

     6        A.    Yeah.

     7        Q.    Now when you lived at North Hills Court, did

     8 people come to your apartment?

     9        A.    Yes.

    10        Q.    Did Phillip ever bring people to your

    11 apartment?

    12        A.    Them?

    13        Q.    Did Phillip ever come with people with him

    14 to hang out?

    15        A.    Yes.

    16        Q.    And Phillip in fact stayed at your apartment

    17 for a period of time.

    18        A.    What you mean by stayed?

    19        Q.    He ever spend the night?

    20        A.    Oh, yes.

    21        Q.    And when he would come over and hang out or

    22 stay, did he bring other people with him?

    23        A.    Yes.

    24        Q.    And did he bring then, would he bring Gates

    25 with him?     And let me ask you a better question.                       Did




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     1 Phillip ever bring Gates to your apartment or come

     2 with Gates to your apartment?

     3        A.   Yes, sometimes.

     4        Q.   Did Phillip ever come with L.A. to your

     5 apartment at North Hills Court?

     6        A.   No, sometimes Kanash, he'll just come on his

     7 own.

     8        Q.   So sometimes L.A. just came by himself?

     9        A.   Yeah.

    10        Q.   Is that because you're friends with L.A.

    11 separately?

    12        A.   Yeah.

    13        Q.   Why did L.A. come to your apartment without

    14 Phillip?

    15        A.   We just close.

    16        Q.   You're friends with L.A. directly?

    17        A.   What.

    18        Q.   You and L.A. have your own friendship?

    19        A.   Yes, yes.

    20        Q.   Did Phillip ever come to your apartment with

    21 Six?

    22        A.   Yes.

    23        Q.   Did Six ever come by himself?

    24        A.   Some, probably once or twice.

    25        Q.   Did Quan ever come over to your apartment?




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     1        A.   Probably ...

     2        Q.   At North Hills Court?

     3        A.   Not like that.

     4        Q.   What do you mean not like that?

     5        A.   Probably a few times, not like that, because

     6 he not really, he wasn't really around then.

     7        Q.   And why do you distinguish Quan visiting you

     8 than the other Trents visiting you?                         Why do you say

     9 not like that?

    10        A.   Because he, I believe he was working at the

    11 time, so I'd barely even see him.                    And me and him,

    12 we're not as close, I guess you could say, yeah.                              We

    13 not as close.

    14        Q.   Did Phillip ever bring Wyshawn Brandon to

    15 your apartment in North Hills Court?                         Or did Wyshawn

    16 Brandon, let me just ask this.                   Whether with or

    17 without Phillip, did Wyshawn Brandon ever come and

    18 hang out at your apartment in North Hills Court?

    19        A.   No.

    20        Q.   What about Tyson?                Did he ever come hang out

    21 at your apartment in North Hills Court?

    22        A.   No.

    23        Q.   Did Tyson ever hang out at North Hills

    24 Court?

    25        A.   Yes.




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     1         Q.   And when he hung out there, where did Tyson

     2 hang out?

     3         A.   I only saw him at North Hills Court one time

     4 and that was when he came over and we was standing

     5 outside.

     6         Q.   And when was that?

     7         A.   I don't know, this is like, I don't know.

     8 About towards the end when I was ready to leave.

     9 Yeah.

    10         Q.   Moving in September of 2016?

    11         A.   Yes.

    12         Q.   Did Tyson come out and hang around any time

    13 where a murder occurred there?

    14         A.   Where a what?

    15         Q.   I'll ask another question later.                   Ever, did

    16 Phillip ever hang out with anyone named Stevie

    17 Johnson?

    18         A.   Yeah, he came around.

    19         Q.   I'm sorry?

    20         A.   Yes, yes.

    21         Q.   And what else did you say?                  I didn't hear

    22 you.

    23         A.   He came around.

    24         Q.   Who came around?          Stevie?

    25         A.   Yes.




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     1        Q.   What's Stevie's nickname?

     2        A.   Stevie.

     3        Q.   Ever heard him called anything else?

     4        A.   Stevie.

     5        Q.   He have a Facebook account?

     6        A.   Do I?      Do he?       Yeah.       Yeah.      Because, yeah,

     7 I remember him posting him with dumb little girlies.

     8        Q.   What about someone named, is Stevie part of

     9 this group with Phillip and the Trents?

    10        A.   He be around them.               He be around them.

    11        Q.   What does that mean, he be around them?

    12        A.   I don't actually know who was a part of

    13 them, but they be together.

    14        Q.   What about Matthew Ferguson?

    15        A.   What about him?

    16        Q.   What's his nickname?                Do you know Matthew

    17 Ferguson?

    18        A.   MC, yes.

    19        Q.   Let me ask you, let's break it down.                            Do you

    20 know Matthew Ferguson?

    21        A.   Yes.

    22        Q.   What's his nickname?

    23        A.   MC.

    24        Q.   Did he ever hang out at your apartment at

    25 North Hills Court?




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     1         A.      A couple of times, a couple of times.

     2         Q.      He has a nickname for you, doesn't he?

     3         A.      That's what everybody call him, MC.

     4         Q.      But he has a nickname for you.

     5         A.      For me?    Oh, no.

     6         Q.      Does he call you Sis or Sister?

     7         A.      Oh, yeah, he call me his Sis.

     8         Q.      And you call him Brother?

     9         A.      Yeah, but he worse.

    10         Q.      What's that mean?

    11         A.      He worsen [phonetic].

    12         Q.      What's that mean?

    13         A.      He get on my nerves.

    14         Q.      Is he one of the, did MC ever hang out with

    15 Phillip?

    16         A.      Yes.

    17         Q.      At your apartment in North Hills Court?

    18         A.      No, when he came he wasn't over there with

    19 them.        He was over there with some girl when he came.

    20 He brought me some food.               That's about the only time

    21 he came over there.

    22         Q.      What about Spazz, did he ever come by your

    23 apartment?

    24         A.      Probably like once, once or twice.                     Not like

    25 that, though.




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     1        Q.    What do you mean not like that, though?

     2        A.   I done barely even remember him coming to my

     3 apartment.

     4        Q.    At North Hills Court?

     5        A.   Yes.

     6        Q.    And as we're talking, you're getting quieter

     7 and quieter, Ms. Ross.             Could you be sure to speak

     8 into the microphone so the guys in the back can hear

     9 you?

    10        A.   Yes.

    11        Q.    And what is Spazz's real name?

    12        A.   Laquante.         Yeah, Laquante Adams.

    13        Q.    Did you ever know anyone named Sticks?                          Did

    14 he ever come by your apartment?

    15        A.   No.

    16        Q.    Do you know who Sticks is?

    17        A.   Yes, I know of him, yes.

    18        Q.    What's his real name?

    19        A.   Oh, I don't know.                Sticks.

    20        Q.    Who's Sticks?

    21        A.   He got something to do with, I do know he

    22 got something to do with Cripps stuff.

    23        Q.    I'm sorry?

    24        A.   He got something to do with Cripps stuff.

    25        Q.    With the Rolling Sixties?




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     1        A.    Yeah, I, yeah.

     2         Q.   And what is that something to do with the

     3 Rolling Sixties?

     4        A.    I don't know what he is, I just know he got

     5 something to do with it.

     6         Q.   And how do you know that?

     7        A.    Hmm?

     8         Q.   How do you know that?

     9        A.    From when the times that he, the times that

    10 I used to see him.

    11         Q.   See him in person?

    12        A.    Yeah.

    13         Q.   And when would you see Sticks in person?

    14        A.    Like, I don't know, sometimes if I be

    15 dropping Phillip off sometimes.                Like when they on the

    16 way, well, he goes over there to Green Street,

    17 whatever.     From over there.

    18         Q.   Who would go over to Green Street?

    19        A.    Phillip.

    20         Q.   And where would you see Sticks when you

    21 would take Phillip to Green Street?

    22        A.    Sometimes I dropped him off with him off at

    23 the park.

    24         Q.   Sometimes you dropped Phillip off at the

    25 park?




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     1        A.   Yes.

     2        Q.   Which park?

     3        A.   Green Street.

     4        Q.   And why do you say that Sticks is connected

     5 to the Cripps because you dropped him off at Green

     6 Street Park?

     7        A.   Well, not just because of that.                    Just

     8 because of what I heard, like.

     9        Q.   What did you hear?

    10        A.   Just people saying that he just, I guess he,

    11 I don't know what he is honestly.                 I just know he has

    12 something to do with it.

    13        Q.   What did you hear about Sticks?

    14        A.   He a Cripp.

    15        Q.   And is that Green Street area associated

    16 with the Cripps?

    17        A.   I, yeah.      Yeah.       I guess.

    18        Q.   Why do you say yeah I guess?

    19        A.   I mean, they, I don't know.                  He be over

    20 there, so I guess.

    21        Q.   Who be over there?

    22        A.   Sticks be over there.

    23        Q.   And Phillip would be over there, right?

    24        A.   Yeah.

    25        Q.   And you would drop Phillip off over in that




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     1 area; correct?

     2        A.   Yes.

     3        Q.   And he would go over there to hang out with

     4 Sticks, right?

     5        A.   They all of them go to the park and play

     6 basketball.

     7        Q.   And some of the Trents would go there and

     8 play basketball, right?

     9        A.   Yes.

    10        Q.   And they are Cripps as well?

    11        A.   I guess.        I don't know.           I don't know who

    12 all is actually what, I just know they all be

    13 together.

    14        Q.   Well, you don't have a membership list for

    15 the Cripps, right?

    16        A.   No.

    17        Q.   You don't know the official membership, do

    18 you?

    19        A.   No.

    20        Q.   Did you hear that Kevin Trent was a member

    21 of the Cripps?

    22        A.   Did I hear it?

    23        Q.   Did you understand that Kevin Trent was a

    24 member of the Cripps?

    25        A.   I don't know.           I mean, I don't know.                   I




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     1 mean, people can.

     2        Q.   Ms. Ross.

     3        A.   Yes.

     4        Q.   You know you're under oath, right?

     5        A.   Yeah.

     6        Q.   Did you understand my question?

     7        A.   No.

     8        Q.   Let me ask you a better question.                       Did you

     9 believe based on everything you know that Kevin Trent

    10 was a member of the Cripps?

    11        A.   Based on everything I know, it would seem

    12 like it.

    13        Q.   And based on everything you know, did you

    14 believe Kanash Trent to be a member of the Cripps?

    15        A.   It would seem like it.

    16        Q.   And based on everything you know, did you

    17 believe DeShawn Trent to be a member of the Cripps?

    18        A.   Same thing for him, it would seem like it.

    19        Q.   And based on everything you know, did you

    20 believe Phillip Miles to be a member of the Cripps?

    21        A.   It would seem like it.

    22        Q.   And what are the things that formed your

    23 knowledge for this information?

    24        A.   All of them being together.

    25        Q.   Hanging out together?




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     1         A.     Yeah.

     2         Q.      Okay, would they wear the blue flag?

     3         A.     Every now and then, yes.

     4         Q.      Would they use certain language and

     5 terminology?

     6         A.     Yes.

     7         Q.      Did they do certain things in Facebook

     8 pictures that made you think they were part of the

     9 Cripps?

    10         A.     Yes.

    11         Q.      Based on everything you know, do you think

    12 MC is a Cripp?           Do you believe MC to be a Cripp?

    13         A.     No.

    14         Q.      No?

    15         A.     No.      I don't believe so.               I mean, he, I

    16 don't believe so.

    17         Q.      And based on everything you know, do you

    18 believe Stevie Johnson to be a Cripp?

    19         A.     I don't know.            I guess, I guess.             I don't

    20 know.        It would seem like it, too.

    21         Q.      For the same reasons we talked about for the

    22 others?

    23         A.     Mm-hmm (Indicating affirmatively).

    24         Q.      Is that a yes?

    25         A.     Yes.




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     1         Q.   What about Tenikqua Fuller?                    Based on

     2 everything you know, do you believe her to be a member

     3 of the Cripps?

     4        A.    No.

     5         Q.   You don't?

     6        A.    No.

     7         Q.   What about Shanicqua Coleman?                     Based on

     8 everything you know, do you believe her to be a member

     9 of the Cripps?

    10        A.    No.

    11         Q.   Do you know anyone named Shabba Chandler?

    12        A.    Yes, I know Shabba.

    13         Q.   What's his nickname?

    14        A.    Shabba.

    15         Q.   Have you ever heard him called Trill?

    16        A.    No, Shabba.

    17         Q.   You've never heard anyone call him Trill?

    18        A.    Well, them, but I call him Shabba.

    19         Q.   And who has called him Trill?

    20        A.    Phil, Kevin, Six, all of them.                     I just call

    21 him Shabba.

    22         Q.   Okay, you call him Shabba.

    23        A.    Yes.

    24         Q.   And other people call him Trill.                      Is that

    25 fair?




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     1        A.   Yes.

     2        Q.   And some of the people who call him Trill

     3 are Phillip, Kevin, Kanash, DeShawn?

     4        A.   Yes.

     5        Q.   Have you ever heard of anyone called

     6 Kadarius West?

     7        A.   Yes.

     8        Q.   Who is Kadarius West?

     9        A.   Shanicqua's child's father.

    10        Q.   Shanicqua Coleman?

    11        A.   Yes.

    12        Q.   And does Kadarius have a nickname?

    13        A.   Kay-West.

    14        Q.   Kay-West?

    15        A.   Mm-hmm (Indicating affirmatively).

    16        Q.   Is that a yes?

    17        A.   Yes.

    18        Q.   Does he associate with one of these groups,

    19 the Cripps or the Bloods?

    20        A.   He talk to them, yes.

    21        Q.   Which one?

    22        A.   I guess, I don't know, I guess all of them.

    23        Q.   And based on all the information you have,

    24 do you believe him to be a member of the Bloods?

    25        A.   No.




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     1        Q.   Based on all the information you know, do

     2 you believe Kay-West to be a member of the Cripps?

     3        A.   No.

     4        Q.   No?

     5        A.   No.

     6        Q.   You don't believe that he's a part of either

     7 of these groups?

     8        A.   No.

     9        Q.   And why do you say that?

    10        A.   I mean, I haven't, I don't know, I'm not

    11 that close with him, but I just don't believe he is.

    12        Q.   Okay, you're friends on Facebook?

    13        A.   Yes.

    14        Q.   And you've seen him on Facebook?

    15        A.   Yes.

    16        Q.   And you message with him on Facebook?

    17        A.   Yes.

    18        Q.   And based on everything you know about him

    19 and have heard about him, you don't believe him to be

    20 a member of the Cripps or the Bloods?

    21        A.   No, I don't think so.

    22        Q.   What about Malick Smith?                  Have you ever

    23 heard of him?

    24        A.   Yes.

    25        Q.   And what's his nickname?




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     1        A.    I call him, his name's Shoota.

     2        Q.    His nickname is Shoota?

     3        A.    Yeah.

     4        Q.    And how do you know Shoota?

     5        A.    Just coming up off of, I knew him back when

     6 a long time ago when I used to live on Myrtle.                            Yeah,

     7 but yeah, we met again through, well, not met again,

     8 but, yeah.

     9        Q.    I'm sorry, hanging out again through

    10 Phillip?

    11        A.    Mm-hmm (Indicating affirmatively).                     Well,

    12 not hanging out, but, yeah, communicating.

    13        Q.    And does Shoota hang out with Phillip?

    14        A.    Yes.

    15        Q.    And does Shoota hang out with your brother,

    16 Tredarius Keene?

    17        A.    Yes.

    18        Q.    You've seen Shoota hanging out with these

    19 two individuals, right?

    20        A.    Yes.

    21        Q.    And based on everything you know, do you

    22 believe Shoota to be a member of a gang?

    23        A.    Mm-hmm (Indicating affirmatively).

    24        Q.    Do you believe Shoota to be a Blood?

    25        A.    Do I believe him to be one?




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     1        Q.    Based on everything you've seen and heard.

     2        A.    You would think, yeah, you would think.

     3        Q.    Do you know which set of Bloods he's a part

     4 of?

     5        A.    No.

     6        Q.    Are he and Tredarius Keene part of the same

     7 group?

     8        A.    I don't know.           I don't know.           I just know

     9 all of them grew up together, but I don't know, what,

    10 you know.     I don't know.

    11        Q.    Who is Chantelle Younger                  And I might be,

    12 Chantelle.     Shontae Younger.               Who's that?

    13        A.    I don't know.

    14        Q.    You don't know?

    15        A.    Shontae?        I don't know.

    16        Q.    You don't know who that is?

    17        A.    Hm-mmm (Indicating negatively).

    18        Q.    You're not Facebook friends with this

    19 person?

    20        A.    I don't know.           Shontae.        I don't know.

    21        Q.    Do you know anyone named Hamai Royster

    22 [phonetic]?

    23        A.    Yes.

    24        Q.    Who's that?

    25        A.    She used to be Tredarius' girlfriend.




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     1        Q.   Did she ever come by your apartment at North

     2 Hills Court?

     3        A.   Yes, yes.

     4        Q.   She would hang out there at your house?

     5        A.   She'll come and see him.                  She'll come and

     6 see him.

     7        Q.   Did she sometimes come there and hang out

     8 without Bubba around?

     9        A.   No.

    10        Q.   What about Tyasia Bethel, who's she?

    11        A.   We used to be friends.

    12        Q.   Used to be friends?

    13        A.   Yeah, we used to be friends.

    14        Q.   You mean you Facebooked messaged and stuff,

    15 right?

    16        A.   Yeah.

    17        Q.   Who is Tyasia Bethel?                Other than your

    18 former friend.

    19        A.   What you mean like who she is?

    20        Q.   Who is she?          How do you know her?

    21        A.   We went to school together.

    22        Q.   Is she from Danville?

    23        A.   Yes.

    24        Q.   She hang out with some of these guys that

    25 we've been talking about?




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     1        A.   Yes.

     2        Q.   Who does she hang out with the most?

     3        A.   Phillip.

     4        Q.   Do they ever have a dating, sexual

     5 relationship?

     6        A.   I believe so.

     7        Q.   Did she ever have a sexual relationship with

     8 some of these other guys?

     9        A.   I don't know.         I don't know about that.

    10        Q.   Did she ever hang out with some of the

    11 Billys?

    12        A.   You mean the, I mean, yeah, she hung out

    13 with other people, yeah.

    14        Q.   Who is Shon Don?

    15        A.   I don't actually know him, but I know him

    16 through Tredarius.        Well, not know him, but he came

    17 around.

    18        Q.   Shon Don came around?

    19        A.   Yeah, well, not came around, but, yeah,

    20 that's how I know his name.

    21        Q.   Through Tredarius?

    22        A.   Yes.

    23        Q.   And Shon Don ever come to your apartment in

    24 North Hills Court?

    25        A.   Yes.   Yes.




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     1        Q.   And is Shon Don and Tredarius part of the

     2 same group?

     3        A.   I guess, yeah, I guess.

     4        Q.   Part of that Bloods group we've been talking

     5 about?

     6        A.   Yeah.

     7        Q.   And what about Truck?              Who is Truck?

     8        A.   I don't know Truck, but I don't know, yeah,

     9 you could say I know him, but he be with Shon Don.

    10        Q.   And Tredarius?

    11        A.   Yeah.

    12        Q.   Part of that same Blood group?

    13        A.   Yeah, I guess, they be together.

    14        Q.   Well, you're not just guessing because they

    15 hang out together, right, Ms. Ross?

    16        A.   They be together.

    17        Q.   There's other information that provides you

    18 with that opinion that they're part of the same Blood

    19 set, right?

    20        A.   I don't know.

    21        Q.   They hang out together?

    22        A.   Yeah.

    23        Q.   Tredarius, Shon Don, Truck?

    24        A.   Yes.

    25        Q.   With Shoota?




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     1        A.    I've never seen them together with Shoota,

     2 but, yeah.

     3        Q.    But you've seen Shon Don and Truck with

     4 Tredarius?

     5        A.    Yes.

     6        Q.    And they wear red flags sometimes, right?

     7        A.    I never seen Truck with no flag.

     8        Q.    But you've seen Shon Don with a flag?

     9        A.    I don't know, I don't really pay attention

    10 to him.     I don't know.

    11        Q.    And you've seen Tredarius with a flag.

    12 We've already talked about that.

    13        A.    Yeah.

    14        Q.    And who else hangs out with that group of

    15 guys we're talking about, Shon Don, Truck, Tredarius?

    16        A.    Tae.

    17        Q.    And who's Tae?

    18        A.    I used to call him my best friend.

    19        Q.    You used to call him your best friend?

    20        A.    Mm-hmm (Indicating affirmatively).

    21        Q.    Is that a yes?

    22        A.    Yes.

    23        Q.    What's your best friend's last name?

    24        A.    Shoot, I don't know.

    25        Q.    Is it Holland?




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     1        A.   Yeah, Tae, Tae Holland.

     2        Q.   Is Tae part of this group of Tredarius and

     3 Shon Don and Truck that we've been talking about?

     4        A.   He be with them, yes.

     5        Q.   Is there anyone else that used to hang out

     6 with Tredarius?        Well, let me ask you this.                    I'll do

     7 like what I did with Phillip Miles.                        When Tredarius

     8 was staying with you over at North Hills Court, who

     9 would he hang out with?

    10        A.   A couple of times people, people just start

    11 coming around, I mean.             He hung with all of them

    12 honestly, all, everybody.

    13        Q.   All the guys we've been talking about?

    14        A.   Yeah.

    15        Q.   So all the Trents and MC and ...

    16        A.   Well, not MC.           MC don't, he didn't really

    17 come around.

    18        Q.   So Tredarius could hang out with the Cripps

    19 and the Bloods then, huh?

    20        A.   Yeah.

    21        Q.   And how did Tredarius get away with that?

    22 How could he hang out with both Cripps and Bloods?

    23        A.   I don't know, I don't know.

    24        Q.   You don't know?

    25        A.   No.     I mean, a lot of people talk.                      I don't




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     1 know how that stuff goes, I don't know.                     I guess they

     2 all cool.     I don't know.         I wondered the same thing.

     3        Q.   Who's Bubba's mother?

     4        A.   His mother?        Cheryl.

     5        Q.   What's her last name?

     6        A.   Davis.

     7        Q.   Are you guys friends on Facebook?

     8        A.   Yes.

     9        Q.   And she's been posting some stuff about her

    10 son's case, right?

    11        A.   Yes.

    12        Q.   Wanting to release the names of people

    13 testifying against him?

    14        A.   I know she posted about the case, but I

    15 don't know about the names and stuff.                     I don't know.

    16 I haven't really been on Facebook.

    17        Q.   Is your Facebook account still active?

    18        A.   No, not right now, no.

    19        Q.   When is the last time you've been on

    20 Facebook?

    21        A.   Yesterday after I got off work maybe.

    22        Q.   And it's not active today?                   When did you

    23 shut your Facebook account down?

    24        A.   I don't know.         Some time last night.

    25        Q.   Why did you shut your Facebook account down




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     1 before coming to testify in a Federal Grand Jury.

     2         A.      I do it like every other night.

     3         Q.      Why do you turn it off?

     4         A.      I don't know.        I just do.

     5         Q.      Ms. Ross, come on.            You're under oath,

     6 you're in front of the Grand Jury.                     Why do you turn

     7 your Facebook account off at night?                         Are you worried

     8 about people looking at it?

     9         A.      Am I worried about people looking at it?

    10         Q.      Why do you turn your Facebook account off at

    11 night?

    12         A.      I just do it.        I mean, I guess, I don't

    13 know.        Honestly, I turned it off today because I

    14 don't, how can I put it?

    15         Q.      Put it truthfully.

    16         A.      My kids is on my Facebook and I don't want

    17 my kids, them to be brought up in, yeah, so I, yeah,

    18 that's why I took it down today.

    19         Q.      And do you take it down every day so that

    20 your kids can't be monitored?

    21         A.      No, I've been taking it down the last few

    22 days because Facebook just been doing too much.                               And I

    23 already said I was going to deactivate it anyway.                               I

    24 just, Facebook is too much.

    25         Q.      And did you start taking your Facebook




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     1 account down during, after, or before you got served

     2 with the Grand Jury subpoena?

     3        A.   I took it down after and a little bit

     4 before.

     5        Q.   Why?

     6        A.   It was on and off.

     7        Q.   Why?

     8        A.   I don't know.

     9        Q.   Why now are you concerned about your kids'

    10 privacy on Facebook?

    11        A.   Because I know, well, I don't know, but I

    12 just don't want them, like, I don't know.

    13        Q.   Ms. Ross, you're under oath.                    You're in

    14 front of the Grand Jury.

    15        A.   Yeah.

    16        Q.   Why are you taking your Facebook account

    17 down now?     Did you ever take it down in the past ...

    18        A.   Yes.

    19        Q.   ... concerned for your kids' privacy?

    20        A.   No.     No.

    21        Q.   So why are you worried about people looking

    22 at your Facebook account?

    23        A.   Like I said, because I don't want nobody

    24 pressuring me about my kids and I just took it down

    25 just because, I don't know.                  I mean, there's nothing




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     1 on there, but I don't want nobody asking me about what

     2 I post.

     3        Q.   Well, I'm asking you about your Facebook

     4 account.    Are you concerned that I would be looking at

     5 it?

     6        A.   I mean you can but I don't want you to but

     7 you can.

     8        Q.   Why don't you want me to?

     9        A.   Because it's my Facebook.

    10        Q.   You don't want me to know your business?

    11        A.   I guess not.           I mean, it's no business, but

    12 I guess not.

    13        Q.   You don't want the FBI looking at your

    14 Facebook account?

    15        A.   No, not really.

    16        Q.   Why not?

    17        A.   I guess it's privacy.

    18        Q.   Are you worried about the Danville Police

    19 Department looking at your Facebook account?

    20        A.   Am I worried about them?

    21        Q.   Yeah.

    22        A.   No.     I don't think, no.

    23        Q.   You lived in North Hills Court for a period

    24 of time.

    25        A.   Yes.




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     1        Q.   Is that correct?

     2        A.   Yes.

     3        Q.   Do you have a nickname for North Hills

     4 Court?

     5        A.   The Hills.

     6        Q.   What else do you call it on Facebook?

     7        A.   The Hills.

     8        Q.   Do you and your friends on Facebook

     9 sometimes joke that it's called Shoot 'Em Up Hills?

    10        A.   Oh, no, not me, no.

    11        Q.   No?

    12        A.   No.

    13        Q.   You've never been in that conversation on

    14 Facebook?

    15        A.   Shoot 'Em Up Hills?

    16        Q.   Shoot 'Em Up Hills.

    17        A.   Not that I remember.

    18        Q.   So you don't remember participating in a

    19 Facebook conversation where people were calling it

    20 Shoot 'Em Up Hills?           I want to be exact, because

    21 you're under oath, so I want to ask the exact question

    22 so that we can make sure that we have your truthful

    23 answer.

    24        A.   And you're asking me do I remember.                        No, I

    25 don't remember.




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     1         Q.   Do you recall referring to yourself as a

     2 member of the North Hills gang?

     3        A.    North Hills, do I recall, no, I don't.

     4         Q.   Have you referred to yourself on Facebook as

     5 a member of the North Hills gang?

     6        A.    I don't know, I don't remember.

     7         Q.   So if I saw it on your Facebook, would it be

     8 true?

     9        A.    If you see my name, I guess.                 I don't, yeah.

    10         Q.   Are there other people using your Facebook

    11 account?

    12        A.    My best friend has it, but he don't, he

    13 ain't never really been in Facebook.

    14         Q.   Well, I asked you earlier at the very

    15 beginning, does anyone else use your Facebook account,

    16 and you said no.

    17        A.    Yeah, but he ...

    18         Q.   Are you changing your answer now?

    19        A.    He don't have nothing, he, I didn't think it

    20 was important because he don't.

    21         Q.   Who is your best friend that has access to

    22 your Facebook account?

    23        A.    Dakei Goods.

    24         Q.   Is that D-A-K-A-I?

    25        A.    No, D-A-K-E-I.




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     1        Q.   And his last name is Goods?

     2        A.   Yes.

     3        Q.   G-O-O-D-S?

     4        A.   Yeah, yeah, G-O-O-D-S, yes.

     5        Q.   And he has your Facebook login and password?

     6        A.   Not right now, but he did have it.

     7        Q.   When did he have it?

     8        A.   Back when he first left to go to the Army,

     9 like 2016, 2017.

    10        Q.   Twenty seventeen?

    11        A.   Yeah.

    12        Q.   When in 2017 did Dakei Goods have access to

    13 your Facebook account and was using it pretending to

    14 be Ashley Ross?

    15        A.   Pretending, I don't think he ever pretended

    16 to be me, no.       I don't think he ever pretended.

    17        Q.   Let me clarify the question then.                     When did

    18 Dakei Goods have access to your Facebook account?

    19        A.   I guess from maybe, I don't know if it was

    20 the time he left or the time that he got back, up

    21 until maybe like November 2017, October 2017.

    22        Q.   So from what date to what date?

    23        A.   I don't know dates.             I don't know.

    24        Q.   You don't know when Dakei Goods had access

    25 to your Facebook account?




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     1         A.   Hm-mmm (Indicating negatively).                      I just

     2 remember just giving him my password because he, I

     3 don't know what he was looking at.                     I just remember

     4 giving him my password.

     5         Q.   And when do you remember doing that?

     6         A.   I don't know, maybe May, May 2017.                        I don't

     7 know.

     8         Q.   Until when?

     9         A.   Like October, November 2017.

    10         Q.   And he could go onto your Facebook account

    11 and message on your behalf?                   Message using your

    12 account?

    13         A.   Yeah, but I don't think he ever has.                            Well,

    14 no, he never has I don't think.

    15         Q.   Did he have access to it before May of 2017?

    16         A.   No.

    17         Q.   And when you lived at North Hills Court, you

    18 gave us the address.            What floor of the building was

    19 it?

    20         A.   The third.

    21         Q.   Is that the top floor?

    22         A.   Yes.

    23         Q.   And did your living room window face the

    24 parking lot?

    25         A.   Yes.




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     1         Q.   Ms. Ross, I'm going to show you what's been

     2 marked as Grand Jury Exhibit AR2.                 I'm sorry, AR2.         Do

     3 you see this?

     4 (WHEREUPON, the Witness examined the document

     5 previously marked Grand Jury Exhibit-AR2 for

     6 Identification.)

     7        A.    Mm-hmm (Indicating affirmatively).

     8         Q.   Is that a yes?

     9        A.    Yes.

    10         Q.   What is this?

    11        A.    North Hills.

    12         Q.   Is this a map of North Hills Court?

    13        A.    Yes.

    14         Q.   Is it the same North Hills Court that you

    15 lived in for a period of time in 2016 to '17?

    16        A.    Yes.

    17         Q.   And do you see your apartment building on

    18 here?

    19        A.    Yes.

    20         Q.   What number?

    21        A.    One eleven, 111.

    22         Q.   Can you circle it?

    23 (WHEREUPON, the Witness complied with the request.)

    24         Q.   And you said your apartment looked out, or

    25 the living room of your apartment looked out on the




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     1 parking lot; is that right?

     2        A.   Yes.

     3        Q.   I'm showing you what's been marked as Grand

     4 Jury Exhibit AR3.       Do you see that?

     5 (WHEREUPON, the Witness examined the document

     6 previously marked Grand Jury Exhibit-AR3 for

     7 Identification.)

     8        A.   Yes.

     9        Q.   What is that?

    10        A.   My window.

    11        Q.   Is this a photograph from your living room

    12 out into the parking lot at North Hills Court?

    13        A.   Yes.

    14        Q.   I'm showing you what's been marked AR4.                       Do

    15 you see this?

    16 (WHEREUPON, the Witness examined the document

    17 previously marked Grand Jury Exhibit-AR4 for

    18 Identification.)

    19        A.   Yes.

    20        Q.   What is it?

    21        A.   The parking lot.

    22        Q.   Is this a view from your apartment out onto

    23 the parking lot at North Hills Court?

    24        A.   Yeah, yes.

    25        Q.   And when I'm showing you AR3, Grand Jury




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     1 Exhibit AR3 in front of you, do you see a building in

     2 that picture?

     3        A.   Yes.

     4        Q.    What building number is that?

     5        A.   Oh, I don't know.

     6        Q.    I'm showing you now what's been marked as

     7 Grand Jury Exhibit AR2.           You said this was a map of

     8 North Hills; correct?

     9        A.   Yes.

    10        Q.    So when you're looking out your apartment

    11 window, which building number are you looking at?

    12        A.   One twenty-four.

    13        Q.    So now I'm showing you government's Exhibit

    14 AR3, the picture from your living room out into the

    15 parking lot.       What building number do you see in that

    16 picture?

    17        A.   One twenty-four.

    18        Q.    And I'm showing you government's Exhibit

    19 AR4, which you said was the view from your living room

    20 window.     What building do you see in that picture?

    21        A.   One twenty-four.

    22        Q.    One twenty-four?          What building was Mouse

    23 killed in front of?

    24        A.   One twenty-four.

    25        Q.    And I'm showing you Grand Jury Exhibit No.




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     1 AR5.    Do you see that?

     2 (WHEREUPON, the Witness examined the document

     3 previously marked Grand Jury Exhibit-AR5 for

     4 Identification.)

     5        A.   Yes.

     6        Q.   Is that a view from your apartment?                        Out

     7 into the side cut?

     8        A.   The side?

     9        Q.   The side of your apartment?

    10        A.   Oh, uh-uh (Indicating negatively).

    11        Q.   Could you look out the back of your

    12 apartment and see other buildings?

    13        A.   Yes.

    14        Q.   Let me ask you this.                Does this look

    15 familiar to you?

    16        A.   No.

    17        Q.   Because you're looking confused.

    18        A.   Mm-mmm (Indicating negatively).

    19        Q.   You don't know what this is?

    20        A.   No.

    21        Q.   Earlier we were talking that at some point

    22 in June Bubba started staying with you.

    23        A.   Yes.

    24        Q.   He started hanging out there and at some

    25 point after a couple of weeks he started staying




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     1 there; correct?

     2        A.   Yes.

     3        Q.   Where in the apartment would he stay?

     4        A.   For days that Tanasia wasn't there, he would

     5 stay in her room.       And if not, he would sleep on the

     6 couch.

     7        Q.   And you said that there was a time when

     8 Tanasia Coleman would stay with you; is that right?

     9        A.   Yes.

    10        Q.   Who is Tanasia Coleman?

    11        A.   I call her my sister.

    12        Q.   And your sister?

    13        A.   Mm-hmm (Indicating affirmatively).

    14        Q.   Does she have a, is that a yes?

    15        A.   Yes.

    16        Q.   Does she have a nickname?

    17        A.   Nasia.

    18        Q.   And based on everything, do you know is

    19 Nasia part of a Bloods gang?

    20        A.   I never questioned her about nothing, but I

    21 don't know to say yes or no.

    22        Q.   What do you mean you don't know whether to

    23 say yes or no?

    24        A.   Because I don't know.

    25        Q.   So based on everything you know, you don't




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     1 know whether she's a Blood or not?

     2         A.   She just hangs with them.                   Well, started

     3 hanging with them.

     4         Q.   And who's the them she would hang with?

     5         A.   Well, she was going with Tae.                   Yeah, she was

     6 going with Tae.      But, yeah, Tae, Truck, Shon Don,

     7 yeah.

     8         Q.   So she would hang out with that group of

     9 guys we were talking about?

    10         A.   Yes.

    11         Q.   And that's that group of guys we were

    12 talking about, they were Bloods?

    13         A.   Yeah.

    14         Q.   And just a, I think you told me earlier and

    15 I apologize for not remembering.                 When did Tanasia

    16 Coleman start living with you?

    17         A.   About June.

    18         Q.   Of what year.

    19         A.   Twenty sixteen.

    20         Q.   Do you recall a shooting that occurred in

    21 North Hills Court in June of 2016?

    22         A.   Yes.

    23         Q.   Was she living with you at that time?

    24         A.   Yes.

    25         Q.   Before that shooting, how long had she been




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     1 living with you?

     2        A.    Maybe two weeks.          Probably two weeks, a

     3 week, between one and two weeks.

     4        Q.    And did she have a bedroom at your

     5 apartment?

     6        A.    Yes.

     7        Q.    And the other person who lived with you was

     8 your daughter, Harmony?

     9        A.    Yes.

    10        Q.    Anyone else?

    11        A.    Before Bub, I mean, yeah, before him, no.

    12        Q.    And before Tanasia there was someone else?

    13        A.    Shanida.

    14        Q.    Thank you.      How long have you known Nasia?

    15        A.    We was hanging together a couple of years in

    16 high school, but we didn't start hang hanging together

    17 until maybe like 2015, yeah, about 2015.

    18        Q.    And when did you start calling her sister?

    19        A.    Well, back in high school we used to call

    20 each other sis, but we weren't as close.

    21        Q.    And did you guys grow closer after you

    22 graduated in 2014?

    23        A.    Yes.

    24        Q.    And do you love her?

    25        A.    Yes.




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     1        Q.   I'm showing what's been marked as Grand Jury

     2 Exhibit AR6.       Do you see this?

     3 (WHEREUPON, the Witness examined the document

     4 previously marked Grand Jury Exhibit-AR6 for

     5 Identification.)

     6        A.   Mm-hmm (Indicating affirmatively).

     7        Q.   Do you see the piece, is that a yes?

     8        A.   Yes.

     9        Q.   And you see at the top where it says thread

    10 and it gives a long number?

    11        A.   Yes.

    12        Q.   And if you start at the bottom here, you see

    13 the author is Tanasia Coleman?

    14        A.   Yes.

    15        Q.   Is that the same Tanasia Coleman we've been

    16 discussing?

    17        A.   Yes.

    18        Q.   And do you see if you go up the string it

    19 says author Ashley Ross?

    20        A.   Yes.

    21        Q.   Is that you?

    22        A.   Yes.

    23        Q.   Is this part of a Facebook messenger

    24 conversation between you and Tanasia Coleman?

    25        A.   Yes, I, yeah.




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     1        Q.     Does it look like part of a Facebook

     2 Messenger conversation you've had with Tanasia?

     3        A.     I don't remember, but, yeah, yeah.

     4        Q.     Was there any reason to believe, if you

     5 can't remember, is there any reason to believe this is

     6 not you talking on this text conversation?

     7        A.     Is there any reason to believe not?

     8        Q.     That's right.           Was someone else using your

     9 Facebook account during this?

    10        A.     Oh, no, no.

    11        Q.     So when you say I love you, too, that's not

    12 Dakei Goods using your account, is it?

    13        A.     No.

    14        Q.     Now when you, and let's restrict it to the

    15 summer of 2016, when you were living at North Hills

    16 Court, did you know anyone else who was living there

    17 in other apartments?

    18        A.     I knew Ashanna.

    19        Q.     Who is Ashanna?

    20        A.     She do makeup and stuff.

    21        Q.     Do you remember her last name?

    22        A.     Ah, shoot.         Shoot.        I don't remember.              Is it

    23 Smith?      I don't remember.

    24        Q.     And which apartment or building did she live

    25 in?




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     1        A.   I don't know the number, but it wasn't my

     2 actual building.         But maybe the next building over.

     3 Yeah, the next building over.

     4        Q.   Would looking at that map of North Hills

     5 Court refresh your memory?

     6        A.   It was 109.

     7        Q.   I'm sorry?

     8        A.   One oh nine.

     9        Q.   So Ashanna lived in 109?

    10        A.   Yes.

    11        Q.   Do you remember which apartment letter?

    12        A.   No.

    13        Q.   Do you remember which floor?

    14        A.   I think she was the third floor, too, the

    15 last floor, the top.           Yeah.

    16        Q.   And who were the names of the other people

    17 living with her?

    18        A.   As far as I know, she was living by herself.

    19        Q.   You never heard of anyone staying with her?

    20        A.   No.     Because when she, I don't know.

    21 Because when she first moved up there, I wasn't

    22 talking to her.        But I remember her saying she did get

    23 the apartment with somebody, but I think they left her

    24 with the apartment.           But I just don't remember who.

    25        Q.   And did you ever go over to Ashanna's




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     1 apartment?

     2         A.   Not like that.            Like back when me and my

     3 best friend first moved over there, but, no, not like

     4 that.

     5         Q.   And who else stayed at Ashanna's apartment?

     6         A.   Her.     She had a boyfriend at the time.

     7         Q.   Who was that?

     8         A.   His name was Taiquan.

     9         Q.   Taiquan?

    10         A.   Yeah.

    11         Q.   Do you remember Taiquan's last name?

    12         A.   No, but it was Taiquan.

    13         Q.   So Taiquan, and I assume you mentioned that

    14 because he would stay over there sometimes?                          If they

    15 were dating.

    16         A.   They was together.

    17         Q.   Who else would stay over with them?

    18         A.   I don't really know.                I don't know.

    19         Q.   You don't know?

    20         A.   No.     Who would stay with her, no.

    21         Q.   Who would hang out there?

    22         A.   I know Tredarius was over there one time.

    23 That's, I don't know, I don't know.

    24         Q.   If I say the name Doc to you, does that ring

    25 a bell?




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     1        A.   Yeah, I know Doc.

     2        Q.    Who's Doc?

     3        A.   Doc.     We went to school together.

     4        Q.    Is he a guy?

     5        A.   Yes, yeah.

     6        Q.    You ever see him hang out in North Hills

     7 Court?

     8        A.   Yeah.

     9        Q.    Yeah?    Where did he stay, where did he hang

    10 out at North Hills Court?

    11        A.   He used to be there, but I don't know if he

    12 used to stay there.         But he used to be there.

    13        Q.    When you say be there, where are we talking

    14 right now?

    15        A.   Doc.     About Doc.

    16        Q.    When Doc would hang out there, is there any

    17 ...

    18        A.   Oh, at Ashanna's house.

    19        Q.    Let me ask the question again and make sure

    20 we get it right.       When Doc was at North Hills Court,

    21 where would he hang out?

    22        A.   At Ashanna's house.

    23        Q.    Okay, so I'm sorry, I interrupted you

    24 earlier.     You said you knew an Ashanna who lived at

    25 North Hills Court.        Did you know anyone else living at




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     1 North Hills Court or staying at North Hills Court?

     2        A.   I knew Tenikqua, Taniqua, and Shanicqua.

     3        Q.   Tenikqua, Taniqua, okay.                  Let's start with

     4 the first one.       Who's the first one you mentioned?

     5        A.   Tenikqua.

     6        Q.   And how do you spell her name?

     7        A.   T-E-N-I-K-Q-U-A.

     8        Q.   And what's her last name?

     9        A.   Fuller.

    10        Q.   Same Tenikqua Fuller we've been talking

    11 about today?

    12        A.   Yes.

    13        Q.   And which building did she live in?

    14        A.   One fifteen.           Yeah, 115.

    15        Q.   Do you remember the letter?

    16        A.   No.

    17        Q.   Do you remember what floor?

    18        A.   Bottom.

    19        Q.   And did that apartment also like yours face

    20 out on the parking lot?

    21        A.   Yes.

    22        Q.   And who was staying with her?

    23        A.   Well, Tae wasn't, Taniqua.                     I think she had

    24 moved out, I want to say she had moved out.

    25        Q.   Well, let me ask you this.                     Was there a




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     1 period of time when somebody named Taniqua Guy was

     2 staying with Tenikqua Fuller?

     3        A.    Yeah, that's who I'm talking about, yes.

     4        Q.    And do you remember when Taniqua Guy moved

     5 away from North Hills Court?

     6        A.    She moved maybe the end of June.

     7        Q.    Twenty sixteen?

     8        A.    Yes.

     9        Q.    And after Taniqua Guy moved away from North

    10 Hills Court, did she come back and hang out, though,

    11 sometimes.

    12        A.    Not often.      Not often.

    13        Q.    And you said Shanicqua.

    14        A.    Yes.

    15        Q.    Did Shanicqua, is this Shanicqua Coleman?

    16        A.    Yes.

    17        Q.    And did Shanicqua Coleman also stay or live

    18 with Tenikqua Fuller and Taniqua, or Tenikqua Fuller,

    19 period?

    20        A.    Yes.

    21        Q.    Can I ask that question all over again

    22 because I messed it up?

    23        A.    Okay.

    24        Q.    Was there a time when Shanicqua Coleman

    25 lived with Tenikqua Fuller at North Hills Court?




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     1        A.   Yes.

     2        Q.   What time was that, what period of time?                      Do

     3 you remember?

     4        A.   I don't remember when she moved in, but, I

     5 don't know, she, I don't know.                Probably, I don't

     6 know, she probably was there when they first moved in.

     7 And I think they first moved in, in like May 2016.

     8 But she, I think she was there when Tae moved out.

     9        Q.   And when did they move out, Tenikqua Fuller

    10 move out?

    11        A.   I don't know exactly when, but not too far

    12 after I did maybe.

    13        Q.   And Shanicqua Coleman had a child at that

    14 time, right?

    15        A.   Yes.

    16        Q.   Aiden?

    17        A.   Yes.

    18        Q.   And was Aiden living with her and Tenikqua

    19 Fuller and for a period of time Taniqua Guy at that

    20 apartment in Building 115?

    21        A.   Yes.

    22        Q.   Was there anyone else that was staying in,

    23 let's call it Tenikqua Fuller's apartment, in 115.                        Is

    24 there anyone else that was staying or living there

    25 while you lived at North Hills Court?




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     1        A.   Besides the baby and Shanicqua, I mean, her

     2 and Kevin, they was, I don't know what they was, but.

     3        Q.   Who's the her in your sentence?

     4        A.   Tenikqua.

     5        Q.   Fuller?

     6        A.   Yes.

     7        Q.   Is there a period of time when Kevin Trent

     8 and Tenikqua Fuller dated?

     9        A.   Yes.

    10        Q.   And do you remember that time period, from

    11 when to when?

    12        A.   Uh-uh (Indicating negatively).

    13        Q.   Is it fair to say that they were dating

    14 during the summer of 2016 when all of you all were

    15 living over at North Hills Court?

    16        A.   On and off you could say, yes.

    17        Q.   And would he come over and hang out at North

    18 Hills Court to stay with her or hang out with her?

    19        A.   Yes.

    20        Q.   And the her is Tenikqua Fuller?

    21        A.   Yes.

    22        Q.   And because he was dating Tenikqua Fuller,

    23 did he stay the night to your knowledge?

    24        A.   Yes.

    25        Q.   How often would he stay the night when they




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     1 were on?

     2        A.   I don't know how often.                 I don't know,

     3 because they, I mean, I don't know.

     4        Q.   Would it be multiple times a week?

     5        A.   I guess, yeah.

     6        Q.   Anyone else living or hanging out, living at

     7 North Hills Court during that summer of 2016 that

     8 we're talking about?

     9        A.   No.

    10        Q.   Do you know anyone named Jaquia Coleman?

    11        A.   Jaquia, yes.

    12        Q.   I'm sorry if I'm mispronouncing.

    13        A.   Yes.

    14        Q.   Do you know a Jacquia?

    15        A.   Yes.

    16        Q.   Who is Jacquia?

    17        A.   He my friend.           Yeah.

    18        Q.   Does he have a nickname that he goes by on

    19 Facebook?

    20        A.   Quia.

    21        Q.   Does he have another nickname?

    22        A.   Amir.

    23        Q.   Amir Coleman?

    24        A.   Yeah, but nobody calls him that.

    25        Q.   Is that the name of his Facebook account?




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      1       A.     Yeah.

      2         Q.   Was he living in North Hills Court during

      3 the summer of 2016?

      4       A.     Yes.

      5         Q.   Which building?

      6       A.     One oh five?        No.      Hold on.       Yeah, 105.

      7         Q.   And is there anyone else that was living at

      8 North Hills Court during that summer of 2016 that you

      9 can remember?

     10       A.     No.

     11         Q.   Now during the summer of 2016 and the fall

     12 of 2017, '16, we're sticking to '16.

     13       A.     Okay, go back.

     14         Q.   Go back, scratch.            During the summer of 2016

     15 and into the fall of 2016, did you own a black Impala?

     16       A.     Yes, it was in my name, yes.

     17         Q.   It was in your name?

     18       A.     Yes.

     19         Q.   But who used it?

     20       A.     Phillip.

     21         Q.   Did you, was it your car other than in name

     22 only?

     23       A.     No.

     24         Q.   I mean, did you put gas in it, did you pay

     25 for it ...




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      1       A.    No.

      2       Q.     ... did you change its oil?

      3       A.    No.

      4       Q.     That was all his responsibility?

      5       A.    Yes.

      6       Q.     And did you ever see Phillip driving that

      7 car around?

      8       A.    Yes.

      9       Q.     Who else would drive that car around, that

     10 black Impala?

     11       A.    I don't, him I know.              I don't know who he

     12 used to let drive it, but him and maybe Tyson

     13 sometimes.     I don't know.          I guess whoever got a

     14 license.

     15       Q.     And why was the car registered in your name

     16 and not Phillip's name?

     17       A.    I don't know.         That's a good question.                I

     18 don't know.       I'm trying to think did he have a license

     19 at the time.       Yeah, he had a license.               I don't know

     20 honestly.     It was just in my name.

     21       Q.     Do you recall any conversation about why the

     22 car would be in your name and not in his name?

     23       A.    I'm sorry?

     24       Q.     Do you ever, did you and Phillip ever have a

     25 conversation about why the car was registered in your




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      1 name and not his name?

      2       A.     No.

      3       Q.     Is it so the police couldn't take it if he

      4 was arrested?

      5       A.     No, because I used to tell him to take it.

      6              MS. CARLTON:        Okay, five minute break.

      7 (WHEREUPON, a brief recess was taken from 3:13 p.m. to

      8 3:21 p.m.)

      9              MS. CARLTON:        Okay, Ms. Ross, we're back on

     10 the record.

     11 CONTINUATION OF DIRECT EXAMINATION

     12 BY MS. CARLTON:

     13       Q.     Did we just have a five to seven minute

     14 break?

     15       A.     Yes.

     16       Q.     And during the break did I talk to you?

     17       A.     No.

     18       Q.     I offered you water?

     19       A.     You didn't talk.

     20       Q.     I made a gesture of water, right?

     21       A.     Yeah.

     22       Q.     Did any other prosecutor talk to you?

     23       A.     No.

     24       Q.     Did you speak to an FBI agent in a

     25 conference room?




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      1       A.     Yes.

      2         Q.   Did you guys talk about the case?

      3       A.     No.

      4         Q.   Did he threaten you?

      5       A.     No.

      6         Q.   Did he tell you what to say in here?

      7       A.     No.

      8         Q.   Did he ask you what you had been saying in

      9 here?

     10       A.     No.

     11         Q.   Anything you want to report to the Grand

     12 Jury about what the FBI agent did during the break?

     13       A.     No, he nice.        Oh, wait, can I say something?

     14         Q.   Of course you can.

     15       A.     When you asked me who I told that I was

     16 here, I told my job.

     17         Q.   Thank you for remembering to be precise.

     18       A.     Okay.

     19         Q.   And you had no trouble getting let out by

     20 your job to come here today?

     21       A.     No, I told her as soon as I received the

     22 paper.

     23         Q.   And they didn't give you any hassle about

     24 coming down, coming here?

     25       A.     No, not really, no.




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      1       Q.    Will you let me know if they give you

      2 hassle?

      3       A.    Yes.

      4       Q.    Now when we broke, we were talking about all

      5 the different people who were sort of living at North

      6 Hills during the summer of 2016.                 Does that sound

      7 about right?

      8       A.    Yes.

      9       Q.    Now in June of 2016, do you remember a big

     10 shootout that occurred in North Hills?

     11       A.    In June?

     12       Q.    Yes, ma'am.

     13       A.    Yes.

     14       Q.    And specifically I'm going to refer to an

     15 incident where Nasia's pinky finger got shot.

     16       A.    Yes.

     17       Q.    Do you recall that incident?

     18       A.    Yes.

     19       Q.    Were you in North Hills Court at that time?

     20       A.    Yes.

     21       Q.    Where were you?

     22       A.    In the house.

     23       Q.    In your apartment?

     24       A.    Yes.

     25       Q.    And who was with you in your apartment?




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      1        A.   It was me, Tanasia, and Tredarius.

      2        Q.   Any children?

      3        A.   Oh, Harmony, yes.

      4        Q.   Anyone else?

      5        A.   No.

      6        Q.   Okay, what happened?              Were you guys hanging

      7 out?

      8        A.   No, we just got home.

      9        Q.   From?

     10        A.   Frank's, some Thai place.                   We ordered some

     11 pizza and stuff.       And we got home, everybody got

     12 situated, she went outside, and there was just

     13 shooting.

     14        Q.   Who went outside?

     15        A.   Tanasia.

     16        Q.   Was she texting or calling with anyone

     17 before she went outside?

     18        A.   No.     No, not that I, no.

     19        Q.   And while you guys were hanging out having

     20 pizza, was Tredarius hanging, texting or calling

     21 anyone?

     22        A.   No, we didn't even get a chance to eat,

     23 honestly.    No.

     24        Q.   And according to your testimony under oath,

     25 Nasia just randomly walked outside?




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      1       A.    She said she was going to the car to get

      2 something.

      3       Q.     And she went outside.

      4       A.    Yes, she went outside and I just heard

      5 gunshots and I heard her screaming.                     And at first I

      6 didn't, at first I didn't know where she was hit

      7 because, I don't know, at first I didn't see her.

      8 Then eventually I saw her and some man, I don't know

      9 who he was, he had got to her before I did.

     10       Q.     Did you hear of anything about the Philly

     11 boys before Nasia went outside?

     12       A.    The Philly boys?

     13       Q.     Right, did you hear any discussion about the

     14 Philly boys before Nasia went outside?

     15       A.    It, I don't know.             It was something about

     16 them, I don't know.

     17       Q.     Okay, what was that something about them

     18 that you heard before Nasia went outside?

     19       A.    All I know is her, I don't know what the

     20 situation was, what her and them.                  I don't know if

     21 they was, I don't understand.               I just know it was

     22 something with them and Nasia.

     23       Q.     What do you remember?             Sitting here today

     24 under oath, what do you remember?

     25       A.    Well, she used to talk to one of them and I




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      1 don't know if it was a situation about them trying to

      2 say she stole something or I don't know what the

      3 situation was.      But, yeah.

      4       Q.     And was there a conversation about that

      5 before Nasia went outside to the car?

      6       A.    Yeah.    Yeah.

      7       Q.     And was that conversation with you and Nasia

      8 and Bubba?     And Bubs, I'm sorry.               Or Tredarius.           You

      9 call him Tredarius, right?

     10       A.    Yes.

     11       Q.     Was that conversation about the Philly Boys

     12 and the theft, was that something that you, Nasia, and

     13 Tredarius were talking about before Nasia went

     14 outside?

     15       A.    We was asking her what was going on.

     16       Q.     And what was she saying?

     17       A.    She didn't know.              She didn't, she didn't

     18 know or she, basically she didn't know or she didn't

     19 do nothing to them or something like that.

     20       Q.     And when she went outside, how long was she

     21 outside before you heard, did you hear any gunshots?

     22       A.    Yes.

     23       Q.     How many?

     24       A.    I don't, a whole lot.

     25       Q.     And where were they coming from?




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      1       A.    Outside.

      2       Q.    Behind your apartment or in front of your

      3 apartment, to the side, from where outside?

      4       A.    In the front.         Yeah, in front.

      5       Q.    And how long was Nasia outside before you

      6 heard the gunshots?

      7       A.    I didn't time it, I don't know.

      8       Q.    A couple of minutes, a couple of hours?

      9       A.    I don't know.         I was, maybe minutes.

     10       Q.    And you don't remember how many minutes?

     11       A.    No.

     12       Q.    And where was Bubs at the time of the

     13 shooting?    I mean, Tredarius, where was Tredarius at

     14 the time of the shooting?

     15       A.    In the house.

     16       Q.    He was in the apartment with you?

     17       A.    Yes.

     18       Q.    He wasn't outside?

     19       A.    No.

     20       Q.    Did Tredarius do anything when the shooting

     21 began?

     22       A.    Did he do anything?             No.     I wasn't in the

     23 room with him.

     24       Q.    Where were you when the shooting started?

     25       A.    In my daughter Harmony's room.




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      1         Q.      And where was Tredarius at the time the

      2 shooting started?

      3         A.     He was in the living room.

      4         Q.      And then you heard the gunshots and what

      5 happened?

      6         A.     I heard the gunshots and I heard Nay.                        Well,

      7 I heard the gunshots and then there was just silence

      8 then.        I heard her screaming.            Yeah, I heard her

      9 scream.

     10         Q.      And what did you do when you heard Nasia

     11 screaming?

     12         A.     I ran to the door and I turned around.                        I, I

     13 don't know.          I was freaking out and I put my daughter

     14 in her bed.          And then I finally ran outside when I

     15 realized where she was.              But the man was already

     16 there.       I had ran to her.           Yeah, I had ran to her.

     17         Q.      And where was Nasia when you ran to her?

     18         A.     She was, I know she was in, she was in front

     19 of my building but not like actually in front of my

     20 building.       But like in front of my building in like a

     21 parking spot, parking space.

     22         Q.      Was she in a car or outside of a car?

     23         A.     Outside.

     24         Q.      Did she have a car at this time?

     25         A.     No.




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      1         Q.      So whose car was she supposedly going to?

      2         A.     Nobody's car.         She was just, she just was

      3 beside a car.

      4         Q.      I'm sorry, earlier you testified under oath

      5 that Nasia said she was going out to the car to get

      6 something.

      7         A.     Oh, yes, my car, yes.               Yes.      But she wasn't

      8 beside my car when ...

      9         Q.      When you ran outside?

     10         A.     Yeah.

     11         Q.      And when you ran outside and you saw Nasia,

     12 did you see anyone else?

     13         A.     The man that had, the man that had helped

     14 and Bub had eventually come outside.

     15         Q.      You didn't see anyone else outside that you

     16 recognized?

     17         A.     No, not that I remember, no.                   It was a lady,

     18 I want to say it was a lady, I don't know.                           I don't

     19 know.        But I know there was a man there.

     20         Q.      And did Tredarius have a gun that day?

     21         A.     Did he have one?              Yeah, yes.

     22         Q.      And when he ran outside, did he have the

     23 gun?     When he came outside after the shooting, did he

     24 have that gun?

     25         A.     Not that I seen, no.




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      1         Q.   Did he have that gun inside your apartment

      2 before the shooting?

      3         A.   No.

      4         Q.   Okay, so that day when you saw Tredarius

      5 with the gun, when was that?

      6         A.   Like early, like, because I was with him

      7 earlier that day, earlier that day.

      8         Q.   So earlier in the day, the day Nasia was

      9 shot, you saw Tredarius with a gun?

     10         A.   Yeah.

     11         Q.   What kind of gun?

     12         A.   I don't know.

     13         Q.   A pistol, hunting rifle, machine gun?

     14         A.   No.     No.   Hold on, what?

     15         Q.   What kind of gun was it generally?

     16         A.   Like a regular gun, handgun, a regular gun.

     17 Yeah.

     18         Q.   And were there other occasions when you'd

     19 seen Tredarius with a gun?

     20         A.   Every now and then, yeah.

     21         Q.   And on that day in particular, I'm sorry.

     22 Before Nasia walked outside to your car to get

     23 something, had she been making any phone calls?

     24         A.   I don't know, I don't remember.                   I don't

     25 know.




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      1       Q.     Did she have a cell phone at this time?

      2       A.    Yeah, yeah, I think so.

      3       Q.     And do you recall her making any, doing any

      4 text messaging?

      5       A.    No.

      6       Q.     Before she went outside?

      7       A.    Huh-uh (Indicating negatively), before she

      8 went outside I was in the room with my daughter.

      9       Q.     Let's back up a second.               So you, you said

     10 you were somewhere earlier in the day?

     11       A.    Yeah.

     12       Q.     And you came home.            Do you remember what

     13 time you came home?

     14       A.    No.     No.   I know it was nighttime.

     15       Q.     And when you came home, who was there?

     16       A.    Me, Tredarius, and Nasia.

     17       Q.     And Harmony, your daughter?

     18       A.    Yes, and Harmony.

     19       Q.     And you said something earlier about pizza.

     20       A.    Yeah, we went to Frank's and got, I know we

     21 got pizza.     I can't remember what else it was.

     22       Q.     And you brought that pizza and the food back

     23 to your apartment?

     24       A.    Yes.

     25       Q.     And were you guys eating?




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      1       A.    No, we never started eating.

      2       Q.     When you guys got back with the pizza, what

      3 did you do?

      4       A.    I started, what did I do?                   I know I was in

      5 Harmony's room getting her ready for bed.

      6       Q.     Which involves what?             What were you doing to

      7 get Harmony ready for bed?

      8       A.    By preparing her to get ready for a bath and

      9 stuff.

     10       Q.     And how long did it take for you to get

     11 Harmony ready for bed?           Or how long did it take back

     12 in 2016?

     13       A.    When she cooperate, not that long I don't

     14 think.     Maybe about ten minutes.

     15       Q.     And when she doesn't cooperate?

     16       A.    She, maybe a little longer than that.                         Maybe

     17 like twenty, fifteen, twenty.

     18       Q.     And on that evening, the evening Nasia got

     19 shot in North Hills Court, do you remember whether

     20 Harmony was cooperating or not cooperating in getting

     21 ready for bed?

     22       A.    She was being good that day.

     23       Q.     And when you were back in Harmony's bedroom

     24 getting her ready for bed, where was Tredarius?

     25       A.    In the living room.




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      1       Q.    And where was Nasia when you were getting

      2 Harmony ready for bed?

      3       A.    In the bed, like in her room, I believe.                     I

      4 don't remember if she was in my room or her room.

      5       Q.    But she wasn't with you?

      6       A.    Uh-uh (Indicating negatively).

      7       Q.    And Tredarius wasn't with you?

      8       A.    Hm-mmm (Indicating negatively).

      9       Q.    Is that a no?

     10       A.    No.

     11       Q.    And at some point, Nasia went outside?

     12       A.    Yes.

     13       Q.    How long had you guys been home before Nasia

     14 went outside?

     15       A.    I don't know.         I don't know.           Maybe like, I

     16 don't know, maybe like twenty minutes.

     17       Q.    And how do you know Nasia was going out to

     18 your car to get something?

     19       A.    She said she was.

     20       Q.    And then she left?

     21       A.    Yeah.

     22       Q.    At no point did Tredarius leave?

     23       A.    No.

     24       Q.    Now after the shooting occurred, Nasia got

     25 medical help, right?




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      1       A.    Yes.

      2       Q.    Did you ever talk about that shooting with

      3 Nasia and what happened when she was outside?

      4       A.    Yeah.

      5       Q.    I mean, you love her, right?

      6       A.    Yeah.

      7       Q.    She's like a sister to you, right?

      8       A.    Mm-hmm (Indicating affirmatively).

      9       Q.    Is that a yes?

     10       A.    Yes.

     11       Q.    And what, and you asked her about, when your

     12 sister whom you love got shot, right?

     13       A.    Yes.

     14       Q.    And what did she say?

     15       A.    She was just like, we were in the hospital,

     16 I know.    She was just like, she went to the car to get

     17 some bags, she turned around, and she got shot.

     18       Q.    By who?

     19       A.    At the time, she, no, she never told me who.

     20 She was just like she got shot.

     21       Q.    Did you ask her who?

     22       A.    No.

     23       Q.    Did she indicate how many people were

     24 outside when she got shot?

     25       A.    No.




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      1       Q.    Did she indicate how many shooters there

      2 were when she got shot?

      3       A.    No.

      4       Q.    So what do you know of what happened

      5 outside?    What happened when Nasia was outside?

      6       A.    She got shot.

      7       Q.    That's all you know?              The sister who you

      8 love, all you know is she got shot?

      9       A.    She got shot.         I don't know.           She didn't

     10 really tell me much.         I just know she got shot and

     11 they had, I guess it had something to do with her

     12 stealing or whatever.          I don't know the situation with

     13 the Philly Boys.

     14       Q.    And that's all you know about that?                      There

     15 was some kind of situation with the Philly Boys and

     16 she got shot, nothing else?

     17       A.    The situation with them and her, yeah.

     18       Q.    And did you ever talk to your brother,

     19 Tredarius, who was living with you at the time?

     20       A.    About that?

     21       Q.    About the shooting when Nasia got shot.

     22       A.    No.

     23       Q.    I'm sorry, I'm not trying to be critical,

     24 Ms. Ross.    But someone you say you love ...

     25       A.    Right.




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      1         Q.   ... who you call sister, and someone who you

      2 call brother who was living with you, this incident

      3 happens.     Your sister gets shot and you don't, you

      4 don't know what happened?

      5         A.   I mean, I only know what she tells me.

      6         Q.   And what did she tell you happened outside

      7 that day?

      8         A.   She went outside to the car and, I mean, I

      9 don't even remember.         It was people out there and

     10 they, just shooting.

     11         Q.   What people were out there?

     12         A.   I don't know.        She was just like it was

     13 boys.

     14         Q.   Did Tredarius ever tell you what happened

     15 that day?

     16         A.   No, he was just like, he told her not to go

     17 outside.

     18         Q.   Did you ever talk about that incident with

     19 anyone other than Nasia or Tredarius?

     20         A.   I don't know.

     21         Q.   Did you ever talk about that incident with

     22 Phillip?

     23         A.   We got to arguing, I believe, about it.

     24         Q.   And what were you guys arguing about?

     25         A.   Nasia going outside.




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      1       Q.     Why were you arguing about Nasia going

      2 outside?     Where's the argument there?

      3       A.    I don't know, he just, I guess he was mad

      4 because she got shot with a, and he was like why,

      5 something about why you all let her go outside.                          And I

      6 was like, what's you all, because I didn't have

      7 nothing, not I didn't have nothing to do with it, but

      8 she grown.

      9       Q.     And why was he upset that Nasia had gone

     10 outside?

     11       A.    That's his cousin.             I think they cousins.

     12       Q.     Ms. Ross, was Phillip Miles outside

     13 shooting?

     14       A.    I don't know.

     15       Q.     Was Shoota outside shooting?

     16       A.    I don't know.

     17       Q.     Was Truck outside shooting?

     18       A.    I don't know.

     19       Q.     Was Spazz outside shooting?

     20       A.    I don't know.         Who?

     21       Q.     Was Shon Don outside shooting?

     22       A.    I don't know, I don't know.

     23       Q.     Was Gates outside shooting?

     24       A.    No.

     25       Q.     Was L.A. outside shooting?




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      1       A.    I don't know.         I don't know.

      2       Q.    What have you heard happened that day?

      3       A.    She, she just, I don't know, something

      4 happened while she was over there with some boys and I

      5 guess they, she just went over there with some boys.

      6 Something came up missing or she stole something from

      7 them or whatever the situation was.                     She came off, she

      8 went outside and she got shot.

      9       Q.    I'm going to shift gears a second.                       I'm

     10 going to show you what's been marked as Grand Jury

     11 Exhibit AR7.       Do you see this?

     12 (WHEREUPON, the Witness examined the document

     13 previously marked Grand Jury Exhibit-AR7 for

     14 Identification.)

     15       A.    Okay.

     16       Q.    Is that a yes?

     17       A.    Oh, yes.

     18       Q.    Do you see right here where it says thread

     19 towards the top and it's got a bunch of numbers?

     20       A.    Yes.

     21       Q.    And do you see where your name is

     22 highlighted here under that?

     23       A.    Yes.

     24       Q.    Do you see where there are a bunch of

     25 Facebook names and Facebook numbers?




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      1       A.    Mm-hmm (Indicating affirmatively).                      Yes.

      2       Q.    And do you see at the bottom of this page

      3 where it starts talking, it has parts of a

      4 conversation from Facebook?

      5       A.    Yes.

      6       Q.    And do you see that you're in this Facebook

      7 message group?      I mean, this is your account, right?

      8       A.    Yes.

      9       Q.    You're in this Facebook message group with

     10 Kedarius West?

     11       A.    Yes.

     12       Q.    And make it happen?

     13       A.    Yes.

     14       Q.    And Tenikqua Fuller?

     15       A.    Yes.

     16       Q.    And Dae Dae Trent?

     17       A.    Yes.

     18       Q.    And Hatch Trent?

     19       A.    Yes.

     20       Q.    And there are others here?

     21       A.    Yes.

     22       Q.    In fact, we've talked about some of these

     23 people, right, like Spazzo?

     24       A.    Yes.

     25       Q.    And do you see here at the bottom where it




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      1 says your name highlighted?

      2       A.     Yes.

      3         Q.   And it says, "Bitch we in Hills gang don't

      4 forget."

      5       A.     Yes.

      6         Q.   Does that refresh your recollection as

      7 referring to yourself as a member of a North Hills

      8 gang?

      9       A.     Yeah.

     10         Q.   And why do you spell bitch with an X instead

     11 of a C?

     12       A.     I don't know.

     13         Q.   You don't know?

     14       A.     No.     That's just, I don't know.                I type, I

     15 don't know.

     16         Q.   And do you see right here where Hatch Trent

     17 says the Shoot 'Em Up Hills?

     18       A.     Yes.

     19         Q.   Does that refresh your recollection as to

     20 you and a group of others referring to North Hills as

     21 Shoot 'Em Up Hills?

     22       A.     Yes, he was being funny.

     23         Q.   And why did you guys call North Hills Court

     24 Shoot 'Em Up Hills?

     25       A.     Because they was shooting a lot of there.




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      1         Q.   Who's they?

      2         A.   There was a lot of shooting over there.

      3         Q.   During when?

      4         A.   From the time, yeah, from the time Nasia got

      5 shot.

      6         Q.   Until when?

      7         A.   Until, shoot, I don't know, because after I

      8 left there was still shootings over there, so.                            I

      9 don't know until.

     10         Q.   Who was in the North Hills gang with you?

     11         A.   It weren't really a gang.                  It's just us,

     12 but, yeah.

     13         Q.   Who's the us?

     14         A.   I guess you could say me, Tenikqua, I mean,

     15 I don't know.        It's not a gang for real.

     16         Q.   Who's the us?

     17         A.   Me, Tenikqua, Taniqua.

     18         Q.   Fuller and Guy?

     19         A.   Yeah.

     20         Q.   Okay, who else?

     21         A.   Deshawn.

     22         Q.   Trent?

     23         A.   Yeah.

     24         Q.   Okay, who else?

     25         A.   Quan.




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      1       Q.    Jaquan Trent?

      2       A.    Yeah.

      3       Q.    Okay, who else?

      4       A.    I don't know.         I don't know.

      5       Q.    Well, it was your statement, right?                      North

      6 Hills gang, bitch we in the North Hills gang?

      7       A.    Yeah, but it, it's not no gang, it's just,

      8 that's all of us used to hang out over there.                        They

      9 used to have kick backs and stuff, so.

     10       Q.    Okay, and who are the people who used to

     11 hang out there and have kick backs and stuff?

     12       A.    Tae and Fuller.

     13       Q.    Who's Tae?

     14       A.    Taniqua Guy.

     15       Q.    And what's a kick back, for the Grand Jury?

     16       A.    It's just when, not a party, but like when

     17 people just get together, just have fun.

     18       Q.    And who's part of this North Hills gang,

     19 this kick back group that you reference in your own

     20 message?

     21       A.    I mean, it's not a gang.                It's just, we just

     22 used to live over there.            It's not a gang.

     23       Q.    Okay, but who's the us?                You said it was the

     24 North Hills, you said it was us.                 And I'm just asking

     25 you who's the us?        When you say, bitch, we North Hills




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      1 gang, who are you referring to?                Whether it's a real

      2 gang or not, who are you referring to?

      3       A.    Me, Tenikqua, Taniqua, Deshawn and, I don't

      4 know, and Quan.       It really weren't, I don't know.

      5       Q.    Anyone else?

      6       A.    No.     I don't, I don't know.               Because it's

      7 not a gang, so, no.

      8       Q.    Did this group include Shanicqua Coleman?

      9       A.    Yeah.

     10       Q.    Did this group include Gates?

     11       A.    No.     I mean, it's just us who used to be

     12 over there together, I guess.

     13       Q.    And you would hang out and socialize?

     14       A.    Yeah.

     15       Q.    Okay, do you remember the day that Mouse got

     16 killed at North Hills Court?

     17       A.    Some of it, yes.

     18       Q.    Only some of it?

     19       A.    Yes.

     20       Q.    What day, what was the date?

     21       A.    Oh, god, I don't remember the date.                      I just

     22 know August.

     23       Q.    Of 2016?

     24       A.    Yes.

     25       Q.    Where were you when you woke up that day, do




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      1 you remember?

      2         A.      When I woke up that day?

      3         Q.      Yes, the day Mouse was killed, where were

      4 you?

      5         A.      At home, 111.

      6         Q.      And who was there that morning?                   Well, first

      7 of all, when did you wake up, do you remember?

      8         A.      What time?

      9         Q.      What time did you wake up, do you remember?

     10         A.      What time?

     11         Q.      Yeah, about what time?

     12         A.      I don't know.        I don't know.

     13         Q.      Morning, afternoon?

     14         A.      It was probably going into the afternoon,

     15 because that's when I was sleeping, started sleeping

     16 late.        So it was probably like going into the

     17 afternoon.

     18         Q.      And when you were sleeping late, who was

     19 taking care of Harmony?

     20         A.      Tanasia, or sometimes she'd be in the bed

     21 with me.        Because she was spoiled, so she ain't really

     22 deal with it.

     23         Q.      I'm sorry?

     24         A.      I said she was very spoiled, so she didn't

     25 really deal with people.               So sometimes she'd be in




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      1 there with Nasia or she'd just stay in the bed with me

      2 and look at TV.

      3       Q.    And so on the day that Mouse was killed at

      4 North Hills Court, do you remember what time you woke

      5 up?

      6       A.    No.

      7       Q.    Was your practice about this time to wake up

      8 sort of in the afternoon?             Was it your habit to wake

      9 up in the afternoon?

     10       A.    Yes.

     11       Q.    And what was your habit, what was your

     12 general time that you would wake up?

     13       A.    It was on and off because I was pregnant

     14 with my second child then, so it was, sometimes it

     15 would be early, sometimes it would be late.

     16       Q.    And you were pregnant with Phillip Miles'

     17 child at this time, right?

     18       A.    Yes.

     19       Q.    And when you woke up that day at your

     20 apartment in North Hills Court, who was there?

     21       A.    Me, Tanasia, and Tredarius and Harmony.

     22       Q.    No one else?

     23       A.    No.

     24       Q.    And what did you do that day?                   So you woke

     25 up?




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      1         A.      I woke up, me and Harmony got dressed and we

      2 left.        We left.

      3         Q.      And where did you guys go?

      4         A.      We went to Megabounce and Pizza Hut.

      5 Megabounce and Pizza Hut.

      6         Q.      And what time did you go to Megabounce?

      7         A.      Ah, shoot, I don't know.                It was a birthday

      8 party.

      9         Q.      For whom?

     10         A.      For my little cousin.

     11         Q.      Which cousin?

     12         A.      Baby, he a baby.             Well, not baby.

     13         Q.      What's his name?

     14         A.      Jayden.

     15         Q.      What's Jayden's last name?

     16         A.      Ross.

     17         Q.      Who's his mama?

     18         A.      Ulissa Ross.

     19         Q.      And who is Ulissa Ross?

     20         A.      My aunt.

     21         Q.      So you went to Bounce, you don't remember

     22 the time.

     23         A.      Right.

     24         Q.      How did you get to Bounce, Megabounce?

     25         A.      My aunt picked me up, picked me and Harmony




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      1 up.

      2       Q.    And who was with you in the car when your,

      3 which aunt is this?

      4       A.    What you mean?

      5       Q.    Which aunt picked you up?                   You said my aunt

      6 picked me up.      I'm asking you with aunt.

      7       A.    My aunt Ulissa.

      8       Q.    And was anyone with Ulissa Ross when she

      9 picked you up?

     10       A.    No, well, I don't know.                I can't remember if

     11 her, yeah, my cousins was with me.                  My cousins, my

     12 little cousins and my big cousin.                  I want to stay her

     13 stepkids, no, her stepkids wasn't with us.                        No, they

     14 wasn't with us.

     15       Q.    So can't remember what time Ulissa Ross

     16 picked you up.      Did she pick you up at North Hills

     17 Court?

     18       A.    Yes.

     19       Q.    And who was with her, by name?

     20       A.    It was Ulissa Ross, Latisha, Jayden Ross,

     21 Jordan Ross, them were the people that came with her.

     22       Q.    And you said it was big cousins, little

     23 cousins, so you know all your cousins' names, right?

     24       A.    Yes.

     25       Q.    Okay, who else was in that car with Ulissa




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      1 Ross when she picked you up at North Hills Court?

      2       A.    That was it.

      3       Q.     That was it?

      4       A.    Yes.

      5       Q.     So it was Ulissa Ross, Latisha, Jayden, and

      6 Jordan?

      7       A.    Yes.

      8       Q.     And then you?

      9       A.    Yes, me and Harmony.

     10       Q.     And when she picked you up, what kind of car

     11 was she driving?

     12       A.    It's one of them big trucks.                  A Suburban

     13 maybe.     Like a newer model.

     14       Q.     And when she picked you up, did she have

     15 anything with her?

     16       A.    No, besides balloons and stuff, that's it.

     17       Q.     And you went from your apartment to where?

     18       A.    I think we went straight to Megabounce,

     19 yeah, straight to Megabounce.

     20       Q.     And when you left your apartment, who was in

     21 your apartment?

     22       A.    Tanasia and Tredarius.

     23       Q.     Anyone else?

     24       A.    No.

     25       Q.     And you went to Megabounce and how long were




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      1 you there?

      2        A.   It felt like all day.              It was about all day,

      3 because I didn't come back home until like 10:00,

      4 maybe a little after 10:00.               Because after we left

      5 Megabounce, we went to Pizza Hut and stayed at Pizza

      6 Hut until it closed.

      7        Q.    Which Pizza Hut?

      8        A.   Piney Forest, right across from Megabounce.

      9 Well, where Megabounce was at the time.

     10        Q.    And so you don't know how long you're at

     11 Megabounce?

     12        A.   No.

     13        Q.    Do you know what time you went to Pizza Hut?

     14        A.   Right after we left Megabounce.                    I don't

     15 know the time.

     16        Q.    And how did you get from Megabounce to Pizza

     17 Hut?

     18        A.   I rode with my aunt in her car.

     19        Q.    And who else was in the car.

     20        A.   The same people.

     21        Q.    The same people you listed earlier?

     22        A.   Yes.

     23        Q.    Who?

     24        A.   Me, my aunt, no, her stepkids, I think her

     25 stepkids had got in the car.               Well, one of them.




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      1 Yeah, one of them.           It was me, Latisha, because she a

      2 twin.        I think it was Latisha.              Me, Latisha, Jordan,

      3 Jayden, Harmony, and Kiki.                   That's her stepdaughter.

      4         Q.      And how long were you at Pizza Hut?

      5         A.     Until they closed.

      6         Q.      Until close?

      7         A.     Yes.

      8         Q.      Which was what time?

      9         A.     Shoot, I think they close at 10:00 maybe.

     10 Maybe.       I don't know.        I want to say, I know we was

     11 there until they closed.

     12         Q.      And then what did you do?

     13         A.     I went home.

     14         Q.      Back to your apartment in North Hills Court?

     15         A.     Yes.

     16         Q.      And how long did it take you to get from

     17 Pizza Hut to your apartment at North Hills Court?

     18         A.     I don't know.         Maybe fifteen minutes.                  About

     19 fifteen minutes.

     20         Q.      What time did you get home to North Hills

     21 Court that night?

     22         A.     I don't know.         I don't know.            I guess around

     23 that time, 10:15 or so.              I don't know.

     24         Q.      And when you got to your apartment, who was

     25 there?




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      1         A.      Bub, Nasia.

      2         Q.      Who else?

      3         A.      Phillip and Shon Don.

      4         Q.      Who else?

      5         A.      That's all.

      6         Q.      You've given other names on other occasions.

      7 Why are you giving only these four names now?

      8         A.      I'm trying to think.

      9         Q.      When you walked in, you saw Shon Don.                       Where

     10 was he?

     11         A.      To my right.

     12         Q.      What does that mean?             In the living room?

     13         A.      Yeah.   Well, no, no, no.              Not my living

     14 room.        It's like, I don't know, I can't describe.

     15 Like I wouldn't call it a dining area, but that's

     16 where my kitchen table and stuff was and then my

     17 living room in front of that.                  So by my kitchen table.

     18         Q.      What was Shon Don doing by your kitchen

     19 table?

     20         A.      Standing there.

     21         Q.      What was he doing, just standing there?

     22         A.      Yeah, standing there.             When I walked in,

     23 yeah, he was standing there.

     24         Q.      And after you walked in, what was he doing?

     25         A.      I went to the backwhen I walked in, so.




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      1        Q.   When you walked in you saw Shon Don?

      2        A.   Yes.

      3        Q.   Where was, you said Bubs was there?

      4        A.   Yes.

      5        Q.   Where was he?

      6        A.   He was just coming up the hallway.

      7        Q.   From where?

      8        A.   From walking towards the back.

      9        Q.   So he was coming from the back to the front?

     10        A.   Yes.

     11        Q.   And what was he doing?

     12        A.   He was just walking towards the, walking

     13 towards, well, walking down the hallway.                       Then he, I

     14 don't know, because I had came in with an attitude and

     15 he told me to fix my face.                I said, I forgot what I

     16 said to him.       Something smart.

     17        Q.   Why did you come in with an attitude?

     18        A.   Because before I came in, me and my aunt had

     19 an argument before I had came in.                   So I was already

     20 mad.

     21        Q.   And what were you and your aunt arguing

     22 about?

     23        A.   I had just told her I was four months

     24 pregnant.

     25        Q.   And she was arguing with you about that?




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      1       A.     Yes.

      2         Q.   Okay.     And so you came in with an attitude

      3 and Bub says fix your face?

      4       A.     Yes.

      5         Q.   And then did you respond?

      6       A.     I think I told him shut the F up.

      7         Q.   And who else was in your apartment?

      8       A.     Phillip.

      9         Q.   And what was Phillip doing?

     10       A.     Standing there.          Just standing there.

     11         Q.   And who else was in your apartment?

     12       A.     Shoota.

     13         Q.   Who else?

     14       A.     Kevin had came, but he left.

     15         Q.   What do you mean, Kevin had came but he

     16 left?

     17       A.     Like he came in.

     18         Q.   While you were there?

     19       A.     Yeah, and then he left.

     20         Q.   Is that the same Kevin Trent we've been

     21 talking about?

     22       A.     Yes.

     23         Q.   And when Kevin Trent came into your

     24 apartment while you were there, what did he do?

     25       A.     I went to the back.            He came in like right




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      1 behind, well, not right behind me, but, yeah, so I

      2 don't know.    I went to the back.

      3       Q.    And who else was in your apartment?

      4       A.    Quante, Laquante.

      5       Q.    I'm sorry?

      6       A.    Laquante.

      7       Q.    Laquanta?

      8       A.    Laquante.

      9       Q.    The same Laquante we were talking about

     10 earlier?

     11       A.    Yes.

     12       Q.    Spazzo?      Spazz?

     13       A.    Yeah.     Laquante.

     14       Q.    Do you know Laquante's last name?

     15       A.    Adams.

     16       Q.    And what was he doing when you came in?

     17       A.    Sitting down.

     18       Q.    Where?

     19       A.    On my couch.

     20       Q.    And who else was in there?

     21       A.    I believe that's it.

     22       Q.    And you didn't tell us, what was Nasia doing

     23 when you walked in?

     24       A.    She was in her room in the back.

     25       Q.    Now you remember being interviewed by the




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      1 Danville Police Department?

      2       A.     Yes.

      3       Q.     In fact, you've been interviewed by them now

      4 a couple of times, right?

      5       A.     Twice, yes.

      6       Q.     Twice in the fall of 2017?

      7       A.     Once.

      8       Q.     Once in October of 2017 and once in November

      9 of 2017?

     10       A.     Yes.

     11       Q.     Does that sound right?

     12       A.     Yes.

     13       Q.     And during that time, you provided other

     14 names.     Do you recall that?

     15       A.     Yes.

     16       Q.     So when you told the police other people

     17 were there, were you lying to the police or are you

     18 lying to the Grand Jury?

     19       A.     I, okay, I weren't lying to them, but,

     20 because they kept asking me was Deshawn there, and I

     21 told them no.        But then like they just kept asking me

     22 and I was like no.        Then I was just like yeah.                     But in

     23 the end I told them no because from my understanding

     24 he was at work.       That's what I told them.

     25       Q.     How did you know Deshawn was at work if he




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      1 wasn't in your apartment?

      2       A.     Because, how did I know he was at work?                      I

      3 believe he had, I don't know if he had posted about

      4 it.   I don't know.       He was always at work then.                    From

      5 my understanding he was at work.

      6         Q.   So you're saying you lied to the police when

      7 you ...

      8       A.     No.

      9         Q.   ... told them that Deshawn Trent was in your

     10 apartment that night?

     11       A.     No, I did not lie to them.                 I don't know.

     12         Q.   Well, you told them that Six was in your

     13 apartment, right?

     14       A.     Yes.

     15         Q.   Why did you tell the police that Six was in

     16 your apartment if that's a lie?

     17       A.     Because they kept, I don't know, they kept,

     18 I don't know.       I don't know.          Like I'd tell them one

     19 thing and then they'd try to make a lie out of it and

     20 I was just like, okay.           Whatever.

     21         Q.   What else about, what else that you told the

     22 police during that time that you were lying about, Ms.

     23 Ross?

     24       A.     Nothing.

     25         Q.   Nothing?     Everything else you told the




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      1 police was true?

      2       A.     Yes.

      3       Q.     So is it true then when you told the police

      4 that L.A. was in your apartment?                 Or was that also a

      5 lie, Ms. Ross?

      6       A.     No.    I don't, no.          No.

      7       Q.     Which one is it?

      8       A.     Did I see him myself in my apartment?                        No.

      9       Q.     I'm sorry, you told the police that L.A. was

     10 in your apartment that evening.

     11       A.     Yes.

     12       Q.     Truth or lie?

     13       A.     Truth.

     14       Q.     And you told the police that Shon Don was in

     15 your apartment.       Truth or lie?

     16       A.     Truth.

     17       Q.     And you told them that Phillip Miles was in

     18 your apartment and you said R.                  Truth?

     19       A.     Truth.

     20       Q.     And you told them that Bubba was in your

     21 apartment.     Truth?

     22       A.     Truth.

     23       Q.     And you told them that L.A. was there.

     24 Truth?

     25       A.     Truth.




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      1       Q.    And you told them that Gates was there.

      2 Truth?

      3       A.    Yes.

      4       Q.    And you told them that Shoota was there.                      Is

      5 that the truth?

      6       A.    Yes.

      7       Q.    And you told them that Truck was there.                      Is

      8 that the truth?

      9       A.    Yes.    I don't remember telling them for

     10 real, but I don't know.

     11       Q.    Okay, so now you can't remember the truth or

     12 the lies?

     13       A.    No, I just don't remember.

     14       Q.    Ms. Ross, let's step back before you get in

     15 trouble.    Let's step back a second.

     16       A.    Okay.

     17       Q.    You walk into your apartment the night Mouse

     18 was killed in North Hills Court.

     19       A.    Mm-hmm (Indicating affirmatively).

     20       Q.    Are we on the same page?

     21       A.    Yes.

     22       Q.    Who's in your apartment?

     23       A.    Me, well, me of course.                Me, Harmony, Shon

     24 Don, Phillip, Laquante, Tredarius, Tanasia, Kevin had

     25 came in behind me.        I mean, Six and L.A., if I said




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      1 it, then, yeah.

      2       Q.     I'm sorry?

      3       A.    Yeah, Six and L.A.

      4       Q.     Six was there?

      5       A.    Yes.

      6       Q.     And L.A. was there?

      7       A.    Yes.

      8       Q.     So you were just telling us L.A. wasn't

      9 there.     I mean, I'm sorry, that Six was not there.

     10 Let's just be precise.           Was Six there or not?               Under

     11 oath in the Grand Jury sitting here today, was Six

     12 there or not?

     13       A.    Yes, I told him that they was there.

     14       Q.     I'm asking you the truth of what happened

     15 that night, Ms. Ross.          I'm not asking, Ms. Ross, I

     16 just want to be clear.           I'm not asking you to remember

     17 what you told the Danville Police.

     18       A.    Right.

     19       Q.     I'm asking you as you sit here today under

     20 oath before this Grand Jury, who was in your apartment

     21 the night Mouse was killed?

     22       A.    Okay, no, Deshawn was not there.

     23       Q.     Deshawn was not there?

     24       A.    No.

     25       Q.     Who was there, then?             Sitting here today




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      1 under oath in front of this Grand Jury, who was in

      2 your apartment the night Mouse was killed?

      3       A.    Me, Harmony, Shon Don, Phillip, Laquante,

      4 Kevin came in and went back out, Tanasia, Tredarius.

      5 Shoot, I lost track.         I think.         And I didn't see

      6 Kanash for myself, but I was told that he was there.

      7       Q.    Who told you Kanash was there?

      8       A.    Nasia.

      9       Q.    Now earlier you told the Grand Jury that

     10 Shoota was there.

     11       A.    Oh, yes.

     12       Q.    Was Shoota there?

     13       A.    Yes.

     14       Q.    And earlier, okay, now sitting here today

     15 under oath, you're saying that Deshawn Trent was not

     16 in your apartment?

     17       A.    Not while I was there, no.

     18       Q.    Not while you were there?

     19       A.    Yes.

     20       Q.    So why do you say that, not while you were

     21 there?

     22       A.    Because from my understanding while I

     23 weren't there he was there earlier that day.

     24       Q.    And who told you that?               How'd you get that

     25 understanding?




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      1       A.    Tanasia.

      2       Q.    Now why did you tell Six that, I'm sorry,

      3 why did you tell the police that Deshawn Trent was in

      4 your apartment that night when you came home?

      5       A.    I don't know.         Because they, I don't know.

      6 I don't know about, I honestly don't know.                       I was

      7 just, I don't remember.

      8       Q.    And why did you tell the police that L.A.

      9 was in your apartment when you came home?

     10       A.    Because them was the main two.                    It was like,

     11 them was the main two they was, well, not the main

     12 two, but they was pressuring me to say that they was

     13 there and I was just like, okay, whatever, like, okay.

     14       Q.    And you're aware that those interviews are

     15 recorded?

     16       A.    Yes.    And it was recorded and it was the

     17 second time that I met with them, you will hear me try

     18 not to tell them again that, about them being there.

     19 You will hear that.

     20       Q.    Okay.    Now what about Truck?                Sitting here

     21 today under oath before the Grand Jury, was Truck

     22 there?

     23       A.    I did not see him myself, but I heard he was

     24 there.

     25       Q.    And who told you that Truck was there?




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      1       A.    Tanasia.

      2       Q.     What about Tae, was he there?

      3       A.    Who?

      4       Q.     Tae.   Tyson.

      5       A.    Oh, I don't know.

      6       Q.     And you've also told the police that you

      7 think Stevie Johnson might have been there.                       Was he

      8 there?     Sitting here today under oath before this

      9 Grand Jury, do you remember Stevie Johnson being

     10 there?

     11       A.    I don't remember seeing him myself.

     12       Q.     Do you remember hearing that he had been

     13 there?

     14       A.    Yes.

     15       Q.     Who told you that?

     16       A.    I'm trying to think.              I'm thinking about it.

     17 No, nobody told me that.

     18       Q.     Was Tenikqua Fuller in there?

     19       A.    In my house?         No.

     20       Q.     Was Taniqua Guy there?

     21       A.    No.

     22       Q.     Was Shanicqua Coleman there?

     23       A.    No.

     24       Q.     Was there any females other than Nasia

     25 Coleman?




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      1       A.    No, just me, her, and Harmony.

      2       Q.    Was Jaquia there?

      3       A.    No.

      4       Q.    Was MC there?

      5       A.    No.

      6       Q.    Was Bubba there?

      7       A.    Yes.

      8       Q.    Okay, I apologize.             You did say that

      9 Tredarius came.      I apologize.

     10       Q.    Anyone else?

     11       A.    No.

     12       Q.    Did anyone have guns?

     13       A.    When I walked in there was two on the table,

     14 but I never saw it in nobody's hand personally.

     15       Q.    Did you see any guns on people or in their

     16 hands?

     17       A.    No.

     18       Q.    But you saw the two guns on the table?

     19       A.    Yes.

     20       Q.    What table?

     21       A.    My kitchen table.             Well, not kitchen table,

     22 but, yeah, my, yeah.

     23       Q.    Pistols?      Were they pistols?

     24       A.    Yes.

     25       Q.    Handguns?




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      1       A.     Yes.

      2       Q.     Were they your guns?

      3       A.     No.

      4       Q.     Whose guns were they, do you know?

      5       A.     No.

      6       Q.     What was going on in your apartment when you

      7 came home?

      8       A.     When I came home, got to the back, I heard

      9 Shon ...

     10       Q.     What was everyone doing?               I'm sorry, I cut

     11 you off.     Go ahead.      Ms. Ross, I apologize.

     12       A.     Everybody was sitting there.                 Like I said, I

     13 didn't talk really say much to nobody.                    Because I was

     14 already mad or whatever.            Then I was wondering why

     15 everybody was in my house, but I went to the back,

     16 whatever, talked to Nasia, whatever.                    Then we started

     17 hearing, you know, I asked her what was going on.

     18 Because when I first came in, like, it was Shon Don

     19 arguing with somebody.

     20       Q.     With who?

     21       A.     So I, hmm?

     22       Q.     I'm sorry, who was Shon Don arguing with?

     23       A.     I want to say it was Peter Roll.

     24       Q.     Was Peter Roll there?

     25       A.     No.




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      1         Q.   And how was Shon Don arguing with Peter

      2 Roll?

      3       A.     On the phone.

      4         Q.   Was     Shon Don on a cell phone?

      5       A.     Yeah.

      6         Q.   Was he talking?

      7       A.     Yes.

      8         Q.   And that's why he was arguing?

      9       A.     Yes.

     10         Q.   And how did you know it was with Peter Roll?

     11       A.     Because I heard the name.                  Or did I ...

     12         Q.   Who said the name?

     13       A.     ... hear the name?            No, I didn't hear the

     14 name, I had asked, I got to the back and I had asked

     15 Tanasia what was going on and she was just like him

     16 and Peter Roll had got into something.

     17         Q.   And what else was happening?                  Shon Don's on

     18 the phone arguing.

     19       A.     Yeah, you hear ...

     20         Q.   Loud?

     21       A.     Yeah.

     22         Q.   Could you hear it?

     23       A.     Yeah, you could hear them arguing like.

     24 They not really, it's not really arguing for real,

     25 it's just like you could hear them saying pull up,




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      1 pull up.

      2         Q.     Who was saying pull up, pull up?

      3       A.       Shon Don.

      4         Q.     What else was Shon Don saying that you could

      5 hear?

      6       A.       That just mostly that.              Then they just, boys

      7 having, yeah, boys having words.                   Having words.           I

      8 don't actually know what their argument was about,

      9 though.

     10         Q.     And how can you tell it was boys having

     11 words?       What was Shon Don doing that made you think

     12 that boys were having words?

     13       A.       Cussing.

     14         Q.     Cussing?

     15       A.       Yeah.

     16         Q.     Was he loud?

     17       A.       Yeah.

     18         Q.     Was he yelling?

     19       A.       Yeah.

     20         Q.     What were the types of things that he was

     21 saying?

     22       A.       Like the B word and like I said, to pull up,

     23 all that, yeah.

     24         Q.     Was he being aggressive?               What was his

     25 attitude like?




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      1       A.     Yeah, aggressive, like, yeah.

      2         Q.   And when Shon Don was doing that, what were

      3 other people doing?

      4       A.     I really didn't hear nobody else.

      5         Q.   What were they doing, though?

      6       A.     Oh, I don't know.            I was in the back.             But,

      7 yeah, I started hearing them with a, then I was asking

      8 Nasia what was going on, whatever.                  She was just like

      9 something happened, she didn't know.                    And it led to an

     10 argument or whatever.          And then like, not even a few

     11 minutes, like two minutes or so like you could just

     12 hear gunshots.      You hear gunshots.

     13         Q.   From where?       Where are the gunshots coming

     14 from?

     15       A.     From the outside.

     16         Q.   Outside?

     17       A.     Yes.

     18         Q.   Some of them weren't coming from inside your

     19 apartment?

     20       A.     No.

     21         Q.   Ms. Ross, you're under oath.

     22       A.     Yes.

     23         Q.   No gunshots coming from inside your

     24 apartment?

     25       A.     I didn't see nothing personally but, I mean,




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      1 it was just gunshots.

      2       Q.    Okay.    Were they loud?

      3       A.    Yes.

      4       Q.    How many were there?

      5       A.    I don't know, but it was a lot.

      6       Q.    Did it sound like some of them were coming

      7 from inside your apartment?

      8       A.    When it started, I hurried up and closed my

      9 door, so.

     10       Q.    And did they sound like they were coming

     11 from inside your apartment?

     12       A.    They was close.           I mean, gunshots is, I

     13 don't know.    They were close.

     14       Q.    Is that a yes or no to my question?                      I don't

     15 think you've answered it yet.               Did it sound like the

     16 gunshots were coming from inside your apartment?

     17       A.    No, it didn't sound like it, no.

     18       Q.    And from where you were in the back of your

     19 apartment to the front living room window that we were

     20 looking at earlier, how far?

     21       A.    Oh, god, what you mean?

     22       Q.    What's the distance?

     23       A.    Like, I don't know.             A little longer than,

     24 well, probably not that big.               Maybe like a little

     25 longer than this room is the apartment, maybe.                           From




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      1 the living room to the bedroom.

      2       Q.    And when you ran, gunshots started and you

      3 ran to shut the door, what did you see?

      4       A.    I didn't run.         Like the door was right there

      5 and I just shut it.

      6       Q.    Did you look out?

      7       A.    No.

      8       Q.    And then what did you do?

      9       A.    I grabbed my daughter.               I grabbed my

     10 daughter and I started praying.                Then eventually they

     11 stopped.    Yeah, eventually they stopped and it was

     12 silence.    And you could just hear, I don't know who he

     13 was, you could just hear him yelling.                    You could just

     14 hear him yelling saying, wrong guy, wrong guy.

     15 Something like that.

     16       Q.    And where was Nasia while these gunshots

     17 were going on?

     18       A.    She was with me in the back.

     19       Q.    What was she doing?

     20       A.    Laying there with me and Harmony.

     21       Q.    And how long did the gunshots last?

     22       A.    I don't know, maybe, I don't know.                      A

     23 minute?    I don't know.

     24       Q.    And what did you do when the gunshots

     25 stopped?




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      1         A.      I sat there for, I sat there for a little

      2 minute, for a while.            Then I got up and I laid Harmony

      3 down.        No, I put Harmony in her room.                 I took her in

      4 her room and I closed the door.                   I got up and walked

      5 down the hallway.           And I went to the door.

      6         Q.      When you were walking down the hallway, what

      7 did you see?

      8         A.      Nobody but Bub.

      9         Q.      You didn't see anyone in your apartment?

     10         A.      But Tredarius.

     11         Q.      Tredarius was still in your apartment?

     12         A.      Yes.

     13         Q.      Who else?

     14         A.      Just Tredarius.

     15         Q.      And what was Tredarius doing when you saw

     16 him as you were walking down the hallway?

     17         A.      His eyes was just big, like.                 He, because

     18 when I was, when I had, when I had came out of,

     19 because we wasn't in my room, we was in Nasia's room.

     20 So when I came out of Nasia's room, I want to say he

     21 was coming out of Harmony's room.                     I believe he was

     22 coming out of Harmony's room.

     23         Q.      Okay, that's different from what you said

     24 before.        Again, something you've changed since talking

     25 to the police.




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      1         A.     He was coming down the hallway, I know that.

      2 He was coming down the hallway.

      3         Q.      Okay, sitting here today under oath before

      4 this Grand Jury, where was Tredarius when you were

      5 coming off the hallway?

      6         A.     He was coming down the hallway.

      7         Q.      Do you know where he was before that?

      8         A.     The living room maybe, yeah, the living room

      9 or the kitchen.         The kitchen, because the way the

     10 hallway is the kitchen right there, and the living

     11 room.        He was just coming down the hallway.

     12         Q.      And what was he doing?

     13         A.     Scratching his head.

     14         Q.      He was just scratching his head?

     15         A.     Yeah, he was scratching his head.                     He was

     16 like, what was he saying?                He was like he don't F with

     17 niggers or something like that.                   I don't know.

     18         Q.      What did he say exactly?

     19         A.     He don't F, he don't F with niggers or

     20 something like that.

     21         Q.      Okay, again, you're changing a little bit

     22 from what you said to the police.

     23         A.     That's what he said.              He said he don't F

     24 with niggers and, well, he said he, I don't remember.

     25 He said he didn't have, I know he didn't have nothing




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      1 to do with it, but that's what he was saying.

      2         Q.   How do you know that Tredarius Keene had

      3 nothing to do with it?

      4       A.     Because, I don't know.

      5         Q.   How did you know when you were in that back

      6 room?

      7       A.     I just don't think he had nothing to do with

      8 it, because he wasn't even really fooling with them

      9 like that.     That's why I didn't understand why people

     10 was at my house.

     11         Q.   Well, let's be clear.             Where were you at the

     12 time of the shooting?

     13       A.     In the back room to the right.

     14         Q.   And who was with you?

     15       A.     Me, Tanasia, and Harmony.

     16         Q.   And you had shut the door.                 Do I remember

     17 correctly?

     18       A.     Yes.

     19         Q.   Were you able to see what was going on in

     20 the rest of your apartment?

     21       A.     No.

     22         Q.   Were you able to see where people went while

     23 the shooting was on?

     24       A.     No.

     25         Q.   Now when you were coming down the hallway




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      1 and Tredarius Keene was coming at you shaking his

      2 head, what was his demeanor like?

      3         A.      Like what do you mean his demeanor like?

      4         Q.      Do you know what demeanor means?                    Like how

      5 was he acting?

      6         A.      I mean, he was like, I wouldn't say he was

      7 shook, but he was just like scratching his head.                            He

      8 was like they don't F with niggers and something else.

      9 I can't think.         I do remember, I remember him saying

     10 he don't F with niggers.               I do remember that.

     11         Q.      Was he armed?

     12         A.      No, no.

     13         Q.      You could see both his hands?

     14         A.      Yes.

     15         Q.      And then what happened?

     16         A.      And then you could hear the man outside.

     17 You could hear the man outside yelling, screaming,

     18 yeah.        You could hear him outside yelling and

     19 screaming.        I went to the door.

     20         Q.      Which door?

     21         A.      My front door.         I went to my front door and

     22 then like right when I got to my front door, that was

     23 when the police had started pulling up.                        And then I

     24 made sure Harmony was in her bed and stuff.                          Because

     25 right after that, she went right to sleep.                          I made




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      1 sure she was all right, put her in her bed, and then I

      2 went outside.

      3       Q.    And when you came out of the back room and

      4 you saw Tredarius in the hallway and you went towards

      5 the front door, do I have it right so far?

      6       A.    Hold on, say it again.

      7       Q.    Yes, ma'am.        When you came down the hallway

      8 and you went towards the front door, where were all

      9 those guys that you were talking about who were in

     10 your apartment earlier?

     11       A.    Nobody was there.             It was just Bub coming

     12 down the hallway.

     13       Q.    And you said that after the shooting you

     14 were in that room for a minute.

     15       A.    Yeah, like not a minute, but like.

     16       Q.    What did you mean is the question I'm

     17 asking.

     18       A.    Like a little while.              Like after the

     19 shooting I sat there for a little while.

     20       Q.    And when you came out of your, of the

     21 bedroom you were in, did you see any smoke?

     22       A.    No, I didn't see any smoke.                  It was dark.

     23       Q.    Did you smell anything?

     24       A.    No.

     25       Q.    Was your front window open?




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      1       A.     No.

      2         Q.   Were there shell casings in your living

      3 room?

      4       A.     No.

      5         Q.   There were no shell casings in your living

      6 room?

      7       A.     No, I didn't, it was dark.                 I didn't see

      8 nothing.

      9         Q.   Did you see shell casings in your living

     10 room later that night or the next day?

     11       A.     No.

     12         Q.   And you didn't help pick up any shell

     13 casings and dispose of them?

     14       A.     No.

     15         Q.   So if someone said that you did, that would

     16 be lie, they'd be lying?

     17       A.     Yes.

     18         Q.   And so if someone else said there were shell

     19 casings in your living room, they would be lying?

     20       A.     I didn't, I mean, I'm not going to call

     21 nobody no liar, but I know I didn't see any.

     22         Q.   And what did Tanasia do after that shooting?

     23 You said she was in that back room with you and you

     24 guys were holding each other, right?

     25       A.     I was holding my daughter.




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      1       Q.     And what was Tanasia doing during the

      2 shooting?

      3       A.    She was laying down.               She was laying down.

      4       Q.     Just calmly laying there?

      5       A.    No, she was covering her ears and I was

      6 holding my daughter.

      7       Q.     And then what did Tanasia do?

      8       A.    She was cussing.              She was like, what the,

      9 you know.

     10       Q.     And what else?

     11       A.    That's it because after the gunshots, that's

     12 when I got up, opened the door.                 I opened the door to

     13 the room that we was in and I went to the front door

     14 and I heard them.        Well, you could hear him screaming

     15 in the back room, that's why I had waited before I had

     16 got up.

     17             Then I had got up and went to the front door

     18 and you could still hear him.                And then I, when I

     19 eventually, right when I got to the door maybe, that

     20 was when the police came.             I made sure Harmony was all

     21 right.     She went to sleep and I went outside.

     22       Q.     What was Tanasia Coleman doing during this

     23 period of time you were just describing?

     24       A.    She was still in the back.                   She didn't get

     25 up when I got up.




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      1       Q.    She didn't come out of the bedroom after the

      2 shooting?

      3       A.    Not while I was in there.                   She was still in

      4 the back.

      5       Q.    And what was Tredarius Keene doing during

      6 this time that you just described other than walking

      7 down the hallway and saying that?

      8       A.    He was just walking back and forth.

      9       Q.    He was just walking back and forth?

     10       A.    Yeah.

     11       Q.    And what was he acting like?                   What was he

     12 doing?

     13       A.    He wasn't really, well, he was acting like

     14 it was, well, at the time we didn't know the person,

     15 if he was dead or not.           He was just like somebody was,

     16 yeah, saying somebody was dead outside.                      He was just

     17 walking back and forth.

     18       Q.    And he was saying someone's dead outside?

     19       A.    Yeah.

     20       Q.    Did you call 9-1-1?

     21       A.    No, I didn't have a phone.

     22       Q.    Did Nasia call 9-1-1?

     23       A.    No.

     24       Q.    Did Tredarius call 9-1-1?

     25       A.    No.




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      1       Q.    How did Tredarius Keene know someone was

      2 dead outside your all's apartment building?

      3       A.    I guess he looked out the window.                     And he

      4 could hear them, well, you could hear them screaming

      5 and yelling outside.         You could hear them like you

      6 would have thought somebody was dead outside.

      7       Q.    Did you see Tredarius Keene look out the

      8 front window?

      9       A.    No.

     10       Q.    Did there come a time when the police came

     11 and knocked on your apartment door?

     12       A.    Yes.

     13       Q.    When was that?

     14       A.    It was while I was outside, I know that.

     15       Q.    So when you went outside and left your

     16 daughter inside after the shooting and you went

     17 outside, did you see anyone outside that you

     18 recognized?

     19       A.    Yeah, well, the whole apartment complex was

     20 outside.

     21       Q.    So who did you see outside that you

     22 recognized?

     23       A.    Tae.

     24       Q.    Which Tae?

     25       A.    Taniqua.




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      1       Q.     Taniqua Guy?

      2       A.     Yeah.

      3       Q.     Who else?

      4       A.     Tenikqua Fuller.             I can't remember if

      5 Shanicqua was out there or not.                 I don't know.             I

      6 can't remember.      Jaquia.        I don't know, it was a lot

      7 of people.

      8       Q.     Where did Shon Don go?               Did you see him

      9 again that night?

     10       A.     No.

     11       Q.     Did you see Phillip again that night?

     12       A.     No.

     13       Q.     Did you see Laquante again that night?

     14       A.     No.

     15       Q.     Did you see Kevin again that night?

     16       A.     No.

     17       Q.     And you've already said that, did you see

     18 L.A. again that night?

     19       A.     No.

     20       Q.     You already said you lied before that Six

     21 was actually working, right?

     22       A.     Yeah.

     23       Q.     Did you see him that night?

     24       A.     No.

     25       Q.     Did you see Shoota again that night?




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      1       A.     No.

      2         Q.   Did you see Truck?

      3       A.     No.

      4         Q.   Did you ever see Javonte Holland that night?

      5       A.     Who?

      6         Q.   Tae Holland.

      7       A.     Okay.

      8         Q.   Your best friend.

      9       A.     No.

     10         Q.   You talked about him earlier, right?

     11       A.     Yeah.

     12         Q.   Did you ever see him that night?

     13       A.     No.

     14         Q.   In your apartment?

     15       A.     No.

     16         Q.   Outside at North Hills Court?

     17       A.     No.

     18         Q.   When you go outside, do you see Stevie

     19 Johnson?

     20       A.     No.

     21         Q.   So all those guys that were in your house,

     22 gone?

     23       A.     Yes.

     24         Q.   And you said that the police didn't, I'm

     25 sorry, the police came by your apartment later that




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      1 night?

      2         A.      Yeah, they were doing their rounds.                     They

      3 were doing their rounds.

      4         Q.      Were you present in your apartment when the

      5 police came knocking?

      6         A.      No.

      7         Q.      Then how did you know they came knocking on

      8 your door if you weren't there?

      9         A.      Because I was, I know I was looking at the

     10 scene.        When I looked up I saw that they was at my

     11 door.        But Nasia had came to the door, so.

     12         Q.      So you saw the police knock on your front

     13 door?

     14         A.      Yeah.

     15         Q.      And you saw Nasia answer the door?

     16         A.      Yes.

     17         Q.      That's how you know that they did that?

     18         A.      Yes.

     19         Q.      How long were you outside?

     20         A.      I was outside for a long time.

     21         Q.      Well, let me ask you this.                 When you were

     22 outside, did you talk to Taniqua Guy?

     23         A.      No.     Yes, yes, yes, yes, yes.

     24         Q.      When you were outside did you talk to

     25 Tenikqua Fuller?




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      1       A.    Yes.

      2       Q.    Did you ask them what they had seen?

      3       A.    Well, Tae wasn't, Tae wasn't over there that

      4 night.

      5       Q.    Oh, I'm sorry, you just said you went

      6 outside and talked to Taniqua Guy.

      7       A.    I mean, she wasn't there because when I got

      8 outside she was pulling up.               Like she had came,

      9 because at that time she wasn't staying there.                           So she

     10 had came.

     11       Q.    So you went outside and at some point, now

     12 your testimony is that at some point Taniqua Guy came?

     13       A.    Yeah, yeah.

     14       Q.    And did you talk to Taniqua Guy when she did

     15 arrive?

     16       A.    Yes.

     17       Q.    And what did you guys talk about?

     18       A.    We weren't talking about that, I know they

     19 was just trying to find out, you know, was he dead and

     20 we had walked up there.           We were just doing a lot of

     21 walking.    And then ...

     22       Q.    When you went outside that evening, did you

     23 see Tenikqua Fuller?

     24       A.    Yes.

     25       Q.    And did you talk to Fuller?




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      1       A.     Yes, she was with us walking.

      2         Q.   What did you talk about?

      3       A.     All of us was walking.

      4         Q.   And what did Fuller say she heard and saw?

      5       A.     She heard, she said she heard gunshots.

      6 Something about she was in the shower and she heard

      7 gunshots.

      8         Q.   I'm sorry, so Fuller said that she was at

      9 home?

     10       A.     Yes.

     11         Q.   And in the shower?

     12       A.     Yes.

     13         Q.   When the shooting occurred?

     14       A.     Yes.

     15         Q.   Was, did she say who was with her in her

     16 apartment?

     17       A.     No, she didn't say, but, no, she didn't say.

     18 But I'm sure it was Shanicqua.

     19         Q.   Why are you sure it was Shanicqua?

     20       A.     Because she was living there.

     21         Q.   Was anyone else in their apartment at the

     22 time of the shooting?

     23       A.     Not that I know of.            I don't know.

     24         Q.   And did you see Shanicqua that night when

     25 you went outside?




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      1       A.     That's what I'm trying, I don't remember if

      2 she came outside or not.            I don't remember.

      3       Q.     Did you go inside Fuller and Shanicqua's

      4 apartment?

      5       A.     No.

      6       Q.     Do you remember talking to Shanicqua that

      7 night?

      8       A.     I don't know.        No.      I don't remember.

      9       Q.     So Fuller said she was in the shower when

     10 the shooting occurred; is that right?

     11       A.     Yes.

     12       Q.     Did she tell you what she did when she was

     13 in the shower and heard gunshots?

     14       A.     She said she hopped out the shower.

     15       Q.     And then what?

     16       A.     All I remember she said she hopped out the

     17 shower because at first she said she didn't know it

     18 was gunshots.       Then she was like she hopped out the

     19 shower and she realized that, I guess she stayed in

     20 the bathroom.       She was just talking about at the time

     21 when she heard it.

     22       Q.     And what else did she do other than jump out

     23 of the shower?

     24       A.     That's all.       She was telling me that she was

     25 in the shower, she heard them, and she jumped out the




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      1 shower.

      2       Q.     Did she talk about anyone coming to her

      3 house that night?

      4       A.    Not that I remember.              Not that I remember.

      5       Q.     She didn't talk about anyone else coming

      6 into her apartment that evening?

      7       A.    No.

      8       Q.     Did you see anyone else outside that you

      9 recognized?       You mentioned Fuller and you mentioned

     10 Guy coming later.        Anyone else?

     11       A.    It was other people out there that didn't

     12 even live out there like I know, who did I know there?

     13 Well, Jaquia was out there.               Was he?       Yeah, Jaquia was

     14 out there.    I don't know, it was so many, it was a lot

     15 of people out there.         A lot.

     16       Q.     Do you remember talking to anyone else that

     17 night while you were standing outside?

     18       A.    No, I just remember being around them.

     19       Q.     Now just to be clear, you had told the

     20 police before that Deshawn Trent was at your apartment

     21 and now you're saying he was not at your apartment.

     22       A.    I didn't see him at my apartment.

     23       Q.     You just heard that he had been there

     24 earlier.

     25       A.    I heard that he was there earlier, yeah.




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      1       Q.    And how did you know he was at work?

      2       A.    I mean, I didn't actually know, but, I mean,

      3 I figured he was at work.             He was always at work then.

      4 That's when he was actually going to work.

      5       Q.    Is it fair to say that you're guessing he

      6 was at work?

      7       A.    Yeah.

      8       Q.    Has he told you he was at work at that time?

      9       A.    No.     I didn't talk to him around that time I

     10 don't think.       No.

     11       Q.    What happened later that night?                    At some

     12 point you come inside, is that right?

     13       A.    Yes.

     14       Q.    And when you come back inside, who's there?

     15       A.    Tanasia and Tredarius.

     16       Q.    And what did you do?

     17       A.    It was late when I came in so I know I went

     18 and got my daughter out of her bed and I brung her in

     19 bed with me.

     20       Q.    And when you say it was late when you came

     21 back inside, how late was it?

     22       A.    I think, I maybe stayed outside until, I

     23 don't know, a little after twelve maybe.                      Maybe a

     24 little after twelve.

     25       Q.    And why do you say a little after twelve?




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      1 How do you remember that?

      2         A.     Because I know I didn't stay out there until

      3 one.     I know that.        I wasn't out there that late.

      4         Q.      Hmm?

      5         A.     I wasn't out there that late.

      6         Q.      But why do you remember it being a little

      7 bit after midnight?

      8         A.     I don't know, because I wasn't out there

      9 long.        I don't think I was.

     10         Q.      What time did the shooting occur?

     11         A.     I don't know.         I don't know.           I just know a

     12 little bit after I got home that night.

     13         Q.      And when you came back inside you said Nasia

     14 was there and Harmony and Tredarius?

     15         A.     Yes.

     16         Q.      And then what did you do?

     17         A.     I grabbed Harmony out of her bed and brought

     18 her in the room with me.

     19         Q.      And then what happened?

     20         A.     I went to sleep.

     21         Q.      Where did Nasia go?            Did you see what

     22 happened with Nasia?

     23         A.     Did she stay?         I think she stayed, she

     24 stayed in her room, I want to say.                     I don't know.        I

     25 want to say she stayed there that night.




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      1        Q.   And why do you say that?

      2        A.   Because she ain't got nowhere else to go.

      3        Q.   You went to your bedroom?

      4        A.   Yes.

      5        Q.   Did you shut the door?

      6        A.   I don't remember if I shut the door or not.

      7        Q.   Did you keep track of who was coming and

      8 going out of your apartment after you went to sleep?

      9        A.   I'm pretty sure nobody, because when I came

     10 in I locked my door.

     11        Q.   Your front door?

     12        A.   Yes.

     13        Q.   And are you the only one who's capable of

     14 unlocking and locking your front door?

     15        A.   What you mean?

     16        Q.   I mean, couldn't people have left your

     17 apartment, have come and gone out of your apartment

     18 that night after you went to bed?

     19        A.   They could have, but I don't think nobody

     20 did.

     21        Q.   And why do you say that?

     22        A.   I don't know.         I just don't think because I

     23 locked the door, so.         I don't know.

     24        Q.   And what did Tredarius do after you went to

     25 bed?




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      1       A.    As far as I know he went to sleep.

      2       Q.    Do you know what happened to him after you

      3 went to bed?

      4       A.    Do I know what happened to him?

      5       Q.    Yeah, do you know what Tredarius did after

      6 you went to bed and went to sleep?

      7       A.    No.

      8       Q.    Do you know what Nasia did after you went to

      9 bed and went to sleep?

     10       A.    No.

     11       Q.    And did you wake up the next morning?

     12       A.    Yes.

     13       Q.    When the next morning?

     14       A.    Early.     I think I woke up early that

     15 morning.    I don't know.         I can't remember what time I

     16 woke up.

     17       Q.    And who was in your apartment when you got

     18 up the next morning?

     19       A.    Bub and Nasia.

     20       Q.    I'm sorry?

     21       A.    Bub and Nasia.          Tredarius and Nasia.

     22       Q.    They were both there?

     23       A.    Yes.

     24       Q.    And did you guys talk about what had

     25 happened the night before?




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      1       A.    No, I slept most of that whole day.                      I

      2 didn't talk to nobody.

      3       Q.    Did you ever talk to Nasia about what

      4 happened that night at any time?

      5       A.    Yeah.    Yeah, yeah.           Yeah.

      6       Q.    What did she say happened?

      7       A.    She was just, we were just talking about the

      8 situation, about the argument.                I know I was trying to

      9 figure out like how the argument started and stuff.

     10 She was just like she don't know.                  She was in the bed

     11 asleep before the argument and stuff.                    So that's all.

     12       Q.    Well, you know she wasn't asleep when the

     13 argument was going on, right?               Because you were awake

     14 and she was awake.

     15       A.    I mean before I got there.                  That's what I'm

     16 saying.

     17       Q.    Oh, she said before you got there she was

     18 asleep with all those guys in the apartment?

     19       A.    Yes.

     20       Q.    Did she tell you anything else?

     21       A.    Not that I remember.

     22       Q.    Did you ever talk to Tredarius about what

     23 had happened?

     24       A.    I asked him what was going on.                    He was just

     25 like, I don't know.         After that he just distanced




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      1 himself from people.         He don't fool with people.                  I

      2 don't know, he just to hisself.

      3       Q.     He got locked up shortly after that, though,

      4 right?

      5       A.     Yes.

      6       Q.     Did you talk to R about what happened?

      7       A.     No.

      8       Q.     No?    You didn't talk to your baby father

      9 about what happened?

     10       A.     Well, yeah, we did get to arguing because I

     11 was trying to find out for one why, because we wasn't

     12 even talking at the time, so.

     13       Q.     So why was he in your apartment if you

     14 weren't talking at the time?

     15       A.     That's what we was arguing about.

     16       Q.     You were arguing because he had come to your

     17 apartment when you guys weren't talking?

     18       A.     We was arguing about that and why everybody

     19 else is in my apartment and all of that.

     20       Q.     And what did he say why everyone was in your

     21 apartment?

     22       A.     Maybe just like they was there.

     23       Q.     Okay, what else did Phillip say about that

     24 evening?

     25       A.     Nothing really.          When the shooting came or




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      1 whatever, just he had nothing to do with the shooting.

      2         Q.      You asked him where was he at the time of

      3 the shooting?

      4         A.      I didn't ask him.             He just knew, he knew

      5 about the shooting.            Where was he at during the

      6 shooting, I don't know.              But he was just like he

      7 didn't have nothing to do with it.

      8         Q.      Did you talk to anyone else about what

      9 happened there that night other than what we've

     10 already talked about today?

     11         A.      No, not that I remember.

     12         Q.      Did you own an iPad during this time?

     13         A.      Yes.

     14         Q.      So you said earlier, you testified earlier

     15 that you didn't have a cell phone; is that right?

     16         A.      Yeah, I don't know, was I on my iPad then?

     17 I don't know.          Yeah, I had, I have an iPad, yeah.

     18         Q.      So let's just be clear.                When did you get

     19 your iPad?

     20         A.      I had got my iPad December 2015.                     Yeah,

     21 December 2015.          That was when I got my iPad.                    I don't

     22 think I was using my iPad.                   I don't think I was using

     23 my iPad then.          I mean, I had a phone but it was off

     24 like.        You can't call.        You can't call.

     25         Q.      Why was it off?




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      1       A.     Because I didn't pay my bill.

      2       Q.     You couldn't afford to pay your phone bill,

      3 right?

      4       A.     It was too high.

      5       Q.     And so when you say you weren't using your

      6 iPad at this time, why do you say that?

      7       A.     Because I just don't think I was using it at

      8 that time.

      9       Q.     Could you afford your cable bill in order to

     10 have wireless?

     11       A.     Well, you know they got like Xfinity hot

     12 spots.     I think I was on a hot spot maybe.

     13       Q.     How were you capable of using your iPad?

     14       A.     What do you mean?

     15       Q.     Let me step back a second, because I want to

     16 be clear.     So you got the iPad when?

     17       A.     December 2015.

     18       Q.     And during December of 2016, were you using

     19 your iPad?

     20       A.     Yes.

     21       Q.     Where were you using it?

     22       A.     At home, yeah, at home, because that's all

     23 we could use it at, is at home.

     24       Q.     And how are you using the iPad at home?                     Did

     25 you have wireless?




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      1       A.     Wi-fi.

      2         Q.   Did you have wi-fi?

      3       A.     Yes.

      4         Q.   How did you have wi-fi?

      5       A.     Did I have?       I think I maybe, yeah, I think

      6 I had cable then.        I think I did, yes.

      7         Q.   Who is you cable provider?

      8       A.     Cable and wi-fi.             Comcast Xfinity.

      9         Q.   And so you couldn't afford your phone bill

     10 but you did pay for the cable?

     11       A.     Yeah.

     12         Q.   And the cable came with wi-fi?

     13       A.     Yes.

     14         Q.   And that's how you were able to use your

     15 iPad?

     16       A.     Yes.

     17         Q.   And did you have Facebook at this time?

     18       A.     Yeah.

     19         Q.   And were you using Facebook messenger?

     20       A.     Yeah.

     21         Q.   And how were you able to use Facebook

     22 messenger?

     23       A.     Wi-fi.

     24         Q.   Your iPad?

     25       A.     Yeah, yeah, either the iPad or, you know,




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      1 iPhones or iPad, they about the same thing, so.

      2       Q.     Okay, but you said your phone was off at

      3 this time, right?

      4       A.     You can use wi-fi for your phone.

      5       Q.     Okay, so were you using the phone still for

      6 wi-fi?

      7       A.     Yes.

      8       Q.     And did your iPad have Facebook Messenger

      9 app on it?

     10       A.     Yes.

     11       Q.     Let me ask you ...

     12       A.     I believe so.

     13       Q.     ... how were you accessing Facebook during

     14 the summer of 2016?

     15       A.     Probably switching back from both, because,

     16 yeah, switching back from both.                Because at one point

     17 my phone was broke, so I was using my iPad.                       So I was

     18 back and forth.

     19       Q.     And did your iPad have a password?

     20       A.     No.

     21       Q.     You didn't have a password on your iPad?

     22       A.     No.

     23       Q.     Were other, did you loan it to other people?

     24       A.     Yes.

     25       Q.     Other people were able to use it?




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      1       A.    Yes.

      2       Q.    Were people able to use Facebook Messenger

      3 on it?

      4       A.    Yes.

      5       Q.    Did you ever allow, even though other people

      6 were using your Facebook Messenger, did you allow

      7 people to use your Facebook account to communicate

      8 with others?

      9       A.    No, no.

     10       Q.    No?

     11       A.    No.

     12       Q.    Sorry, I was waiting for you to finish your

     13 answer.    It's no?

     14       A.    No.

     15       Q.    I'm showing you what's been marked as Grand

     16 Jury Exhibit AR8.        Do you see this?

     17 (WHEREUPON, the Witness examined the document

     18 previously marked Grand Jury Exhibit-AR8 for

     19 Identification.)

     20       A.    Yes.

     21       Q.    Do you see this Facebook business record at

     22 the top?

     23       A.    Yes.

     24       Q.    And do you see here where it says Ashley

     25 Ross is an author?




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      1       A.    Yes.

      2       Q.    That's your account, right?

      3       A.    Yes.

      4       Q.    And you see here the author Ulissa Ross

      5 Cattle?

      6       A.    Yes.

      7       Q.    Do you see that?

      8       A.    Yes.

      9       Q.    Is that the Aunt Ulissa Ross we were talking

     10 about earlier?

     11       A.    Yes.

     12       Q.    And she had a Facebook account?

     13       A.    Yes.

     14       Q.    And you guys communicated via Facebook?

     15       A.    Yes.

     16       Q.    I'm showing you page 3 of the exhibit.                       Do

     17 you see down here where it starts towards the bottom

     18 of page 3, author

     19 Ashley Ross?

     20       A.    Yes.

     21       Q.    With a phone call?

     22       A.    Yes.

     23       Q.    Do you use Facebook to make phone calls?

     24       A.    Yes.

     25       Q.    And why would you use Facebook to make phone




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      1 calls during this time of August 20th, 2016?

      2        A.   My phone was off.             Yeah, my phone was off.

      3        Q.   And is this how you communicated with

      4 people?

      5        A.   Yes, for the time being.

      6        Q.   And do you see this message here where

      7 Ulissa Ross told you on August 20th, 2016, at 7:08,

      8 UTC, that she'll call you when she gets to Danville?

      9        A.   Yes.

     10        Q.   And do you see later where Ulissa Ross

     11 called you?

     12        A.   Yes.

     13        Q.   Was she calling you through Facebook?                        Is

     14 that how you communicated?

     15        A.   Yes.

     16        Q.   And I'm showing you now page 1 of Grand Jury

     17 Exhibit AR8.       And do you see this message?                  I'm going

     18 to put a star beside it.

     19        A.   Yes.

     20        Q.   You see this message from Ulissa Ross to

     21 you?

     22        A.   Yes.

     23        Q.   And it says I'm way back now?

     24        A.   Yes.

     25        Q.   What's she on her way back from?




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      1         A.     I don't know.        I guess, I'm way back now.

      2         Q.     Where did Ulissa Ross live at this time?

      3         A.     South Boston.

      4         Q.     And when she says, when she texts you that

      5 she's on her way back now, where was she coming from?

      6         A.     Shoot, I don't know.             I don't know.

      7         Q.     Okay.

      8         A.     I want to say her and my uncle had gone out

      9 of town that week, but I don't, after they, I don't

     10 know.

     11         Q.     And do you see up here where I just put an

     12 arrow?       And it says author Ashley Ross?

     13         A.     Yes.

     14         Q.     That's you, right?

     15         A.     Yes.

     16         Q.     No one else was using your account on August

     17 21st, 2016, at five minutes after midnight UTC?                            Do

     18 you know what UTC means?

     19         A.     No.

     20         Q.     Do you know it's five hours ahead of Eastern

     21 Standard Time?

     22         A.     Okay.

     23         Q.     Do you know that?            I mean, do you know what

     24 UTC is?

     25         A.     Hm-mmm (Indicating negatively).




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      1        Q.   No, you don't, okay.              And do you see here

      2 where you say, yeah, everybody's saying they hungry?

      3        A.   Yes.

      4        Q.   Who's everybody that's saying they're

      5 hungry?

      6        A.   I don't know.

      7        Q.   You don't know?

      8        A.   I'm trying to think did I have her kids.                     I

      9 don't know.     I don't know.

     10        Q.   So on August 20th, 2016, you don't know, you

     11 don't remember why you'd be saying everyone's hungry

     12 to your aunt?

     13        A.   Unless I had her kids.               That's, that'd be

     14 the reason.

     15        Q.   And then your next message is telling your

     16 aunt, I'm thirsty.        And thirsty, right?

     17        A.   Yes.

     18        Q.   Is it fair to say you're communicating to

     19 your aunt, yeah, everybody's hungry and thirsty?

     20        A.   Yes.

     21        Q.   And you can't remember who the they is right

     22 now?

     23        A.   It got to be her kids.

     24        Q.   From August 20th, 2016?

     25        A.   Yeah.




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      1         Q.   Okay.    And do you see up here where your

      2 aunt responds when you tell her that people are hungry

      3 and thirsty, she responds, okay, getting pizza now.

      4       A.     Right.

      5         Q.   And that's on August 21st, 2016, at five

      6 minutes after midnight UTC?

      7       A.     Yes.

      8         Q.   Does this look like part of a conversation

      9 you had with your aunt on Facebook?

     10       A.     Yeah.    I don't remember it, but yeah.

     11         Q.   And you don't remember sitting here today

     12 who your aunt was getting pizza for at what would have

     13 been late on August 20th, 2016?

     14       A.     It had to be me, Harmony, and her kids.

     15         Q.   No one else?

     16       A.     No.

     17         Q.   Now your phone wasn't working, you said your

     18 phone wasn't working at that time?

     19       A.     Right.

     20         Q.   Because you didn't pay the phone bill?

     21       A.     Right.

     22         Q.   But were you still able to use the wi-fi?

     23       A.     Yes.

     24         Q.   And who is your cell phone provider at that

     25 time?




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      1       A.    Intellos [phonetic].

      2       Q.    Did there come a time shortly after the

      3 murder at North Hills where Mouse was killed at North

      4 Hills where you got a new cell phone number?

      5       A.    Yes.

      6       Q.    Why?

      7       A.    Because I had just got my phone back and I

      8 had lost the number.         I guess after you, it either was

      9 I couldn't carry my number over or, I don't know.                        I

     10 think it was because I couldn't carry my number over

     11 to Boost Mobile.       I believe that's why.

     12       Q.    So why did you get a new phone and phone

     13 number after the North Hills Court murder?

     14       A.    I didn't get a new phone, I got my phone

     15 flashed.

     16       Q.    What does that mean?

     17       A.    Like you switch, I got it switched from off

     18 the contract and switched to prepaid.                    Like flashed to

     19 prepaid.

     20       Q.    So you changed your account to prepaid?

     21       A.    Yes.

     22       Q.    And at that time you changed the phone

     23 number?

     24       A.    Yes.

     25       Q.    And why did you change the phone number?




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      1       A.    I couldn't bring it over.                   I couldn't bring

      2 my old number over because it had been too old.                           Like

      3 it was off for so long I couldn't bring it over.

      4       Q.    And what was your phone number on that phone

      5 that was broken?

      6       A.    429-4130.

      7       Q.    Did you ever hear of the doctor being shot

      8 in February of 2016?

      9       A.    Yes.

     10       Q.    I mean, everybody in Danville heard about

     11 the doctor being shot, right?

     12       A.    Yes.

     13       Q.    Who shot him?

     14       A.    I don't know.

     15       Q.    You ever talk to anyone about that shooting?

     16       A.    No.    Yeah.     Yeah.

     17       Q.    Yeah, who?

     18       A.    I don't remember who, I just remember when

     19 it came about who they was trying to say was doing it,

     20 that's, I know who they was trying to say did it.

     21       Q.    Who were they trying to say did it?

     22       A.    Malick.

     23       Q.    Shoota?

     24       A.    Yes.

     25       Q.    Is that the same Malick Smith who you were




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      1 talking about earlier?

      2       A.    Yes.

      3       Q.    And who was saying they did it?

      4       A.    I don't remember who I was talking to.                       I

      5 don't remember who I was talking to about it.

      6       Q.    You don't remember who it was?

      7       A.    No.

      8       Q.    Tanasia, Tredarius?

      9       A.    It might have been, it might have been them.

     10 I mean, everybody was talking about it, so.                       I don't

     11 know, I just don't ...

     12       Q.    You don't remember who told you Shoota did

     13 it?

     14       A.    No, nobody actually told me he did it.                       It

     15 was out, people was saying that he did it.                       Saying

     16 that the police was looking for him for doing it.

     17       Q.    And you don't remember who told you?

     18       A.    No.

     19       Q.    What's snitching?

     20       A.    Hmm?

     21       Q.    What is snitching?

     22       A.    Telling.

     23       Q.    Telling?

     24       A.    Yeah.

     25       Q.    Snitching like tattle tailing?




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      1       A.    Yeah.

      2       Q.    Is snitching telling to the police?

      3       A.    You could say that, yes.

      4       Q.    Is snitching talking to the Grand Jury?

      5       A.    I guess it depends on what you say.                      I

      6 don't, yeah.

      7       Q.    What do you mean it depends on what you say?

      8       A.    I don't know.

      9       Q.    Ms. Ross, are you snitching right now?

     10       A.    I don't know.         I'm just telling ...

     11       Q.    Do you think you're snitching right now?

     12       A.    ... you all.         No.

     13       Q.    Do you think people who cooperate with law

     14 enforcement are snitching?

     15       A.    No.

     16       Q.    You don't?

     17       A.    Not all people, no.

     18       Q.    Not all people.            So who are the people who

     19 are snitching?

     20       A.    I don't know.         I mean, people always

     21 thinking somebody's snitching.                I honestly don't care

     22 who snitched and who not, but, I mean, people are

     23 always saying, in Danville, they always saying

     24 somebody snitched.

     25       Q.    And when can snitching be good in your




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      1 world, in your definition?

      2        A.    When can it be good?

      3        Q.    You're saying it depends, right?                    Well, let

      4 me ask you this.       Is snitching good or bad?

      5        A.    It, I don't know.            I guess it could depend

      6 on the situation.        I don't know.           People look at it

      7 bad.    Nine times out of ten people look at it ...

      8        Q.    You get in trouble if you are snitching?

      9        A.    Can you get in trouble?

     10        Q.    Yeah.

     11        A.    No.

     12        Q.    Do people get scared when they're accused of

     13 snitching?

     14        A.    Yeah.

     15        Q.    Do people get concerned, nervous when

     16 they're accused of snitching?

     17        A.    Yeah.

     18        Q.    Okay, so like when MC was texting you on

     19 your Facebook account and he was concerned that he was

     20 snitching, I mean, was he happy that people were

     21 saying he was snitching?

     22        A.    We was in Boston when people say about him

     23 snitching.     Well, I'm sure he weren't happy.                     No.

     24        Q.    Would you be happy if people said you were

     25 snitching?




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      1       A.    You want to know my honest truth?                     I

      2 wouldn't care.

      3       Q.    You have to give us your honest truth,

      4 you're under oath, right?

      5       A.    I mean, I wouldn't care.                I mean, I would

      6 care but, I mean, I wouldn't care.

      7       Q.    What do you mean you would care but you

      8 wouldn't care?       What does that mean?

      9       A.    I mean, because, I mean, some people might

     10 look at it different maybe.               Some people might look at

     11 it different, but, I mean, I wouldn't care.

     12       Q.    What would happen to you in the community if

     13 people thought you were snitching?                  What would your

     14 friends do to you?

     15       A.    I don't know.         I don't know.           I wouldn't be

     16 worried about that.         I mean, I wouldn't, like I said I

     17 wouldn't care.

     18       Q.    You came today with Shanicqua Coleman; is

     19 that right?

     20       A.    Yes.

     21       Q.    You guys rode up together?

     22       A.    Yes.

     23       Q.    Who drove?

     24       A.    I did.

     25       Q.    And did you and Shanicqua coordinate that,




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      1 coming to the court together?

      2         A.    What do you mean?            Did we let you all know?

      3         Q.    Did you guys plan it to come together?

      4         A.    Yes, because I would have been her only

      5 ride.

      6         Q.    And did you guys talk about coming to court?

      7         A.    No.

      8         Q.    On the two and a half hour drive up here,

      9 you didn't talk about what you were coming up here

     10 for?

     11         A.    We were just like, we couldn't believe we

     12 was coming up here, like.              That's all.

     13         Q.    Were you guys speculating about why you were

     14 being called to court?

     15         A.    Yeah.   I mean, me, I kind of figured why

     16 because, I mean, from the past when they had came and

     17 got me.      I kind of figured why, but, I mean.                     We just,

     18 for real we barely even talked on the way up here.                         We

     19 was listening to music and she was asleep, well, she

     20 was on her phone.

     21         Q.    And before the, she was on her phone with

     22 whom?

     23         A.    Well, not on her phone, but she was just

     24 scrolling on her Facebook.

     25         Q.    And before you guys drove up here today, did




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      1 you talk about why you guys were coming here?

      2       A.    No, we were just like we can't believe we

      3 got to go up there tomorrow.

      4       Q.    Did you talk about what you guys were going

      5 to say?

      6       A.    No.

      7       Q.    You paused there for a moment.

      8       A.    No.

      9       Q.    You didn't talk about what you guys were

     10 going to say at court?

     11       A.    No.     No.   I don't know.            No.     I don't think

     12 so.

     13       Q.    You don't know?

     14       A.    On the way up here, no.

     15       Q.    Okay, before today?

     16       A.    I don't know.         I was just like, I wonder

     17 like, I know I said I wondered like what you all were

     18 going to ask me, like.           I don't know.            I was just

     19 curious like what you all were going to ask me.

     20       Q.    And did she, did you guys talk about what

     21 the two of you were going to say when you came up to

     22 court?

     23       A.    No.     She was just like she, she was like she

     24 don't know.       She don't know.

     25       Q.    Did she tell you what to say in the Grand




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      1 Jury?

      2       A.     No.

      3         Q.   Did you tell her what to say in the Grand

      4 Jury?

      5       A.     No.

      6         Q.   Has anyone told you what to say in the Grand

      7 Jury?

      8       A.     No.

      9         Q.   Are you high right now?

     10       A.     No.

     11         Q.   Any drugs today?

     12       A.     No.

     13         Q.   Any alcohol today?

     14       A.     No.

     15         Q.   Are you on any medications that affect your

     16 ability to perceive or recall?

     17       A.     No.

     18         Q.   Okay.   Have you understood everything I've

     19 asked you?

     20       A.     Yeah.   Yes.

     21         Q.   You understand what's going on in here?

     22       A.     Yes.

     23         Q.   Anyone made you any promises in exchange for

     24 your testimony?

     25       A.     No.




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      1         Q.   Anyone threatened you?

      2       A.     Don't nobody know I'm here.

      3         Q.   I'm sorry?

      4       A.     Don't nobody know I'm here.

      5         Q.   Has anyone promised you anything in exchange

      6 for your testimony?

      7       A.     No.

      8         Q.   Has anyone threatened you?

      9       A.     No.

     10         Q.   Has anyone told you what to say in the Grand

     11 Jury?

     12       A.     No.

     13         Q.   Have I told you what to say in the Grand

     14 Jury?

     15       A.     No.

     16         Q.   Okay, I told you to tell the truth.

     17       A.     Yes.

     18         Q.   Have I told you to say anything other than

     19 the truth?

     20       A.     No.

     21         Q.   Is there anything about your testimony here

     22 today you would like to change?

     23       A.     No.    No.

     24         Q.   Nothing about what happened on the night of

     25 the North Hills Court murder that you would like to




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      1 change?

      2       A.    No.

      3       Q.    Okay.        Is there anything that you would like

      4 to add that you left out?

      5       A.    No.

      6       Q.    Can I ask you one more time about shell

      7 casings in your apartment the night that Mouse got

      8 killed?

      9       A.    No, I did not see none, no I did not pick

     10 anything up.       No.

     11       Q.    Okay, never?

     12       A.    No.

     13       Q.    Never cleaned up your apartment from

     14 gunshots or gun smoke in your apartment?

     15       A.    Did I clean it up, now I cleaned it up the

     16 next morning but I would just clean.

     17       Q.    You cleaned your apartment the next morning?

     18       A.    Yes.

     19       Q.    But that was just regular cleaning?

     20       A.    Yes.

     21       Q.    You weren't cleaning because there were

     22 shell casings there?

     23       A.    No, I never saw any shell cases, no.

     24       Q.    You weren't cleaning because of gun powder

     25 residue from shooting in your window?




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      1       A.    I don't even know what that is, no.

      2       Q.    You don't remember if there was gun powder

      3 residue?

      4       A.    I said I don't know what it is, like, gun,

      5 like, no.

      6       Q.    So your cleaning the next morning after the

      7 North Hills murder had nothing to do with the murder

      8 itself?

      9       A.    No.

     10       Q.    It had nothing to do with people shooting

     11 from your apartment?

     12       A.    At the time I didn't even know anything

     13 about the window thing, no.

     14       Q.    When did you learn about the window thing?

     15       A.    I don't know.         It had came, I don't know who

     16 had came to me with the information.                    I don't

     17 remember.

     18       Q.    And what did you learn about the window

     19 thing?

     20       A.    What window?         What you mean?

     21       Q.    You just said that you didn't know about the

     22 window thing until later.

     23       A.    Mm-hmm (Indicating affirmatively).

     24       Q.    And I'm asking you what you learned.

     25       A.    Oh, people was saying that something about




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      1 people being, you know, well, the detectives had told

      2 me about whomever coming to them saying that it was

      3 shooting out my window.

      4       Q.    You had never heard that before the police

      5 telling you that?

      6       A.    Yes, I did hear it.             I just don't remember

      7 who I heard it from.

      8       Q.    And what had you heard?

      9       A.    That they was shooting, Shon Don was

     10 shooting out my window.

     11       Q.    And who else?

     12       A.    They said Phillip but, I mean, I don't, me

     13 personally, I don't know if they did or didn't.                          But

     14 that's what had came to me.

     15       Q.    That's what what?

     16       A.    Had came to me.

     17       Q.    And who had told you that?

     18       A.    I don't remember who.

     19       Q.    How did that come to you?

     20       A.    I don't remember who I was talking to.                        It

     21 was ...

     22       Q.    So you don't remember who and you don't

     23 remember how, but someone told you that Shon Don and

     24 Phillip were shooting out of your apartment window?

     25       A.    Yes.




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      1       Q.     And you left that out earlier because why?

      2       A.    I don't know.

      3       Q.     Is there anything else you left out that you

      4 need to tell the Grand Jury?

      5       A.    No, I don't think so.              No.      I mean, we

      6 didn't talk about that.           I don't know.           No.

      7       Q.     Anything else you want to change?

      8       A.    No.

      9       Q.     Anything else you want to add?

     10       A.    No.

     11       Q.     If they were shooting out of your apartment

     12 window, where did the shell casings go?

     13       A.    I don't know if, I don't know that it's

     14 true, that's what I'm telling you.                   I do not know if

     15 it was true or not.         But when I walked through my

     16 window, I know I did not, I mean, when I walked

     17 through my living room, I know I did not see nothing

     18 on the floor.     I know that.            I don't think I looked at

     19 the floor.

     20 DIRECT EXAMINATION

     21 BY MR. HUBER:

     22       Q.     And you didn't smell any gun smoke?

     23       A.    I don't even know what it smell like.

     24       Q.     Well, something different than what your

     25 apartment would generally smell like.




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      1       A.     No, I really wasn't paying no attention.                    I

      2 just went to the door and I heard him and then I ran

      3 back, put my daughter in her bed, and then I went

      4 outside.

      5       Q.     Anybody else clean the apartment that you're

      6 aware of?

      7       A.     Not while I was in there, no.

      8       Q.     The next day did anybody clean the

      9 apartment?

     10       A.     No, just me.        I, well, I didn't even really

     11 clean it, I just straightened my kitchen up.

     12       Q.     Tanasia clean it?

     13       A.     Not as far as I know.             I don't know.

     14       Q.     Just let me ask you one other question

     15 about, what do you know about the, tell the Grand

     16 Jurors who the Philly Boys are.

     17       A.     I used to, well, they are my first child's

     18 father's cousins, but my first child's father, he

     19 moved away.     Then they had moved away and they had

     20 came back down.       And they had got back in contact with

     21 me.

     22       Q.     How many are there?

     23       A.     It's two.

     24       Q.     And what are their names?

     25       A.     Shoot.    Dwight and Monte.




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      1         Q.   Dwight and Muncie?

      2       A.     Monte.

      3         Q.   Monte?

      4       A.     Yes.

      5         Q.   Do you know what their last names are?

      6       A.     I know Dwight's last name is Harris.                        I

      7 don't know about Monte's.             I don't know if they have

      8 the same last name.

      9         Q.   How old are they?

     10       A.     I think they younger than me.                  Maybe twenty.

     11         Q.   And when did you first meet them?

     12       A.     Back in school, like 2013.

     13         Q.   And what school?

     14       A.     GW, George Washington.

     15         Q.   They both go there?

     16       A.     Yes.   They was on the football team.

     17         Q.   And why do they refer to them as the Philly

     18 boys?

     19       A.     Because they was from Philly.

     20         Q.   Before they went to GW?

     21       A.     Yes.   Yes.     They came to Danville from

     22 Philly.

     23         Q.   And do you know when they came to Danville?

     24       A.     No, I know that they, I don't remember if

     25 they was there, if they came tenth grade or eleventh




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      1 grade.       I don't remember.

      2         Q.     And did you say Tanasia was dating one of

      3 them?

      4       A.       She wasn't dating, but she was having

      5 interactions with one of them.

      6         Q.     Which one?

      7       A.       Dwight.     No, no, no, no, no.               Monte.         Monte.

      8         Q.     I'm sorry?

      9       A.       Monte, it was Monte.

     10         Q.     And do you know what it was that they

     11 alleged she stole from them?

     12       A.       I don't know.        I don't remember if it was

     13 money or I don't remember.                  I don't know.

     14         Q.     She didn't tell you much about it other than

     15 what you've testified today?

     16       A.       No, she didn't tell me much.                  She just like,

     17 she saying she didn't take nothing from them.

     18         Q.     Fast forward to the North Hills event, the

     19 shooting on August 20th.              You remember that?

     20       A.       Yes.

     21         Q.     You said that Tanasia told you that a number

     22 of those individuals that were in your apartment when

     23 you got back, that you didn't personally see them but

     24 she told you they were there?

     25       A.       Yes.




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      1         Q.      When did she tell you that?

      2         A.      When did she tell me?             It had to be, I don't

      3 know.        I don't think, it wasn't that night I don't

      4 believe.        It wasn't that night.             It wasn't that night.

      5 Maybe a few days, maybe a few days.

      6         Q.      Any reason why she would provide you

      7 information about that event but not the event that

      8 she was actually shot in?

      9         A.      I'm sorry?

     10         Q.      Any reason why she would provide you that

     11 kind of information about the murder on August 20th

     12 and not provide you more information about the

     13 incident where she was shot?

     14         A.      I mean, I don't know.             It's my house, so if

     15 I ask you something, I hope you, you know.                          But, no.

     16         Q.      When you went outside after, came down the

     17 hallway after the shooting on the 20th, on August 20th

     18 when Mouse was killed, you said you went outside and

     19 you saw some individuals, Tae and Fuller?

     20         A.      Yes.

     21         Q.      Was Shanicqua Coleman out there?

     22         A.      I don't remember if she had came outside or

     23 not.

     24         Q.      You don't remember talking to her?

     25         A.      I don't remember, no.             I don't know, I don't




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      1 remember if she came outside or not.                    No.

      2         Q.   Was there a beef with the Philly Boys?                      Do

      3 you know if anybody had a beef with the Philly Boys

      4 before June 15th, that shooting?

      5       A.     No.

      6         Q.   You don't know if anybody had a beef with

      7 them?

      8       A.     No.    No.   No.

      9         Q.   And do you know where they were living at

     10 that time?

     11       A.     I don't know the address, but it's Clement,

     12 on Clement.

     13         Q.   Were they living together?

     14       A.     Yes, with their mother.

     15         Q.   With their mother?

     16       A.     And father.

     17         Q.   Are they related?

     18       A.     The Philly boys?

     19         Q.   Yes.

     20       A.     Yes, they're brothers.

     21         Q.   They're brothers, okay.

     22       A.     Yes.

     23         Q.   I understand.

     24              MS. CARLTON:        Any questions?

     25              GRAND JURY MEMBER:            I have one.         When you




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      1 were asking about the CC or CK for us to understand

      2 that a little better, you know, at the end of the

      3 word, can you ...

      4              MS. CARLTON:        Do you have a question for the

      5 witness?

      6              GRAND JURY MEMBER:            Cripp Killer, was that

      7 CC or CK or?

      8 CONTINUATION OF DIRECT EXAMINATION

      9 BY MS. CARLTON:

     10         Q.   When you text CC instead of CK when you

     11 spell a word like back, right, back is spelled

     12 B-A-C-K?

     13       A.     Mm-hmm (Indicating affirmatively).

     14         Q.   When you type B-A-C-C, why do people do

     15 that?

     16       A.     I don't know why they do it, I just

     17 eventually picked up on it.               So I don't know why they

     18 do it.

     19         Q.   And you don't know that CK stands for Cripp

     20 Killer?

     21       A.     I just know people just don't put the K

     22 behind, put the K behind the C.                I mean, I guess

     23 common sense you would say that it did stand for

     24 killer.

     25         Q.   I'm sorry, you've got to speak up a little




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      1 louder.

      2       A.    I said I guess if you do use common sense,

      3 it would, it would seem that way, yeah.                      Yeah.        But at

      4 the time, I don't know.

      5       Q.    I'm going to show you what's been marked a

      6 series of Grand Jury exhibits, okay?

      7       A.    Okay.

      8       Q.    I'm showing you Grand Jury Exhibit AR8.                         Do

      9 you see this?

     10 (WHEREUPON, the Witness examined the document

     11 previously marked Grand Jury Exhibit-AR8 for

     12 Identification.)

     13       A.    Yes.

     14       Q.    And this is your signature?

     15       A.    Yes.

     16       Q.    And this is a photo you identified earlier

     17 today as Laquante Adams?

     18       A.    Yes.

     19       Q.    Is that the same Laquante Adams we were

     20 talking about earlier?

     21       A.    Yes.

     22       Q.    Okay, and I'm showing you what's been marked

     23 as Grand Jury Exhibit AR9.                Do you see this?

     24 (WHEREUPON, the Witness examined the document

     25 previously marked Grand Jury Exhibit-AR9 for




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      1 Identification.)

      2       A.    Yes.

      3       Q.    Is that your signature?

      4       A.    Yes.

      5       Q.    And this person you have identified as

      6 Dockez [phonetic].

      7       A.    Yes.

      8       Q.    Is that correct?

      9       A.    Yes.

     10       Q.    And this person right here, this Dockez, is

     11 he a Cripp?

     12       A.    No.

     13       Q.    Who does he hang out with?

     14       A.    I don't know.         He just, I think now he hangs

     15 with Shabba because they work together.

     16       Q.    Shabba Chandler?

     17       A.    Yes.

     18       Q.    And I'm showing you what's been, Grand Jury

     19 Exhibit AR10.      Do you see this?

     20 (WHEREUPON, the Witness examined the document

     21 previously marked Grand Jury Exhibit-AR10 for

     22 Identification.)

     23       A.    Yes.

     24       Q.    Is that your signature?

     25       A.    Yes.




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      1        Q.   In the lower right-hand corner?

      2        A.   Yes.

      3        Q.   And this person you've identified as Shon

      4 Don.    Is that correct?

      5        A.   Yes.

      6        Q.   Is this the same Shon Don that was in your

      7 apartment the night of the, that Mouse was killed?

      8        A.   Yes.

      9        Q.   I'm showing you what's been marked as Grand

     10 Jury Exhibit AR11.        Do you see this?

     11 (WHEREUPON, the Witness examined the document

     12 previously marked Grand Jury Exhibit-AR11 for

     13 Identification.)

     14        A.   Yes.

     15        Q.   And is that your signature on the bottom

     16 right-hand corner?

     17        A.   Yes.

     18        Q.   And you identified this person as Rio?

     19        A.   Yes.

     20        Q.   Was Rio in North Hills on the night of the,

     21 that Mouse was murdered?

     22        A.   No.

     23        Q.   Did Rio ever hang out in North Hills Court

     24 while you were living there in the summer of 2016?

     25        A.   No.




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      1       Q.    I'm showing you what's been marked as Grand

      2 Jury Exhibit AR12.        Do you see this?

      3 (WHEREUPON, the Witness examined the document

      4 previously marked Grand Jury Exhibit-AR12 for

      5 Identification.)

      6       A.    Yes.

      7       Q.    And is that your signature on the bottom

      8 right-hand corner?

      9       A.    Yes.

     10       Q.    And is this someone that you've identified

     11 as Tyson?

     12       A.    Yes.

     13       Q.    Is that T-Y-S-O-N?

     14       A.    Yes.

     15       Q.    And is this the Tyson that we were talking

     16 about earlier?

     17       A.    Yes.

     18       Q.    As someone that hangs out with Phillip and

     19 those guys?

     20       A.    Yes.

     21       Q.    Was Tyson in North Hills Court the night

     22 that Chris Motley was murdered, that Mouse was

     23 murdered?

     24       A.    No.

     25       Q.    Did Tyson hang out in North Hills?




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      1       A.    He was there once or twice.

      2       Q.    And where would he stay when he hung out

      3 there?

      4       A.    I don't know about staying.                  I know he, only

      5 time I actually seen him there was a few days after

      6 Bub or Tredarius and Phillip had got locked up.                          He

      7 had came over there for a while.                 And everybody, well,

      8 me, him, and Shanicqua was outside.

      9       Q.    Are you talking about the time that

     10 Tredarius and Phillip got locked up at the end of

     11 August 2016?

     12       A.    Yes.

     13       Q.    I'm showing you what's been marked as Grand

     14 Jury Exhibit AR13.        Do you see this?

     15 (WHEREUPON, the Witness examined the document

     16 previously marked Grand Jury Exhibit-AR13 for

     17 Identification.)

     18       A.    Yes.

     19       Q.    And is that your signature on the bottom

     20 right-hand corner?

     21       A.    Yes.

     22       Q.    And is this someone you've identified as

     23 Tion Burton?

     24       A.    Yes.

     25       Q.    Is that the same Tion Burton who was




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      1 murdered last year?

      2       A.    Yes.

      3       Q.    Who killed him?

      4       A.    I don't know.

      5       Q.    What are people saying who killed Tion

      6 Burton?

      7       A.    I don't know.         I just know he got killed at

      8 a party.

      9       Q.    Were you at the party?

     10       A.    No.

     11       Q.    I'm showing you what's been marked as Grand

     12 Jury Exhibit AR14.        Do you see this?

     13 (WHEREUPON, the Witness examined the document

     14 previously marked Grand Jury Exhibit-AR14 for

     15 Identification.)

     16       A.    Yes.

     17       Q.    And is that your signature on the bottom

     18 right-hand corner?

     19       A.    Yes.

     20       Q.    Is this someone you've identified as Tanasia

     21 Coleman?

     22       A.    Yes.

     23       Q.    Is this the same Tanasia Coleman we've been

     24 talking about here today?

     25       A.    Yes.




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      1       Q.    Is this the person you've identified as

      2 Nasia?

      3       A.    Yes.

      4       Q.    I'm showing you what's been marked as Grand

      5 Jury Exhibit AR15.        Do you see this?

      6 (WHEREUPON, the Witness examined the document

      7 previously marked Grand Jury Exhibit-AR15 for

      8 Identification.)

      9       A.    Yes.

     10       Q.    Is this something you saw earlier today?

     11       A.    Yes.

     12       Q.    Is this your signature in the bottom right-

     13 hand corner?

     14       A.    Yes.

     15       Q.    And you said you don't know this person.

     16 You can't identify who this is?

     17       A.    I know his profile picture.

     18       Q.    Who is his profile picture?

     19       A.    That's, oh, boy, that's Smooth.                    I don't

     20 know ...

     21       Q.    This is Smooth?

     22       A.    ... his real name.              Yeah.

     23       Q.    So you're going to change from don't know to

     24 Smooth?

     25       A.    Yeah.




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      1       Q.    Why don't you grab that pen in front of you,

      2 make the change for us on AR15.                Right here.          I'm

      3 handing you a marker.          AR15, who is this?

      4 (WHEREUPON, the Witness complied with the request.)

      5       Q.    And did you just write the name Smooth in

      6 black marker on the picture?

      7       A.    Yes.

      8       Q.    And is this the same Smooth we were talking

      9 about earlier as being associated with the Billys?

     10       A.    Yeah.

     11       Q.    Was Smooth in North Hills Court the night

     12 Mouse was murdered?

     13       A.    Not that I know of.

     14       Q.    Did Smooth ever hang out in North Hills

     15 Court?

     16       A.    Not that I know of.

     17       Q.    I'm showing you what's been marked as Grand

     18 Jury Exhibit AR16.        Do you see this?

     19 (WHEREUPON, the Witness examined the document

     20 previously marked Grand Jury Exhibit-AR16 for

     21 Identification.)

     22       A.    Yes.

     23       Q.    And is that your signature on the bottom

     24 right-hand corner?

     25       A.    Yes.




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      1         Q.   And this is also someone you say you don't

      2 know, right?

      3       A.     Yes.

      4         Q.   Can't identify?

      5       A.     No.

      6         Q.   I'm showing you Grand Jury Exhibit AR17.                    Do

      7 you see this?

      8 (WHEREUPON, the Witness examined the document

      9 previously marked Grand Jury Exhibit-AR17 for

     10 Identification.)

     11       A.     Yes.

     12         Q.   Is that your signature on the bottom right-

     13 hand corner?

     14       A.     Yes.

     15         Q.   And this is also someone you say you don't

     16 know?

     17       A.     Right.

     18         Q.   I'm showing you what's been marked as Grand

     19 Jury Exhibit AR18.        Do you see this?

     20 (WHEREUPON, the Witness examined the document

     21 previously marked Grand Jury Exhibit-AR18 for

     22 Identification.)

     23       A.     Yes.

     24         Q.   And is that your signature on the bottom

     25 right-hand corner?




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      1       A.    Yes.

      2       Q.    And this is someone else you say you don't

      3 know; correct?

      4       A.    Yes.

      5       Q.    I'm showing you what's been marked as Grand

      6 Jury Exhibit AR19.        Do you see this?

      7 (WHEREUPON, the Witness examined the document

      8 previously marked Grand Jury Exhibit-AR19 for

      9 Identification.)

     10       A.    Yes.

     11       Q.    And is that your signature on the bottom

     12 right-hand corner?

     13       A.    Yes.

     14       Q.    And that's also someone you don't know;

     15 correct?

     16       A.    Yes.

     17       Q.    I'm showing you what's been marked as Grand

     18 Jury Exhibit AR20.        Do you see this?

     19 (WHEREUPON, the Witness examined the document

     20 previously marked Grand Jury Exhibit-AR20 for

     21 Identification.)

     22       A.    Yes.

     23       Q.    And is that your signature on the bottom

     24 right-hand corner?

     25       A.    Yes.




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      1       Q.    And this is someone you've identified as MC;

      2 correct?

      3       A.    Yes.

      4       Q.    Is that Matthew Ferguson?

      5       A.    Yes.

      6       Q.    Did you ever see Matthew, did you ever see

      7 MC driving around in that black Impala that was

      8 registered in your name?

      9       A.    Yes, a few times.

     10       Q.    So Phillip let him drive that car around?

     11       A.    Yes.

     12       Q.    Did you see MC driving that black Impala on

     13 the night that Mouse was killed?

     14       A.    No.

     15       Q.    I'm showing you what's been marked as Grand

     16 Jury Exhibit AR21.        Do you see this?

     17 (WHEREUPON, the Witness examined the document

     18 previously marked Grand Jury Exhibit-AR21 for

     19 Identification.)

     20       A.    Yes.

     21       Q.    And is that your signature on the bottom

     22 right-hand corner?

     23       A.    Yes.

     24       Q.    And this is someone else you say you don't

     25 know; correct?




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      1       A.    Correct.

      2       Q.    Don't recognize that person at all?

      3       A.    Correct.

      4       Q.    I'm showing you what's been marked as Grand

      5 Jury Exhibit AR22.        Do you see this?

      6 (WHEREUPON, the Witness examined the document

      7 previously marked Grand Jury Exhibit-AR22 for

      8 Identification.)

      9       A.    Yes.

     10       Q.    And is that your signature on the bottom

     11 right-hand corner?

     12       A.    Yes.

     13       Q.    And this is someone you say is Tenikqua

     14 Fuller?

     15       A.    Yes.

     16       Q.    I'm showing you what's been marked as Grand

     17 Jury Exhibit AR23.        Do you see this?

     18 (WHEREUPON, the Witness examined the document

     19 previously marked Grand Jury Exhibit-AR23 for

     20 Identification.)

     21       A.    Yes.

     22       Q.    And is that your signature on the bottom

     23 right-hand corner?

     24       A.    Yes.

     25       Q.    And this is the person you identified as




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      1 Taniqua Guy; is that right?

      2       A.    Yes.

      3       Q.    I'm showing you what's been marked as Grand

      4 Jury Exhibit AR24.        Do you see this?

      5 (WHEREUPON, the Witness examined the document

      6 previously marked Grand Jury Exhibit-AR24 for

      7 Identification.)

      8       A.    Yes.

      9       Q.    And is that your signature on the bottom

     10 right-hand corner?

     11       A.    Yes.

     12       Q.    And this is someone you say you don't know?

     13       A.    Right.

     14       Q.    You don't recognize?

     15       A.    Right.

     16       Q.    I'm showing you what's been marked as Grand

     17 Jury Exhibit 25, AR25.           Do you see this?

     18 (WHEREUPON, the Witness examined the document

     19 previously marked Grand Jury Exhibit-AR25 for

     20 Identification.)

     21       A.    Yes.

     22       Q.    And is that your signature on the bottom

     23 right-hand corner?

     24       A.    Yes.

     25       Q.    And this is someone you've identified as




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      1 Tae; correct?

      2       A.    Yes.

      3       Q.    Is this the Tae Holland we were talking

      4 about earlier?

      5       A.    Yes.

      6       Q.    He's the person that you said used to be

      7 your best friend?

      8       A.    Yes.

      9       Q.    And you said you didn't see him at, the

     10 night that Mouse was killed, right?

     11       A.    No.

     12       Q.    Do you see there where it says Grand Jury

     13 AR-26?

     14 (WHEREUPON, the Witness examined the document

     15 previously marked Grand Jury Exhibit AR-26 for

     16 Identification.)

     17       A.    Yes.

     18       Q.    Do you see that?

     19       A.    Right.

     20       Q.    Is that your signature in the bottom right-

     21 hand corner?

     22       A.    Yes.

     23       Q.    And this is someone you've identified as

     24 Stevie?

     25       A.    Yes.




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      1       Q.    Do you know Stevie's last name?

      2       A.    Johnson.

      3       Q.    Is this the same Stevie Johnson we've been

      4 talking about that hangs out with Phillip?

      5       A.    Yes.

      6       Q.    And some of the other guys?

      7       A.    Yes.

      8       Q.    I'm showing you right now what's been marked

      9 as Grand Jury Exhibit AR27.               Do you see this?

     10 (WHEREUPON, the Witness examined the document

     11 previously marked Grand Jury Exhibit-AR27 for

     12 Identification.)

     13       A.    Yes.

     14       Q.    And is that your signature on the bottom

     15 right-hand corner?

     16       A.    Yes.

     17       Q.    And is this someone you've identified as

     18 Tredarius Keene?

     19       A.    Yes.

     20       Q.    Is this the same Tredarius Keene or Bubs

     21 that we've been talking about this whole day?

     22       A.    Yes.

     23       Q.    I'm showing you what's been marked as Grand

     24 Jury Exhibit AR28.        Do you see this?

     25 (WHEREUPON, the Witness examined the document




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      1 previously marked Grand Jury Exhibit-AR28 for

      2 Identification.)

      3       A.    Yes.

      4       Q.    And is that your signature on the bottom

      5 right-hand corner?

      6       A.    Yes.

      7       Q.    And you say you don't know this person?

      8       A.    Yes.

      9       Q.    Or recognize them?

     10       A.    I don't know them.

     11       Q.    Correct, don't recognize them?

     12       A.    I don't know.

     13       Q.    I'm showing you what's been marked as Grand

     14 Jury Exhibit AR29.        Do you see this?

     15 (WHEREUPON, the Witness examined the document

     16 previously marked Grand Jury Exhibit-AR29 for

     17 Identification.)

     18       A.    Yes.

     19       Q.    And is that your signature on the bottom

     20 right-hand corner?

     21       A.    Yes.

     22       Q.    And this is the person you've identified as

     23 Phillip Miles?

     24       A.    Yes.

     25       Q.    Is this the same Phillip Miles also known as




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      1 R that we've been talking about this afternoon?

      2       A.     Yes.

      3       Q.     I'm showing you what's been marked as Grand

      4 Jury Exhibit AR30.        Do you see this?

      5 (WHEREUPON, the Witness examined the document

      6 previously marked Grand Jury Exhibit-AR30 for

      7 Identification.)

      8       A.     Yes.

      9       Q.     And you see the bottom right-hand corner?

     10       A.     Yes.

     11       Q.     Is that your signature?

     12       A.     Yes.

     13       Q.     And you said this person is seen but don't

     14 know name?

     15       A.     Yes.

     16       Q.     Where have you seen him?

     17       A.     Where have I seen, I see him out like in the

     18 bar and he, he's Tenikqua's uncle.                  He her uncle.

     19       Q.     Which Tenikqua?

     20       A.     Fuller.

     21       Q.     He's Tenikqua Fuller's uncle?

     22       A.     Yes.

     23       Q.     You ever talk to him?

     24       A.     No.

     25       Q.     I'm showing you what's been marked as Grand




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      1 Jury Exhibit AR31.        Do you see this?

      2 (WHEREUPON, the Witness examined the document

      3 previously marked Grand Jury Exhibit-AR31 for

      4 Identification.)

      5       A.    Yes.

      6       Q.     And is that your signature on the bottom

      7 right-hand corner?

      8       A.    Yes.

      9       Q.     And this is the person you've identified as

     10 Laquan Nance [phonetic], is that right?

     11       A.    Yes.

     12       Q.     Does he go by Sanchez?

     13       A.    Yeah, some weird name, yeah.                  I thought it

     14 was Sauce.     Yeah, something like that.

     15       Q.     Who does he hang out with?

     16       A.    I don't know.

     17       Q.     I'm showing you what's been marked as Grand

     18 Jury Exhibit AR32.        Who is this?           Oh, I'm sorry, don't

     19 answer that.       I'm showing you what's been marked as

     20 Grand Jury Exhibit AR32.            Do you see this?

     21 (WHEREUPON, the Witness examined the document

     22 previously marked Grand Jury Exhibit-AR32 for

     23 Identification.)

     24       A.    Yes.

     25       Q.     And is that your signature on the bottom




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      1 right-hand corner?

      2       A.    Yes.

      3       Q.    And is this someone you say you don't know

      4 or recognize, right?

      5       A.    Yes.

      6       Q.    I'm showing you what's been marked as Grand

      7 Jury Exhibit AR33.

      8 (WHEREUPON, the Witness examined the document

      9 previously marked Grand Jury Exhibit-AR33 for

     10 Identification.)

     11       A.    Yes.

     12       Q.    And is that your signature?

     13       A.    Yes.

     14       Q.    And you said, you confirmed this is a photo

     15 of you; correct?

     16       A.    Yes.

     17       Q.    I'm showing you what's been marked as Grand

     18 Jury Exhibit AR34.

     19 (WHEREUPON, the Witness examined the document

     20 previously marked Grand Jury Exhibit-AR11 for

     21 Identification.)

     22       A.    Yes.

     23       Q.    Do you see your signature on the bottom

     24 right-hand corner?

     25       A.    Yes.




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      1       Q.    And you say you don't recognize this person?

      2       A.    Right.

      3       Q.    Have you seen this person hanging out in

      4 North Hills Court?

      5       A.    No.

      6       Q.    I'm showing you what's been marked as Grand

      7 Jury Exhibit AR35.        Do you see this?

      8 (WHEREUPON, the Witness examined the document

      9 previously marked Grand Jury Exhibit-AR35 for

     10 Identification.)

     11       A.    Yes.

     12       Q.    And is that your signature on the bottom

     13 right-hand corner?

     14       A.    Yes.

     15       Q.    And is this someone you've identified as

     16 Jermay?

     17       A.    Yes.

     18       Q.    Who is Jermay?

     19       A.    He be with Phillip and them.                  All of them.

     20 They all grew up together.

     21       Q.    What's Jermay's nickname?

     22       A.    I don't know his nickname.                  I call him

     23 Jermay.

     24       Q.    Have you heard of people calling him Little

     25 Trill?




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      1       A.    Sometimes, but people call him Jermay.

      2       Q.    Last name Smith?

      3       A.    Yes.

      4       Q.    Was he at North Hills Court the night Mouse

      5 was killed?

      6       A.    No, no.      No.

      7       Q.    I'm showing you what's been marked as Grand

      8 Jury Exhibit AR36.        Do you see this?

      9 (WHEREUPON, the Witness examined the document

     10 previously marked Grand Jury Exhibit-AR36 for

     11 Identification.)

     12       A.    Yes.

     13       Q.    And is that your signature on the bottom

     14 right-hand corner?

     15       A.    Yes.

     16       Q.    And is this the person you've identified as

     17 Malick?

     18       A.    Yes.

     19       Q.    Is this the same Malick Smith, a/k/a Shoota,

     20 that we've been talking about here today?

     21       A.    Yes.

     22       Q.    And he was in your apartment before Mouse

     23 was killed?

     24       A.    Yes.

     25       Q.    I'm showing you what's been marked as Grand




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      1 Jury Exhibit AR37.        Do you see that?

      2 (WHEREUPON, the Witness examined the document

      3 previously marked Grand Jury Exhibit-AR37 for

      4 Identification.)

      5       A.     Yes.

      6         Q.   And do you see your signature on the bottom

      7 right-hand corner?

      8       A.     Yes.

      9         Q.   And this is someone you've identified as

     10 Fats?

     11       A.     Yes.

     12         Q.   Do you know Fats' real name?

     13       A.     Shoot, I can't think of it off hand.

     14         Q.   Who does Fats hang out with?

     15       A.     With Phillip and them.              Well, I don't think

     16 he really hangs with nobody now, but yeah, he was

     17 hanging with Phillip and them.

     18         Q.   He was hanging out, when you say Phillip and

     19 them, who's the them?

     20       A.     Like Phillip, Tredarius, all of them used to

     21 hang together.

     22         Q.   Okay.   Did he associated with the Cripps or

     23 the Bloods?

     24       A.     I don't think he, he probably used to bang

     25 the Bloods, but he don't, he stopped, I believe.




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      1         Q.   When did he stop?

      2         A.   I don't know.        I just know he stopped.

      3         Q.   And how do you know he stopped?

      4         A.   Because he used to like, I called him my

      5 pops, whatever, and he used to say he not with that

      6 stuff no more.

      7         Q.   And when did he start saying that?

      8         A.   Like early, early, I don't know.                    He been

      9 saying it for a while.           It's been a long time since he

     10 started saying it.

     11         Q.   Did he stop saying it this year?

     12         A.   No.     Wait.   Did he start saying it this

     13 year?

     14         Q.   That's right.

     15         A.   No, before this year.

     16         Q.   What about last year?

     17         A.   Before then.

     18         Q.   Okay, before then?

     19         A.   Yeah.

     20         Q.   Be in twenty ...

     21         A.   No, it was probably about last year, maybe

     22 the end of 2016.        I don't know.

     23         Q.   And he said he stopped?

     24         A.   He said he stopped.

     25         Q.   Okay, he said he stopped gang banging?




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      1       A.     Yeah.

      2       Q.     And you call him Pops?

      3       A.     Yes.

      4       Q.     I'm showing you what's been marked as Grand

      5 Jury Exhibit AR38.        Do you see this?

      6 (WHEREUPON, the Witness examined the document

      7 previously marked Grand Jury Exhibit-AR38 for

      8 Identification.)

      9       A.     Yes.

     10       Q.     And is that your signature on the bottom

     11 right-hand corner?

     12       A.     Yes.

     13       Q.     And that's the person you've identified as

     14 Deshawn Trent; is that right?

     15       A.     Yes.

     16       Q.     Nicknamed Dae Dae?

     17       A.     Six.    Well, yeah, he's basically named Dae

     18 Dae, yeah.

     19       Q.     And this is the person you call Six?

     20       A.     I call him Deshawn.

     21       Q.     And you've heard people call him Six?

     22       A.     Yes.

     23       Q.     And now you're saying under oath that he was

     24 not in your apartment that night?

     25       A.     Yes.




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      1       Q.    Before Mouse was killed?

      2       A.    I heard he was there earlier that day, but I

      3 didn't see him with my own eyes.

      4       Q.    And you're changing your story from what you

      5 told the police before?

      6       A.    Yes.

      7       Q.    I'm showing you right now what's been marked

      8 as Grand Jury Exhibit AR39.               Do you see this?

      9 (WHEREUPON, the Witness examined the document

     10 previously marked Grand Jury Exhibit-AR39 for

     11 Identification.)

     12       A.    Yes.

     13       Q.    And is that your signature on the bottom

     14 right-hand corner?

     15       A.    Yes.

     16       Q.    And is this the person you've identified as

     17 Quan Trent?

     18       A.    Yes.

     19       Q.    Now you haven't mentioned Quan Trent.                        Was

     20 he at North Hills Court before Mouse was killed?

     21       A.    No.

     22       Q.    I'm showing you what's been marked as, is he

     23 the same Quan Trent we've been talking about today?

     24       A.    Yes.

     25       Q.    Okay, now I'm showing you what's been marked




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      1 as Grand Jury Exhibit AR40.               Do you see that?

      2 (WHEREUPON, the Witness examined the document

      3 previously marked Grand Jury Exhibit-AR40 for

      4 Identification.)

      5       A.    Yes.

      6       Q.    And is that your signature on the right-hand

      7 corner?

      8       A.    Yes.

      9       Q.    And this is the person you've identified as

     10 Kanash Trent?

     11       A.    Yes.

     12       Q.    You called him L.A., too, is that right?

     13       A.    Yes.

     14       Q.    Same Kanash Trent, a/k/a L.A., that we've

     15 been talking about today?

     16       A.    Yes.

     17       Q.    And just to be clear, was he in your

     18 apartment before Mouse was shot?

     19       A.    I didn't see him with my own two eyes, but I

     20 heard he was there.

     21       Q.    And you told the police that he was there

     22 and you're changing your story now?

     23       A.    I told them that he was there and same thing

     24 I told them with Deshawn.             I told them at first and in

     25 the second interview I told them that he weren't.




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      1       Q.    I'm showing you what's been marked as Grand

      2 Jury Exhibit AR41.        Do you see this?

      3 (WHEREUPON, the Witness examined the document

      4 previously marked Grand Jury Exhibit-AR41 for

      5 Identification.)

      6       A.    Yes.

      7       Q.    And is that your signature on the bottom

      8 right-hand corner?

      9       A.    Yes.

     10       Q.    And is this the person you've identified as

     11 Kevin Trent, Kev?

     12       A.    Yes.

     13       Q.    Is this the person you also referred to as

     14 Gates?

     15       A.    Well, I don't, but yeah.

     16       Q.    Other people do?

     17       A.    Yes.

     18       Q.    And he was in your apartment before Mouse

     19 was shot?

     20       A.    Yes.

     21       Q.    You saw him come and go?

     22       A.    Yes.

     23       Q.    I'm showing you what's been marked as Grand

     24 Jury Exhibit AR42.        Do you see this?

     25 (WHEREUPON, the Witness examined the document




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      1 previously marked Grand Jury Exhibit-AR42 for

      2 Identification.)

      3       A.     Yes.

      4       Q.     And you see the name in the bottom right-

      5 hand corner?

      6       A.     Yes.

      7       Q.     Is that your signature?

      8       A.     Yes.

      9       Q.     And this is someone you don't know?

     10       A.     Yes.

     11       Q.     Or recognize?

     12       A.     I don't know.

     13       Q.     I'm showing you what's been marked as Grand

     14 Jury Exhibit AR43.        Do you see this?

     15 (WHEREUPON, the Witness examined the document

     16 previously marked Grand Jury Exhibit-AR43 for

     17 Identification.)

     18       A.     Yes.

     19       Q.     And is that your signature on the bottom

     20 right-hand corner?

     21       A.     Yes.

     22       Q.     And this is someone you say church, don't

     23 know name?

     24       A.     Yes.

     25       Q.     What do you mean?




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      1         A.   She goes to my church, but I don't know her

      2 name.

      3         Q.   Do you know who she associates with?

      4         A.   No.

      5         Q.   I'm showing you what's been marked as Grand

      6 Jury Exhibit AR44.        Do you see that?

      7 (WHEREUPON, the Witness examined the document

      8 previously marked Grand Jury Exhibit-AR44 for

      9 Identification.)

     10         A.   Yes.

     11         Q.   And is that your signature on the bottom

     12 right-hand corner?

     13         A.   Yes.

     14         Q.   And this is someone you identified as Edaq,

     15 E-D-A-Q?     Did you write that?

     16         A.   That's an I.

     17         Q.   I'm sorry?

     18         A.   That's an I.

     19         Q.   So can you spell that for me?

     20         A.   E-D-A-I.

     21         Q.   E-D-A-I, Edai?

     22         A.   Yeah, Edai.

     23         Q.   Edai?

     24         A.   Yes.

     25         Q.   What's Edai's real name?




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      1       A.    I don't know.

      2       Q.    What's his last name?

      3       A.    I don't know.

      4       Q.    What's his Facebook account name?

      5       A.    Edai.    I don't know the whole thing, but I

      6 think it's Edai.

      7       Q.    Have you ever known him to have a different

      8 Facebook account?

      9       A.    No.

     10       Q.    Who does he hang out with?

     11       A.    Phillip and them.             Phillip, well, no, he

     12 don't hang, he normally be with Malick.

     13       Q.    Malick Smith?

     14       A.    Yes.

     15       Q.    Does he, does Edai, the person you've

     16 identified as Edai, you ever heard him referred to as

     17 Brazy Milla [phonetic]?

     18       A.    No.

     19       Q.    Anything you want to add or change about

     20 your testimony before we finish here today?

     21       A.    No.

     22             MS. CARLTON:         Any questions from the Grand

     23 Jury after that?       There being no questions, may the

     24 witness be excused?

     25             FOREPERSON:        Yes.




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      1 (WHEREUPON, the testiomy of ASHLEY ROSS was concluded

      2 at 5:21 P.M.)

      3

      4

      5

      6

      7

      8

      9

     10

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      1                                STIPULATION

      2

      3 The foregoing matter was taken on the date, and at

      4 the time and place set out on the title page hereof.

      5

      6 It was requested that the matter be taken by the

      7 reporter and that the same be reduced to typewritten

      8 form.

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      1        CERTIFICATE OF REPORTER AND SECURE ENCRYPTED

      2       SIGNATURE AND DELIVERY OF CERTIFIED TRANSCRIPT

      3        I, STEPHEN GRIDER, Notary Public, do hereby

      4 certify that the forgoing matter was reported by

      5 stenographic and/or mechanical means, that same was

      6 reduced to written form, that the transcript prepared

      7 by me or under my direction, is a true and accurate

      8 record of same to the best of my knowledge and

      9 ability; that there is no relation nor employment by

     10 any attorney or counsel employed by the parties

     11 hereto, nor financial or otherwise interest in the

     12 action filed or its outcome.

     13        This transcript and certificate have been

     14 digitally signed and securely delivered through our

     15 encryption server.

     16        IN WITNESS HEREOF, I have here unto set my hand

     17   this 29th day of May, 2018.

     18

     19

     20

     21

     22 /s/ STEPHEN GRIDER

     23 COURT REPORTER / NOTARY

     24 NOTARY REGISTRATION NUMBER: 277815

     25 MY COMMISSION EXPIRES: MARCH 31, 2021




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